Case 6:23-cv-00007 Document 93-5 Filed on 03/24/23 in TXSD Page 1 of 199




                                                              Haiti AR_001106
Case 6:23-cv-00007 Document 93-5 Filed on 03/24/23 in TXSD Page 2 of 199




                                                              Haiti AR_001107
Case 6:23-cv-00007 Document 93-5 Filed on 03/24/23 in TXSD Page 3 of 199




                                                              Haiti AR_001108
Case 6:23-cv-00007 Document 93-5 Filed on 03/24/23 in TXSD Page 4 of 199




                                                              Haiti AR_001109
Case 6:23-cv-00007 Document 93-5 Filed on 03/24/23 in TXSD Page 5 of 199




                                                              Haiti AR_001110
Case 6:23-cv-00007 Document 93-5 Filed on 03/24/23 in TXSD Page 6 of 199




                                                              Haiti AR_001111
Case 6:23-cv-00007 Document 93-5 Filed on 03/24/23 in TXSD Page 7 of 199




                                                              Haiti AR_001112
Case 6:23-cv-00007 Document 93-5 Filed on 03/24/23 in TXSD Page 8 of 199




                                                              Haiti AR_001113
Case 6:23-cv-00007 Document 93-5 Filed on 03/24/23 in TXSD Page 9 of 199




                                                              Haiti AR_001114
Case 6:23-cv-00007 Document 93-5 Filed on 03/24/23 in TXSD Page 10 of 199




                                                              Haiti AR_001115
Case 6:23-cv-00007 Document 93-5 Filed on 03/24/23 in TXSD Page 11 of 199




                                                              Haiti AR_001116
                     Case 6:23-cv-00007 Document 93-5 Filed on 03/24/23 in TXSD Page 12 of 199




Subject:                                 FW: Haiti: October 1, Calm Reigns over Haiti, but the Lights Might Go Out


CAUTION: This email originated from outside of DHS. DO NOT click links or open attachments unless you recognize and/or trust the
sender. Contact your component SOC with questions or concerns.




Sent: Saturday, October 1, 2022 8:48 PM
Cc:
Subject: Haiti: October 1, Calm Reigns over Haiti, but the Lights Might Go Out

                                                         UNCLASSIFIED
                                                                 SBU

         m       m
     m   m   V




Info Office:                          WHA, TNC_NARC, WHA_ABSC, INR_AO_WHA

MRN:                                  22 PORT AU PRINCE 1440
Date/DTG:                             Oct 02, 2022 / 020044Z OCT 22
From:                                 AMEMBASSY PORT AU PRINCE
Action:                               WASHDC, SECSTATE ROUTINE
E.O.:                                 13526
TAGS:                                 PGOV, PHUM, PINR, ECON, ENRG, ASEC, CASC, KPAO, KCRM, AID, HT
Captions:                             SENSITIVE
Reference:                            22 PORT AU PRINCE 1426
Subject:                              Haiti: October 1, Calm Reigns over Haiti, but the Lights Might Go Out


1. (SBU) Key Points:

                      x   Relative quiet around Haiti and in Port-au-Prince as RSO teams escorted Embassy personnel
                      to grocery stores.
                      x A Haitian Coast Guard member was shot in the face while driving to work with four colleagues
                      near the National Port Authority.
                                                                   1
                                                                                                       Haiti AR_001117
             Case 6:23-cv-00007 Document 93-5 Filed on 03/24/23 in TXSD Page 13 of 199

              x Lack of fuel plagued commerce, transportation, police operations, and power production as the
              Embassy implemented plans to acquire fuel from Embassy Santo Domingo.

Security Update

2. (SBU) The Regional Security Office (RSO) received no reports of and tracked no barricades, blockages, or
demonstrations in metropolitan Port-au-Prince. The Haitian National Police (HNP) continued its customary
checkpoints and normal roving patrols in the areas around Embassy facilities and housing compounds. All
Embassy Guard Force positions were staffed with absenteeism consistent with pre-fuel crisis/unrest
levels. RSO protective teams conducted multiple movements throughout Port-au-Prince including support for
Embassy grocery shuttles.

3. (SBU) After a Haitian Coast Guard member was shot in the face while driving to work with four colleagues
near the National Port Authority, his vehicle was set on fire by the assailants, according to the HNP. Having
dug trenches in the road, the G9 gang and its allies from Bel Air, Cité Soleil, and Jérémie Wharf maintained
control of access to the Varreux fuel terminal. (Note: The Special Weapons and Tactics unit reported that the
gangs near Varreux repaired the stolen excavator that HNP had dismantled. End Note.) The HNP reported
that the North, North East, and South Departments were quiet. Residents in the South even assisted the
HNP to clear a make-shift roadblock in Les Cayes—HNP donated the wood to the local prison for cooking
(see photo). The HNP in the North received 100 gallons of fuel from the communications company Digicel on
September 30, but the North East and the South lacked fuel as well as tear gas. The South director rejected
a request from a political party to demonstrate October 1-17.
     m   m    m   m   V




Economic/Commercial Update

4. (SBU) Rice importers unloaded 10,000 metric tons of rice October 1 with plans to distribute bags to the
South Department by barge October 1-3 because the North Department is still difficult to reach even by barge
due to volatility. The importers reported rice prices have risen to 5,000 HTG ($40.00) per 25 kg bag, but
USDA local staff believe prices to be higher. Private banks will begin operating three days per week, due to
lack of fuel and security.

Caracol Industrial Park and CODEVI Free Trade Zone near the DR

5. (SBU) On September 30, the Dominican Republic (DR) Ministry of Industry and Commerce denied
Caracol’s request to purchase fuel. Although the Caracol complex has remained closed since September 25
                                                        2
                                                                                        Haiti AR_001118
         Case 6:23-cv-00007 Document 93-5 Filed on 03/24/23 in TXSD Page 14 of 199

due to lack of fuel, tenant S+H purchased generators and some diesel, attempting to sustain the housing
compound for the only workers that have not departed for the DR. As the border crossing near CODEVI
reopened after closing September 29, citizens resumed activities, and the border market was
bustling. However, in Cap-Haitien a shortage of food, fuel, and water remained due to roadblocks and
business closures.

Airport Operations

6. (SBU) On October 1, many U.S. airline employees in Port-au-Prince returned to their homes and families,
while those without fuel to travel remained in a hotel near the airport. Nonetheless, the employees plan to
return to the hotel between October 2-3 to ensure airline operations will continue.

Power Supply

7. (SBU) The National Electricity Utility (EDH) did not have fuel to provide power to any of Haiti’s ten
departments. EDH told Post it will have meetings with the International Development Bank to assess and
optimize Port-au-Prince's soon-to-be remaining energy supplier, the Pelligre Hydro-Electric power plant. E-
Power, Port-au-Prince's other electricity provider, was projected to run out of fuel October 3.

Humanitarian Update: No Malice towards the Humanitarian Community

8. (SBU) On September 30, USAID discussed the demonstrations and looting of humanitarian agency
warehouses and disaster response stockpiles with Dr. Jerry Chandler, the Director General of the Directorate
of Civil Protection (DGPC). According to Dr. Chandler, there was no general negative sentiment among the
population concerning humanitarian agencies, but certain actors viewed NGO facilities as easy targets for
looting. He noted that these losses, including several of DGPC’s Emergency Operations Centers around
Haiti, eroded its ability to respond.

Media/Social Media Updates

9. (U) Headlines in the most prominent news outlet, le Nouvelliste, noted the impact of the fuel crisis, the
protests, and the remarks of former Ambassador to Haiti Pamela White. Le National led with “Le mouvement
de protestation a perdu en intensité” (“The protest movement has lost momentum”) and “La reprise
progressive des activités” (“The gradual resumption of activities”); however, those articles detailed how
planned movements next week show the demands of the protesters have not changed and that high prices
and lack of transportation have inhibited economic activity despite businesses operating. Le National also
published two Op-Eds regarding the government’s plan to open the school year on October 3. Both opined
that this will be a huge challenge for the government, and one detailed how the start was postponed due to
the crisis, which has worsened.

10. (U) On Twitter, the September 29 incident at CODEVI (reftel) remained a topic of conversation, with users
discussing comments from former Senator Jean Charles Moïse to wit: Dominican soldiers entering CODEVI
indicates that Prime Minister Ariel Henry has lost control of Haitian territory, which can only be regained
through his resignation.

Embassy Operations




                                               .

                                                      3
                                                                                       Haiti AR_001119
         Case 6:23-cv-00007 Document 93-5 Filed on 03/24/23 in TXSD Page 15 of 199

12. (SBU) American staff and eligible family members utilized POVs and Embassy shuttle services to shop at
Belmart and Delimart grocery stores October 1 to replenish food supplies. Shuttle service will be available
again October 2 pending confirmation that stores are open. The Embassy’s new permanently assigned U.S.
medical provider arrived the week of September 26, assuming management of the Health Unit.




Consular Operations

14. (U) Consular, which is closed for the weekend, had nothing to report.

                                        SENSITIVE BUT UNCLASSIFIED

Signature:                  Stromayer

Drafted By:                 PORT AU PRINCE:Fette, Joseph A (Port-Au-Prince)
Cleared By:                 ECON:Tafoya, Samantha N (Port-au-Prince)
                            CONS/AG:Bongiovanni, Kristin (Port-au-Prince)
                            PD:Cole, Charles G (Port-au-Prince)
                            USAID:Oddo, Oghale
                            A/DCM:Kemp, Robert E (Port-au-Prince)
                            POL:McCabe, Christopher (Port-au-Prince)
                            INL/PROG:Mergy, Jennifer (Port-au-Prince)
                            MGT:Peterson, Richard J (Port-au-Prince)
                            RSO:Reece, Scott (Port-au-Prince)
Approved By:                EXEC:Stromayer, Eric W (Port-au-Prince)
Released By:                PORT AU PRINCE:Fette, Joseph A (Port-Au-Prince)
Info:                       NATIONAL SECURITY COUNCIL WASHINGTON DC ROUTINE; DIA WASHINGTON
                            DC ROUTINE; CIA WASHINGTON DC ROUTINE; WESTERN HEMISPHERIC AFFAIRS
                            DIPL POSTS ROUTINE; HAITI COLLECTIVE ROUTINE
XMT:                        CARACAS, AMEMBASSY

Action Post:                NONE
Dissemination Rule:         DIS_WHA, DIS_TNC_NARC, DIS_WHA_ABSC, DIS_INR_AO_WHA




                                             UNCLASSIFIED
                                                     SBU




                                                      4
                                                                                     Haiti AR_001120
UNCLASSIFIED
           Case 6:23-cv-00007 Document 93-5 Filed on 03/24/23 in TXSD Page 16 of 199




                                                      UNCLASSIFIED
                                                          SBU




               MRN:                        22 PORT AU PRINCE 1542
               Date/DTG:                   Oct 17, 2022 / 171639Z OCT 22
               From:                       AMEMBASSY PORT AU PRINCE
               Action:                     WASHDC, SECSTATE ROUTINE
               E.O.:                       13526
               TAGS:                       ECON, ECIN, ETRD, EPET, PGOV, EWWT, ASEC, ENRG, KCOR,
                                           KSAN, AID, CDC, 4R, HT
               Captions:                   SENSITIVE
               Reference:                  A) 22 PORT AU PRINCE 1440
                                           B) 22 PORT AU PRINCE 1114
                                           C) 22 PORT AU PRINCE 1066
                                           D) 22 PORT AU PRICE 45
               Subject:                    Haiti: Fuel Shortages and Port Blockages Increase Food Insecurity


               1. (SBU) Summary: Since the main ports in Port-au-Prince were blocked on their landward
               sides beginning September 12, the immediate challenges to food security and particularly rice
               imports has been fuel scarcity, coupled with increased insecurity and road barricades. These
               issues have created significant food supply chain disruptions. The disruptions—alongside low
               domestic food production and decreased food stocks—have reinforced inflationary trends for
               food. The rise in food prices now outpaces the overall national inflation rate of 29
               percent. Efforts to open the Varreux fuel terminal and all Port-au-Prince commercial ports
               continue and would be the first short-term steps to reducing food insecurity in Haiti. End
               Summary.

               SITUATION AT THE PORTS SINCE SEPTEMBER 12

               2. (SBU) Since gangs cut off land access to several ports beginning the week of September 12,
               the primary challenges to food security and particularly rice imports have been heightened
               insecurity around the ports, road barricades, and lack of fuel, all of which have created
               significant food supply chain disruptions. For example, Haiti’s Caribbean Grain Company S.A.,
               one of Haiti’s top four rice importers, reported that a ship carrying 18,000 metric tons of rice
               could not fully discharge and distribute due to roadblocks and that the lack of fuel prevented
               ground transportation to the North and South departments (refs A, B). Similarly, on October 4
               shipping lines Seaboard and CMA temporarily halted their container shipping operations after
               weeks of unrest that prevented essential container transfers. The three Port-au-Prince ports now
               have a three-week backlog of containers on their docks, decreasing storage space that in turn has
               prevented shipping lines, including some carrying food and general cargo from coming to Haiti.




                                                                                                      Haiti AR_001121
UNCLASSIFIED                                                                                                       Page 1 of 4
UNCLASSIFIED
           Case 6:23-cv-00007 Document 93-5 Filed on 03/24/23 in TXSD Page 17 of 199




               DECREASED FOOD SUPPLY

               3. (SBU) Although accurately assessing the amount of food in country remains difficult, it is
               clear warehouses storing imported products have limited storage space remaining. Food
               importers’ stocks were already low before the September riots, due to macroeconomic issues,
               including a rapid currency devaluation, that reduced all importers’ purchasing power (ref
               C). Various food sector sources have told Post that small importers have low stocks of food
               remaining inside, and that increased insecurity has restricted farmers in rural areas from bringing
               produce to urban markets. They also underscored recent events of humanitarian aid having been
               looted. The Famine Early Warning System’s October report noted that “an increase in the
               number of people in crisis is very likely,” and explained that the summer and fall harvests would
               be below normal due to the lack of capital to finance the summer/fall seasons’ crops inputs.

               4. (SBU) Foreign Agriculture Service’s Haiti local staff and USAID staff affirmed that food
               scarcity is amplified in the Southern and Northern departments because of their dependence on
               food arriving from the metropolitan Port-au-Prince area, lack of fuel, and unrest in the
               North. Large rice importers explained deliveries to the North and particularly Cap-Haitien have
               been increasingly difficult due to unrest and the ransacking of warehouses. The importers added
               that on October 5 they could no longer move by barge a scheduled delivery of 70,000 25-
               kilogram bags of rice to the South department, since gangs have now augmented their sea
               presence with small motor vessels. However, the October 12 arrival of a U.S. Coast Guard vessel
               near the Port Lafito provided the rice importers coverage to continue barging rice during the days
               the cutter was on station.

               RISING FOOD PRICES

               5. (SBU) Decreased food supply and distribution coupled with rising agricultural input prices
               have caused acute spikes in food prices, increasing the average cost of a household food basket
               well beyond the national rate of 29 percent, which was calculated before the ongoing fuel
               shortages. Even before the unrest, inflation of staple food products was extremely high. Year-
               on-year from April 2021 – April 2022, imported rice rose by 40 percent, imported cooking oil
               rose 84 percent, imported flour rose 60 percent, and imported sugar rose by 84 percent. USAID
               has received anecdotal reports from across the country that food inflation over the last month is
               increasing quickly, further exacerbating food security and personal security. The USAID
               emergency surge team, whose members reside throughout Haiti, reported that since August the
               price of a bag of flour increased by 130 percent, cooking oil by 80 percent, and spaghetti by 100
               percent in the South. The data table below, which was collected from consumers and sellers in a
               market in the northern town of Port-de-Paix, further documents staple food price increases
               during the period of heightened unrest. This is corroborated by rice importers, who told Post
               the price of a 25-kilogram bag of rice has increased by 61 percent since protests erupted late
               September 12, which disrupted merchandise distribution and indirectly increased food
               prices. The dearth of fuel additionally increased food prices as agricultural transportation and
               food production heavily rely on it.




                                                                                                      Haiti AR_001122
UNCLASSIFIED                                                                                                         Page 2 of 4
UNCLASSIFIED
           Case 6:23-cv-00007 Document 93-5 Filed on 03/24/23 in TXSD Page 18 of 199




               FUEL REMAINS LINCHPIN

               6. (SBU) Humanitarian organizations, grocery stores, food importers, and warehouses cannot
               operate without fuel, which means access to fuel terminal Varreux is the linchpin to improving
               food stability. Riots in Port-au-Prince, that led to felled telephone lines, raiding of commercial
               business, and vandalized government offices, decreased over the month of September and early
               October, as did fuel. Rice importers have said their distribution capacity has decreased by 70
               percent, in part due to fuel scarcity. On October 3, the WFP shared that in addition to losing fuel
               to looters it has not had a fuel delivery since August. The transportation of food internally
               requires fuel that has been quoted as high as $40 per gallon on the fuel black market. This price
               increase is expected to pass through to Haitian households, only furthering food instability and
               scarcity.

               SUSTAINED SUPPLY CHAIN ISSUES IN FUTURE THREATEN FOOD SECURITY

               7. (SBU) Obstruction of the ports will obviously have a domino effect on the economy and
               hinder food security. High demurrage costs, terminal and storage port fees have accrued as the
               main shipping ports have remained inaccessible by land for four weeks. Private port manager
               Caribbean Port Services warned that once barricades were gone and transportation normalized,
               there would be further supply chain issues regarding equipment and port capacity to deliver
               goods. In addition to the pass-through fuel cost impact, Haitian households will likely
               experience higher food insecurity because of the increased supply chain cost related to port
               fees. Mitigating long term macroeconomic impacts would require government intervention and
               potentially increased multilateral financing.

               8. (SBU) Comment: Opening the Varreux fuel terminal would be the first short-term step to
               reduce food instability in Haiti. However, reintroducing fuel to markets would require




                                                                                                      Haiti AR_001123
UNCLASSIFIED                                                                                                         Page 3 of 4
UNCLASSIFIED
           Case 6:23-cv-00007 Document 93-5 Filed on 03/24/23 in TXSD Page 19 of 199




               synchronized government and private sector management and messaging, coordinated service
               station re-opening, pre-established social compensatory campaigns, and political
               harmonization. Post has received numerous reports from trusted interlocutors that politically and
               economically motivated actors exploited general disenchantment over fuel price increases and
               customs reforms to destabilize the current government and further their own interests. Their
               actions have led many to believe that the structural reforms alone provoked violent protest, but
               political involvement blurs the truth. Analyzing popular Haitian political sentiments and
               ideology is increasingly difficult when oligarchs provide financing for protest materials, incite
               via local media the targeted looting of humanitarian warehouses, and orchestrate the G9 gang’s
               fuel terminal blockade (Ref D). Popular democratic protest movements exist in Haiti, but it is
               unclear how organic they really are, and long-term food stability would require holding both
               political and economic bad actors accountable. End Comment.


                                                SENSITIVE BUT UNCLASSIFIED

               Signature:                  Stromayer

               Drafted By:                 ECON:Jones, Allecia (Port-au-Prince)
               Cleared By:                 POL:USAID: Bushy, Adam (Port-au-Prince)
                                           McCabe, Christopher (Port-au-Prince)
                                           A/ECON: Tafoya, Samantha (Port-au-Prince)
                                           A/DCM: Kemp, Robert (Port-au-Prince)
               Approved By:                EXEC:Stromayer, Eric W (Port-au-Prince)
               Released By:                PORT AU PRINCE:Jones, Allecia
               Info:                       NATIONAL SECURITY COUNCIL WASHINGTON DC ROUTINE; CIA
                                           WASHINGTON DC ROUTINE; DEPT OF TREASURY WASHINGTON
                                           DC ROUTINE; DEPT OF COMMERCE WASHINGTON DC ROUTINE; DEPT
                                           OF HOMELAND SECURITY WASHINGTON DC ROUTINE; DEPT OF
                                           LABOR WASHINGTON DC ROUTINE; DEPT OF AGRICULTURE
                                           WASHINGTON DC ROUTINE; US TRADE REP WASHINGTON
                                           DC ROUTINE; CDR USSOUTHCOM MIAMI FL ROUTINE; SOUTHCOM
                                           IESS MIAMI FL ROUTINE; WESTERN HEMISPHERIC AFFAIRS DIPL
                                           POSTS ROUTINE; HAITI COLLECTIVE ROUTINE
               XMT:                        CARACAS, AMEMBASSY

               Dissemination Rule:         Archive Copy


                                                       UNCLASSIFIED
                                                           SBU




                                                                                                    Haiti AR_001124
UNCLASSIFIED                                                                                                       Page 4 of 4
UNCLASSIFIED
           Case 6:23-cv-00007 Document 93-5 Filed on 03/24/23 in TXSD Page 20 of 199




                                                   UNCLASSIFIED
                                                       SBU




             MRN:                        22 PORT AU PRINCE 1562
             Date/DTG:                   Oct 21, 2022 / 210018Z OCT 22
             From:                       AMEMBASSY PORT AU PRINCE
             Action:                     WASHDC, SECSTATE ROUTINE
             E.O.:                       13526
             TAGS:                       PGOV, PHUM, PINR, ECON, ENRG, ASEC, CASC, SHLH, KPAO,
                                         KCRM, KHIV, AID, CDC, DO, HT
             Captions:                   SENSITIVE
             Reference:                  A) 22 PORT AU PRINCE 1544
                                         B) 22 PORT AU PRINCE 1510
             Subject:                    Haiti: Relative Calm Continues, First Suspected Case of Cholera
                                         Detected in the Dominican Republic


             1. (SBU) Key Points:

                  • Post reported no barricades overnight in Port-au-Prince and received no reports of
                    barricades on October 20. Routes from the Embassy to the airport remained clear and the
                    airport continued operations.
                  • Despite Varreux fuel terminal’s continued inaccessibility, Port- au-Prince ports and
                    Varreux have been relatively calm with regard to gang violence since an October
                    15 robbery at Varreux. Seaborne gang activity has remained low since the October
                    12 arrival of a U.S. Coast Guard cutter.
                  • The Haitian National Police (HNP) did not conduct operations at Varreux fuel terminal
                    October 20.
                  • CDC Haiti is tracking the report of the first suspected cholera case in the Dominican
                    Republic.
                  • Some agencies have begun to destroy equipment per their mandatory schedules relative to
                    possible further reduction in operations. Others are now approximately 10 days away from
                    initiating destruction protocols.
                  • The ongoing fuel shortage has forced NGOs to adjust security and fuel usage plans.
                  • There are still currently no local means in place for the Embassy to obtain diesel.

             Security Update

             2. (SBU) Post’s Regional Security Office (RSO) reported no barricades overnight in Port-au-
             Prince and received no reports of barricades set up on October 20. The areas surrounding the




                                                                                                   Haiti AR_001125
                                                                                                                Page 1 of 5
UNCLASSIFIED
           Case 6:23-cv-00007 Document 93-5 Filed on 03/24/23 in TXSD Page 21 of 199




             Embassy and the housing compounds and the routes from the Embassy to the airport remained
             open. The HNP continued its checkpoints and roving patrols in the areas around the Embassy
             and RSO reported all Embassy Local Guard Force positions were staffed at pre-fuel
             crisis/protest levels.

             HNP Update

             3. (SBU) Inspector General (IG) Nassar of the Inspector General of the HNP reported a critical
             incident, which involved one HNP officer responding to a large violent demonstration in Cap-
             Haitien. He had his M4 rifle taken from him during the incident, but it was later returned to the
             HNP by the local population. IG Nassar further advised there were expected additional protests
             in the North October 20.

             4. (SBU) The Director of the South Department (DDS) reported Les Cayes had experienced
             daily protests aimed at the HNP. The protesters claimed the HNP has used excessive force
             when responding to demonstrations.

             5. (SBU) The Department Director of the West Department-1 (DDO-1) advised the HNP was
             able to successfully get a fuel tanker of gasoline and diesel from the Thor fuel terminal through
             the National Port Authority, and it was delivered to HNP Headquarters October 19.

             6. (SBU) The Director of the West Department-1 (DDO-1) reported the HNP made two arrests
             and seized one vehicle in connection with an ongoing kidnapping case in the Port-au-Prince
             area.

             7. (SBU) Director of the West Department-2 (DDO-2) advised there was an ongoing operation
             in the Tapage area, also known as Eddy 1. (Comment: The operation was near the U.S.
             Embassy and personnel may have heard possible gunfire. End Comment.)

             8. (SBU) Director of the Penitentiary reported no deaths at the National Penitentiary in the past
             24 hours.

             Economic/Commercial Update

             9. (SBU) Haiti’s National Office of Civilian Aviation reported having about two months of jet
             fuel at Port-au-Prince’s Toussaint Louverture International Airport, and that the airport staff
             intend to procure more fuel.


             10. (SBU) A local bank executive with Capital Bank S.A. told Post the bank may further reduce
             service hours, and that banks have had trouble accessing currency due to the continued fuel
             crisis. Fuel retailers have prioritized Haiti’s Central Bank, which has been able to remain open
             for routine operations.

             11. (SBU) In terms of gang violence, Port- au-Prince Ports and Varreux fuel terminal have
             been relatively calm since an October 15 robbery at Varreux (ref A). Seaborne gang




                                                                                                    Haiti AR_001126
                                                                                                                 Page 2 of 5
UNCLASSIFIED
           Case 6:23-cv-00007 Document 93-5 Filed on 03/24/23 in TXSD Page 22 of 199




             activity has remained low since the October 12 arrival of a U.S. Coast Guard cutter (ref B),
             according to private port operators and a UN contact. HNP did not conduct operations at
             Varreux fuel terminal October 20.

             Health Update

             12. (U) As of October 19, 91 percent of USAID-supported health facilities were open and
             offering health services (185 out of 204). The provision of fuel, however, would be critical to
             support reliable and high-quality health services, including maternal and child health. Indeed,
             while most facilities remained open, health care personnel were working in challenging
             conditions. Albert Schweitzer Hospital, a state-of-the-art NGO-run tertiary care facility offering
             services to a broad catchment area in Artibonite department, reported it had been relying
             exclusively on solar power during the day since running out of fuel on October 14, and it was
             using flashlights for patient care during the night.

             13. (U) CDC Haiti is tracking the first suspected cholera case in the Dominican Republic. The
             case is allegedly a Haitian woman residing in the Altagracia area. In collaboration with the Pan
             American Health Organization and CDC DR, CDC Haiti is working to confirm the case’s status
             and point of origin in Haiti. Of note, there have been anecdotal reports of acute watery diarrhea
             cases in the northeast region of Haiti that borders the Dominican Republic.

             Humanitarian Update

             14. (SBU) The ongoing fuel shortage has forced NGOs to adjust security and fuel usage
             plans. USAID’s partner Mercy Corps is coordinating with other international NGOs to identify
             locations where fuel remains available and safe routes exist for transporting larger volumes of
             fuel. The NGO has the capacity to store up to 1,500 gallons of fuel in its sub-offices in Cap-
             HaÃ¯tien, MiragoÃ¢ne, and JÃ©rÃ©mie communes, but is avoiding stocking large amounts of
             fuel due to security risks. Mercy Corps maintained a stock of approximately 300 gallons of fuel
             as of October 18.

             15. (SBU) USAID's partner ACTED suspended its field activities during the week of October 17
             following exhaustion of its fuel supplies in areas where it operates. Electricity is nearly
             unavailable on the public grid, communication networks are failing, and drinking water supply is
             down, the NGO reported.

             Media/Social Media Update

             16. (U) In an interview on Radio MÃ©tropole’s talk show “Le Point” October 20, Jean
             MoÃ¯se Destin, a professor of International Relations at the University of Haiti, said the HNP
             was incapable of solving its gang problem. He argued, “The current situation looks more like an
             urban guerrilla war, so well-trained people and adequate equipment are needed to solve the
             problem.” Destin argued a foreign military presence could work with the Haitian police and
             army to solve the security problem without interfering in the internal and political affairs of the




                                                                                                     Haiti AR_001127
                                                                                                                   Page 3 of 5
Case 6:23-cv-00007 Document 93-5 Filed on 03/24/23 in TXSD Page 23 of 199




                                                              Haiti AR_001128
Case 6:23-cv-00007 Document 93-5 Filed on 03/24/23 in TXSD Page 24 of 199




                                                              Haiti AR_001129
                    Case 6:23-cv-00007 Document 2'-/(((
                                                93-5 Filed on 03/24/23 in TXSD Page 25 of 199
0""*,#                   




                                       # $# $%&!'""() '
                                          *%

                                        11!*"!#1



                                       +      2'-/(((
                                        ,          
                                        -'       ,#                           
                                       ' -'     -                          
     
  
                                       !! -&# $
           
  
            
                                 
                 
                                  
  
                
                               
  
                                        
                        !" #$%&'(()$*)&+,-.+')(/*0(/&),$ (*&12+*)
   !"#$%                    (.3,+)&(*4+*0 (20$2,(54&*$%&'(

                               " # 3--+26*)7$5+8$(/+ 0&4)2&')'(32)0$'&4&(*)($*0&),$
                            9:+4$0(.$2+)&(*4:6$'$-:$2 $%&'+*+3)7(2&)&$47+;$$%.2$44$0'(*'$2*
    &'(                  2$1+20&*1+*3.'(-&*14321$(/-&12+*)47&4'(*'$2*&4'(22(:(2+)$0:6
   !                          '(--$*)4/2(--+*6-&12+*)4+*0+46,3-4$$8$24&*$%&'(57(2$.(2))7$6.,+*
    '!                               )(+))$-.)$*)26&*)()7$*&)$0 )+)$4(*'$&),$ &4*(,(*1$2&*$<$')
 "                     $%&'(4 +)&(*+,*4)&)3)$(/&12+)&(*" #7+4,&)),$'+.+'&)6)(0$+,5&)7
       )                            /32)7$2-&12+)&(*4)2$+-4"57$)7$2+22&;&*1/2(-)7$4(3)7(22$)32*$0/2(-)7$
                                       *&)$0 )+)$4#7+;&*1+,2$+064$$*+02+-+)&'2&4$&*+..2$7$*4&(*44&*'$
       '!*+%#,#
                                       &*4)+,,&*1 '7$'8.(&*)4&*4(3)7$2*$%&'(&*')(:$24+2$43,)$%&'(
                                       7+4,&)),$2$-+&*&*10$)$*)&(*47$,)$24.+'$+*0,&-&)$0+:&,&)6)(2$.+)2&+)$
 -                                 -(4)(/)7(4$57(+2$+..2$7$*0$0(--$2'&+,)2+0$=(54+*0*(*9)2+0$
 ./                              )2+>'+))7$ 9$%&'(:(20$2'(3,0$%.$2&$*'$0&423.)&(*43*0$2+
                                       .(4)9$'$-:$2 -&12+*)4321$*0 3--+26



   " #(--$*)7$(;$2*-$*)(/$%&'(4"#&*+:&,&)6)(.2(;&0$47$,)$2
   +*02$.+)2&+)$-&12+*)4:$6(*0'322$*),&-&)447(54.(4)9&),$ =(54-+6
   (;$257$,-,('+,+3)7(2&)&$4+:&,&)6)('(*03')$*/(2'$-$*)+:4$*)4&1*&?'+*)
   +')&(*;$*&/)7$*&)$0 )+)$45$2$)(12+*).+2(,$)(()7$2*+)&(*+,&)&$4
    +*0 $*'(3*)$20+)+47(54*(2)7:(3*0=(54(/&22$13,+2-&12+*)4*()
   $,&1&:,$/(2.+2(,$5(3,0@3&'8,6?,,)7$1+.*0'(--$*)



   "     #*0(/&),$ (3,0*'&)$&12+*) 321$ (-$*.2$.+2$0



    " #*)7$5+8$(/)7$ (;$-:$2  0&4)2&')'(32)0$'&4&(*)($*0
   &),$ 9:+4$0(.$2+)&(*4:6$'$-:$2 )7$2$&45&0$4.2$+03*$+4$+-(*1
   +*0 .+2)*$242$1+20&*1)7$.2(4.$')(/+*3.'(-&*1-&12+*)4321$*
   0&4'344&(*45&)7$-:+446+*0'(*43,+)$(>'$24(>'&+,4+))7$/$0$2+,
   4)+)$+*0,('+,,$;$,47+;$$%.2$44$0'(*'$2*2$1+20&*1'(*4)2+&*$0'+.+'&)6
   )(+..2$7$*00$)+&*+*0(247$,)$2)7$'322$*),$;$,4(/&22$13,+2-&12+*)4
   +*0+46,3-94$$8$24"2$/#-3'7,$44)7(4$2$43,)&*1/2(-+*+00&)&(*+,
   4321$(32 4)+<-$-:$24&*&30+0'3*+)(,0(*43,+)$ 3$;(+2$0(
   (,<4)7$65$2$3*.2$.+2$0/(2,+21$94'+,$&22$13,+2-&12+*)=(54)()7$
   :(20$2+*0*()$0)7$&2)(..2&(2&)65+4)(.2$;$*)1+)7$2&*14+8&*)()7$
                                                                                                       Haiti AR_001130
                                                                  2'-/(((
        Case 6:23-cv-00007 Document 2'-/(((
                                    93-5 Filed on 03/24/23 in TXSD Page 26 of 199
  $.)$-:$2A &*=3%(/+&)&+*-&12+*)4)($,&()7+)0&423.)$0'(--$2'&+,
)2+>'"2$/ #7&73+73+4)+)$(>'&+,4&*&30+0!3+2$B$%.2$44$0'(*'$2*
)7$,&/)&*1(/&),$ 5(3,04.32-&12+*)4)()2+;$,&*,+21$12(3.4)()7$
:(20$2)(4$$8+46,3-*()&*143'7-(;$-$*)4'(3,0@3&'8,6(;$257$,-47$,)$24
+*04)2+&*()7$2-&12+*)2$4(32'$4



" #2$4&0$*)(.$B:2+0(2+,,4/(2$*$B3$,++2(,$2('$44%.+*4&(*)(
)7$2 +)&(*+,&)&$4:3) 7$,)$24&*$%&'(,2$+06+)+.+'&)6



  " #C7&,$2$4&0$*)(.$B:2+0(27+4'+,,$0/(2)7$*&)$0 )+)$4)(
$%.+*0)7$'322$*)$*$B3$,+*.+2(,$.2('$44)(&*',30$()7$2*+)&(*+,&)&$4
47$,)$2'+.+'&)657&'773-+*&)+2&+*+')(24*()$5(3,0:$&-.(2)+*))(
.(4)9&),$ (20$2,6.2('$44&*17+4+,2$+06432.+44$0(''3.+*'6,&-&)4
*'(-&*1*(2)7:(3*0=(54+/)$2$'$-:$2 -+6/32)7$2)$4)47$,)$2
'(*4)2+&*)473-+*&)+2&+*+')(24$%.2$44$0*&D3+*++-+8$47&/)47$,)$2+)
)7$*&0+0$.(2)&;+7(34&*1(;$2 AA$*$B3$,+*4&4&*@3+2+*)&*$3*)&,
$'$-:$2 03$)(+'7&'8$*.(%(3):2$+857&,$.2&;+)$47$,)$24+2$/3,,6
(''3.&$0+''(20&*1)('(*43,+)$(>'&+,4*()7$2&D3+*+47$,)$2+
-:+D+0+&12+*)$2$.(2)$0,6+,4(+**(3*'$0&)4.,+*)(',(4$&*2$4.(*4$)(
+,,$1$0&*'2$+4$0'2&-&*+,+')&;&)6+*0.(,&'$$%)(2)&(*&$02+4 $12+4
(+73&,+47$,)$247+;$*(2$-+&*&*1'+.+'&)6 7$,)$24+'2(44+-+3,&.+4+2$
4&-&,+2,6(;$2'2(50$0(2',(4$003$)(4$'32&)6'(*'$2*4''(20&*1)((*$
47$,)$20&2$')(2&*$6*(4++12(3.(/+&)&+*42$.(2)$0,6+))+'8$0+47$,)$2
13+20(* (;$-:$2E(3)(//234)2+)&(*2$,+)$0)('(*=&')&*1&*/(2-+)&(*)7$6
+2$2$'$&;&*12$1+20&*1)7$&),$ $%'$.)&(*.2('$44 7$,)$24&*&30+0
!3+2$B$2-(4&,,(+*0 (1+,$47+;$+,4(432.+44$0)7$&2'+.+'&)64
2$.(2)$057&,$$%&'(&)647$,)$24+2$+)+ E .$2'$*)(''3.+*'62+)$
;$2'2(50&*1+*07$+,)7&443$4&*)7$47$,)$2&* +*$02(+.+*+)$.$'+%+'+
7(34&*1FAAA-&12+*)4.2(-.)$0'+,,4/2(-,('+,+3)7(2&)&$4+*073-+*&)+2&+*
+')(24)(2$,('+)$)(+*()7$2/+'&,&)6



" #&12+*)4+8$+C+&)+*0 $$..2(+'7)((,&'67+*1$4



" #(4)-&12+*)4+*0+46,3-4$$8$24'322$*),6&*$%&'(.,+*)(5+&)
3*)&,&),$ &4,&/)$0(*$'$-:$2 :$/(2$+))$-.)&*1)($*)$2)7$*&)$0
  )+)$442$.(2)$0(* (;$-:$2 .$'3,+)&(*2$1+20&*17(5)7$*&)$0
  )+)$45&,,-+*+1$)7$$*0(/&),$ +*057+).(,&'60$'&4&(*4'(-$*$%)5&,,
+<$')-&12+*)40$'&4&(*44)(,0(,<47$6+44$44$0)7$)6.&'+,
4$+4(*+,4,(50(5*&*-&12+)&(*032&*1$'$-:$2+*0$+2,6!+*3+265(3,0,&8$,6
(''32)7&46$+2+45$,,7(5$;$20$4.&)$)7$,&/)&*1(/&),$ 
&17,&17)&*1)7$$4)&-+)$0AAAA-&12+*)4+*0+46,3-4$$8$24'(*12$1+)$0+,(*1
$%&'(G4*(2)7$2*:(20$2 $-.7+4&B$0)7$*$$0/(2+*(20$2,6+*073-+*$
.2('$44)(-+*+1$=(544$$8&*1$*)26&*)()7$*&)$0 )+)$4+*0(<$2$0)(
.2(;&0$&*.3)&*)(+*643'7464)$-)($*432$&)4+)&4?$4.2()$')&(*
.2&*'&.,$4



" #$44+1&*1-.(2)+*))((-:+)(4)9&),$ &4&*/(2-+)&(*



" #=+11$0/2+30+*0+:34$'(*'$2*457&'7)7$6'7+2+')$2&B$0+4
2+-.+*)&*)7$'322$*)&),$ $%'$.)&(*.2('$44'+3)&(*&*1)7+)+*6
-&12+)&(*-+*+1$-$*).2('$4447(3,0+;(&0.2(;&0&*1)((-3'7'(*)2(,)(,('+,
(21+*&B+)&(*4&*0$)$2-&*&*157(5+4.$2-&))$0+''$44)()7$*&)$0 )+)$4
4)2$44$0)7$*$$0/(2',$+2+*0.2(+')&;$ -$44+1&*1(*57+).(4)9&),$
  -&12+)&(*$*/(2'$-$*)5(3,0,((8,&8$)('(-:+)-&4&*/(2-+)&(*/2(-73-+*
4-311,&*1(.$2+)&(*4)7+)5(3,0/+,4$,6.2(-&4$)7$:(20$2&4(.$*4
&*0&'+)$0)7$65(3,0'(*)&*3$$<(2)4)(.2(;&0$+''32+)$&*/(2-+)&(*)(
-&12+*)4+*0+*0 2$.(2)$0)7$65$2$-(:&,&B&*1&*'2$+4$0+44&4)+*'$
)(-&12+*)4+*047$,)$24&**(2)7$2*$%&'(+4)$-.$2+)32$402(.+*0)7$*$$0
/(2:,+*8$)47$+)&*13*&)4+*05+2-',()7&*112(54

                                                                                    Haiti AR_001131
                                           2'-/(((
          Case 6:23-cv-00007 Document 2'-/(((
                                      93-5 Filed on 03/24/23 in TXSD Page 27 of 199

"   # ..2$7$*4&(*4 .&8$$.+)2&+)&(*4$-+&*(5



H" # &*'$)7$&-.,$-$*)+)&(*(/)7$$*$B3$,+*.+2(,$.2('$44$%&'(7+4
&*'2$+4$0-&12+*)&*)$20&')&(*4-(2$)7+*)72$$9/(,0:3),+11&*12$.+)2&+)&(*4
0$-(*4)2+)$,&-&)+)&(*4)($%&'(4$*/(2'$-$*)+''(20&*1)( (>'&+,4+)
(4) +..2$7$*4&(*4(/3:+*4 &'+2+13+*4+*0$*$B3$,+*447+2.,6
&*'2$+4$0+/)$2+00&*1 '7$'8.(&*)4+,(*17&175+64+*0-&12+)&(*2(3)$4&*
4(3)7$2*$%&'((*')(:$2F:3)2$.+)2&+)&(*47+;$2$-+&*$0,(503$)( 4
,&-&)$0+:&,&)6)(2$.+)2&+)$)7(4$*+)&(*+,&)&$4322$*),6 '(*03')4(*$
2$.+)2&+)&(*=&17)5&)7+..2(%&-+)$,6  &'+2+13+*4.$25$$857&,$3:+*4
+*0$*$B3$,+*4+2$-(4),60$)+&*$0+*0)7$*$;$*)3+,,62$,$+4$0 )(,0
 7$02+-+)&'2&4$&*+..2$7$*4&(*4(/)7$4$*+)&(*+,&)&$4,$0)(-+%&-3-
(''3.+*'6&* 0$)$*)&(*'$*)$24.2(-.)&*1+3)7(2&)&$4)('(*)+&*
+..2(%&-+)$,6 FAAA-&12+*)4&**(*90$)$*)&(*/+'&,&)&$4&*+%+'++*0 HAAA
&*7&+.+4:6,+)$')(:$2 2$.,+'$0+*(.$*90((247$,)$2&*+%+'+5&)7
-&12+*).2('$44&*1/+'&,&)&$4&*+.+'73,++*03&%),+7&+.+4+/)$2,('+,
+3)7(2&)&$4'(-.,+&*$0+:(3)(;$2'2(50&*1+*07$+,)7&443$4 )(,0 )7$
3&%),++*0+.+'73,+/+'&,&)&$47+0)734/+2.2$;$*)$0'+2+;+*4:3).2(D$')$0
)7+)'(*)&*3$07&17=(54&*+.+'73,+'(3,0'+34$)7$-)(4)+2)



" #&12+*)*=3%(3,0&423.)(--$2'&+,2+0$*'2$+4$C+&)&-$4
F" #&423.)&(*4)('(--$2'&+,)2+0$=(54+))7$ 9$%&'(:(20$2'(3,0
(''32&*)7$/+'$(/+-&12+*)4321$5+2*$0$%&'+*+44('&+)&(*42$.2$4$*)&*1
'34)(-4+1$*)4+*0)7$/2$&17))2+*4.(2)4$')(2"2$/#&12+*)+22&;+,4&*
,+21$12(3.45(3,0(;$257$,-'34)(-4+3)7(2&)&$42$03'$)2+>',+*$4+*0
,$*1)7$*5+&))&-$4+).(2)4(/$*)2634)(-4+*0)2+*4.(2)'(*)+')4
'+3)&(*$0-&12+*)4'(3,0:(+20'(--$2'&+,)23'84&*5+&)&*1+2$+4,$+0&*1)(
&*4.$')&(*,&*$45&)7(3)(.$2+)(28*(5,$01$7+2-&*1)2+0$=(547$6
+,4(5+2*$0)7+)&/ :(20$24)+)$45$2$)(&-.,$-$*)+00&)&(*+,;$7&',$
&*4.$')&(*4+/)$2;$7&',$4',$+2$0 &*4.$')&(*+2$+4+4$%+40&0&*.2&,
*(2)7:(3*0'(--$2'&+,)2+>'5(3,0:$4$;$2$,60&423.)$0



"   #(*'$2*4+:(3)&423.)&(*)($0$4)2&+*+*0$7&',$+*$4+26



E" #&12+*)4)+8$7(,0$24+,(*1)7$ 9$%&'(:(20$2'(*;$6$0)((,<4
)7+)-&12+*)+22&;+,4&*,+21$12(3.4+/)$2&),$ $*045(3,0.(4$
,(59)(9-(0$2+)$2&484(/0&423.)&(*)(*(*9)2+0$)2+>'* 3$;(+2$0(
'(*)+')4)(,0'(*43,+)$(,<4)7$2&48&4,(5*()&*1-&12+*)*3-:$245$2$
3*,&8$,6)(4.&8$03$)()7$.2$'+2&(344$'32&)6$*;&2(*-$*)+*0'+2)$,)72$+)4
0$)$22&*1-&12+*)+22&;+,4 3'4(*)(,0(*43,+)$ (1+,$4(,<4)7$6
5(3,0,&8$,6*$$0)(',(4$.2&;+)$;$7&',$,+*$4+*0.3,,.$24(**$,)(.2('$44
+46,3-4$$8$24&/+,+21$12(3.(/-&12+*)45$2$)(.2$4$*)+))7$
&*'2$+4&*15+&))&-$4/(2;$7&',$'2(44&*14 (2)7$2*(+73&,+(>'&+,45$2$
'(*?0$*))7+))7$+112$44&;$:(20$24$'32&)6+*07&175+6'7$'8.(&*)4
-+&*)+&*$0:6)7$&24)+)$(>'&+,4'(3.,$05&)7)7$&245&/)*$44&*$*+')&*1
4)2&*1$*)-$+432$4)(-+&*)+&*(20$2&*&$02+4 $12+4+*0&30+0'3*+.3)
)7$-&*+,(52&48'+)$1(26/(20&423.)&(*4>'&+,4&*&D3+*++*0
+)+-(2(4;(&'$0'(*'$2*-&12+*)4'(3,0=((0.$0$4)2&+*,+*$4/(2'&*1)7$-)(
473)0(5**(2-+,.$0$4)2&+*)2+>'
 I

      




                                                                                   Haiti AR_001132
                                           2'-/(((
                Case 6:23-cv-00007
12/12/22, 11:14 AM                       Document
                       Remarks by Ambassador           93-5 Filed
                                             Linda Thomas-Greenfield at a on 03/24/23
                                                                          UN Security      inBriefing
                                                                                      Council TXSD        Page
                                                                                                      on Haiti      28States
                                                                                                               - United of 199
                                                                                                                             Mission to the Un…




              United States Mission to
              the United Nations


Remarks by Ambassador Linda Thomas-Greenťeld at a UN Security Council Brieťng on
Haitiƣ


Ambassador Linda Thomas-GreenÌeld
U.S. Representative to the United Nations
New York, New York
October 17, 2022


                                                                   AS DELIVERED


Thank you, Mr. President. And let me thank Special Representative La Lime for your brieÌng and for your
work. I’d also like to thank in advance MadamêKontoleontosêof the International Organization of La
Francophonie. And I’d also like to acknowledge Foreign Minister Geneus of Haiti and Foreign Minister
Alvarez of the Dominican Republic and Representative Fuller of Belize, who is here on behalf of the
CARICOM. We look forward to hearing your remarks and your important regional perspectives.


Recently,êThe New York Timesêpublished a heartbreaking story on Haiti. It features Christelle Pierre – a
civilian who knows the instability and violence that plagues Haiti all too well. Gang members descended
on Christelle’s neighborhood in Port-au-Prince when she was six months pregnant. And in their wake, they
left death and destruction. Her neighborhood was burned to the ground. Her husband was shot in the head
and left to burn in the street.


Now, Christelle and her newborn baby are homeless – in a country engulfed in crisis. As she toldêThe
Times, “There is no shelter, no food, no medicine, no work. There is only chaos.”


Colleagues, if there was ever a moment to come to the aid of Haitians in dire need, it is now. Faced with
extreme violence and instability, Haiti’s leaders and people are crying out for help. Haiti’s Prime Minister
and Council of Ministers, as well as the Secretary-General, have called on the international community to
address the deteriorating security situation and increase our humanitarian support. In response, o
                                                                                                 our
                                                                                                   ur tteams
                                                                                                        eams
                                                                                                        eams

                                                                                                                                       Privacy - Terms

                                                                                                                         Haiti AR_001133
https://usun.usmission.gov/remarks-by-ambassador-linda-thomas-greenfield-at-a-un-security-council-briefing-on-haiti-4/                              1/4
                Case 6:23-cv-00007
12/12/22, 11:14 AM                       Document
                       Remarks by Ambassador           93-5 Filed
                                             Linda Thomas-Greenfield at a on 03/24/23
                                                                          UN Security      inBriefing
                                                                                      Council TXSD        Page
                                                                                                      on Haiti      29States
                                                                                                               - United of 199
                                                                                                                             Mission to the Un…


are on the ground, working alongside Haitian health workers and NGOs to help address the cholera
outbreak and assist others in need. And we remain the single largest donor of humanitarian assistance to
Haiti.


In the coming days, the United States will deliver additional assistance to Haiti, including critical medical
support. We are also deeply focused on the security situation. One way we’ve helped, alongside Canada,
was to coordinate the delivery of vital Haitian government-purchased security equipment to the Haitian
National Police. That included tactical and armored vehicles and other supplies. This assistance will help
the Haitian National Police counter gang violence and re-establish stability and security under the rule of
law.


And the United States is proactively going after the bad actors. Our new visa restriction policies target
current or former Haitian government oÎcials and other individuals believed to be connected to street
gangs and other criminal organizations. There must be consequences for those that support the
facilitation of illicit arms or narcotics traÎcking.


But a problem of this magnitude cannot be solved by one country or even by a handful of partners in the
region. It requires a concerted international response. It requires robust international cooperation. And it
requires urgent action by this Council. It is not enough to express our concerns or to condemn the
violence. As mandated in the Charter, we need to mobilize the resources and power of this Council and the
broader United Nations.


That is why the United States and Mexico have worked closely to draft two new resolutions – resolutions
we hope this Council will unanimously support.


The Ìrst resolution would impose Ìnancial sanctions on criminal actors that are inÍicting so much
suffering on the Haitian people. It is time to hold them accountable for their actions. It would target those
responsible for gang violence, for traÎcking arms, for attacking UN personnel, for kidnapping innocent
citizens, and for human rights abuses and sexual and gender-based violence. And it would go after
individuals blocking Haiti’s ports and the delivery of humanitarian assistance to the Haitian people. The UN
sanctions regime aims to stop these criminal actors from having access to reputable Ìnancial institutions.
And it would work to freeze their assets and prohibit their international travel.


Additionally, its arms embargo provisions would prevent the direct or indirect supply, sale, or transfer of
arms to criminal gangs and their leaders, as designated by this Council. The draft resolution speciÌcally
lists Jimmy Cherizier – also known as “Barbeque” – as the subject of such sanctions. He is directly
responsible for the devastating fuel shortage that is crippling the country. By passing this resolution, we
would take concrete actions to hold him – and so many other violent criminals – to account.
                                                                                   Haiti AR_001134
https://usun.usmission.gov/remarks-by-ambassador-linda-thomas-greenfield-at-a-un-security-council-briefing-on-haiti-4/                      2/4
                Case 6:23-cv-00007
12/12/22, 11:14 AM                       Document
                       Remarks by Ambassador           93-5 Filed
                                             Linda Thomas-Greenfield at a on 03/24/23
                                                                          UN Security      inBriefing
                                                                                      Council TXSD        Page
                                                                                                      on Haiti      30States
                                                                                                               - United of 199
                                                                                                                             Mission to the Un…


The second resolution we’re working on would authorize a non-UN international security assistance
mission to help improve the security situation and enable the Íow of desperately needed humanitarian aid.
This reÍects one of the options that the Secretary-General recommended the Security Council consider.
This is also a direct response to Prime Minister Henry’s and the Haitian Council of Ministers’ request for
international assistance to help restore security and alleviate the humanitarian crisis. And we have also
consulted broadly with other stakeholders in Haiti, including civil society and the private sector.


This resolution will propose a limited, carefully scoped, non-UN mission led by a partner country with the
deep, necessary experience required for such an effort to be effective. At the United Nations and across
the United States government, we will work with partners and other Council members to set deÌned and
speciÌc parameters for the mission, and the United States will consider the most effective means to
directly support, enable, and resource it.


This non-UN international security assistance mission would operate under Chapter VII of the UN Charter.
And it would facilitate international support to the Haitian National Police, as well as the Coast Guard. By
helping improve the security situation on the ground, the delivery of desperately needed aid could reach
those in need and address the ongoing cholera crisis. Ultimately, such a mission will rely on support from
UN Member States, and this draft resolution explicitly asks for contributions of personnel, equipment, and
other resources.


This is the moment for this Council – and the world – to step up.


To be clear, we are keenly aware of the history of international intervention in Haiti and speciÌcally of
concerns about the Council authorizing a response that could lead to an open-ended peacekeeping role.
This Security Council and the international community must look at its role differently than it has in the
past. We must seek a different course, one that can better respond to the humanitarian and security crisis
in Haiti and be able to directly address the needs of the Haitian people.


With the dire humanitarian consequences on a level we have not seen previously, we need effective, yet
targeted, international assistance. And that needs to be coupled with support for political dialogue and
backed by sustained international pressure on the actors supporting gang activity. This will provide the
Haitian people with the breathing room they need – breathing room that will allow them to think beyond
survival and focus on charting a better future.


Colleagues, a Member State has reached out to us, the United Nations, for urgent assistance. Haiti has
come to us in a time of need. As Security Council members charged with maintaining international peace
and security, it is our responsibility to come together to help restore peace and security for the people of

                                                                                                                         Haiti AR_001135
https://usun.usmission.gov/remarks-by-ambassador-linda-thomas-greenfield-at-a-un-security-council-briefing-on-haiti-4/                      3/4
                Case 6:23-cv-00007
12/12/22, 11:14 AM                       Document
                       Remarks by Ambassador           93-5 Filed
                                             Linda Thomas-Greenfield at a on 03/24/23
                                                                          UN Security      inBriefing
                                                                                      Council TXSD        Page
                                                                                                      on Haiti      31States
                                                                                                               - United of 199
                                                                                                                             Mission to the Un…


Haiti. We must work with Haiti to re-establish the rule of law in a way that respects human rights. And we
must hold those responsible for so much pain and violence accountable.


Families across Haiti who don’t know where their next meal will come from are counting on us. The
humanitarian and health workers desperately trying to contain a cholera outbreak are counting on us. And
victims of gang violence like Christelle Pierre are counting on us.


These two resolutions will help Haiti build a brighter, more secure future. And I ask all of you for your
support.


Thank you, Mr. President.


                                                                          ###ê
    This is the oÎcial website of the U.S. Mission to the United Nations. External links to other Internet sites should not be construed as an
                                         endorsement of the views or privacy policies contained therein.




                                                                                                                         Haiti AR_001136
https://usun.usmission.gov/remarks-by-ambassador-linda-thomas-greenfield-at-a-un-security-council-briefing-on-haiti-4/                           4/4
Case 6:23-cv-00007 Document 93-5 Filed on 03/24/23 in TXSD Page 32 of 199




                                                              Haiti AR_001137
Case 6:23-cv-00007 Document 93-5 Filed on 03/24/23 in TXSD Page 33 of 199




                                                              Haiti AR_001138
Case 6:23-cv-00007 Document 93-5 Filed on 03/24/23 in TXSD Page 34 of 199




                                                              Haiti AR_001139
Case 6:23-cv-00007 Document 93-5 Filed on 03/24/23 in TXSD Page 35 of 199




                                                              Haiti AR_001140
Case 6:23-cv-00007 Document 93-5 Filed on 03/24/23 in TXSD Page 36 of 199




                                                              Haiti AR_001141
Case 6:23-cv-00007 Document 93-5 Filed on 03/24/23 in TXSD Page 37 of 199




                                                              Haiti AR_001142
Case 6:23-cv-00007 Document 93-5 Filed on 03/24/23 in TXSD Page 38 of 199




                                                              Haiti AR_001143
Case 6:23-cv-00007 Document 93-5 Filed on 03/24/23 in TXSD Page 39 of 199




                                                              Haiti AR_001144
Case 6:23-cv-00007 Document 93-5 Filed on 03/24/23 in TXSD Page 40 of 199




                                                              Haiti AR_001145
Case 6:23-cv-00007 Document 93-5 Filed on 03/24/23 in TXSD Page 41 of 199




                                                              Haiti AR_001146
Case 6:23-cv-00007 Document 93-5 Filed on 03/24/23 in TXSD Page 42 of 199




                                                              Haiti AR_001147
Case 6:23-cv-00007 Document 93-5 Filed on 03/24/23 in TXSD Page 43 of 199




                                                              Haiti AR_001148
Case 6:23-cv-00007 Document 93-5 Filed on 03/24/23 in TXSD Page 44 of 199




                                                              Haiti AR_001149
Case 6:23-cv-00007 Document 93-5 Filed on 03/24/23 in TXSD Page 45 of 199




                                                              Haiti AR_001150
Case 6:23-cv-00007 Document 93-5 Filed on 03/24/23 in TXSD Page 46 of 199




                                                              Haiti AR_001151
Case 6:23-cv-00007 Document 93-5 Filed on 03/24/23 in TXSD Page 47 of 199




                                                              Haiti AR_001152
Case 6:23-cv-00007 Document 93-5 Filed on 03/24/23 in TXSD Page 48 of 199




                                                              Haiti AR_001153
Case 6:23-cv-00007 Document 93-5 Filed on 03/24/23 in TXSD Page 49 of 199




                                                              Haiti AR_001154
Case 6:23-cv-00007 Document 93-5 Filed on 03/24/23 in TXSD Page 50 of 199




                                                              Haiti AR_001155
Case 6:23-cv-00007 Document 93-5 Filed on 03/24/23 in TXSD Page 51 of 199




                                                              Haiti AR_001156
Case 6:23-cv-00007 Document 93-5 Filed on 03/24/23 in TXSD Page 52 of 199




                                                              Haiti AR_001157
Case 6:23-cv-00007 Document 93-5 Filed on 03/24/23 in TXSD Page 53 of 199




                                                              Haiti AR_001158
Case 6:23-cv-00007 Document 93-5 Filed on 03/24/23 in TXSD Page 54 of 199




                                                              Haiti AR_001159
Case 6:23-cv-00007 Document 93-5 Filed on 03/24/23 in TXSD Page 55 of 199




                                                              Haiti AR_001160
Case 6:23-cv-00007 Document 93-5 Filed on 03/24/23 in TXSD Page 56 of 199




                                                              Haiti AR_001161
Case 6:23-cv-00007 Document 93-5 Filed on 03/24/23 in TXSD Page 57 of 199




                                                              Haiti AR_001162
Case 6:23-cv-00007 Document 93-5 Filed on 03/24/23 in TXSD Page 58 of 199




                                                              Haiti AR_001163
Case 6:23-cv-00007 Document 93-5 Filed on 03/24/23 in TXSD Page 59 of 199




                                                              Haiti AR_001164
Case 6:23-cv-00007 Document 93-5 Filed on 03/24/23 in TXSD Page 60 of 199




                                                              Haiti AR_001165
Case 6:23-cv-00007 Document 93-5 Filed on 03/24/23 in TXSD Page 61 of 199




                                                              Haiti AR_001166
Case 6:23-cv-00007 Document 93-5 Filed on 03/24/23 in TXSD Page 62 of 199




                                                              Haiti AR_001167
Case 6:23-cv-00007 Document 93-5 Filed on 03/24/23 in TXSD Page 63 of 199




                                                              Haiti AR_001168
Case 6:23-cv-00007 Document 93-5 Filed on 03/24/23 in TXSD Page 64 of 199




                                                              Haiti AR_001169
Case 6:23-cv-00007 Document 93-5 Filed on 03/24/23 in TXSD Page 65 of 199




                                                              Haiti AR_001170
Case 6:23-cv-00007 Document 93-5 Filed on 03/24/23 in TXSD Page 66 of 199




                                                              Haiti AR_001171
Case 6:23-cv-00007 Document 93-5 Filed on 03/24/23 in TXSD Page 67 of 199




                                                              Haiti AR_001172
Case 6:23-cv-00007 Document 93-5 Filed on 03/24/23 in TXSD Page 68 of 199




                                                              Haiti AR_001173
Case 6:23-cv-00007 Document 93-5 Filed on 03/24/23 in TXSD Page 69 of 199




                                                              Haiti AR_001174
Case 6:23-cv-00007 Document 93-5 Filed on 03/24/23 in TXSD Page 70 of 199




                                                              Haiti AR_001175
Case 6:23-cv-00007 Document 93-5 Filed on 03/24/23 in TXSD Page 71 of 199




                                                              Haiti AR_001176
Case 6:23-cv-00007 Document 93-5 Filed on 03/24/23 in TXSD Page 72 of 199




                                                              Haiti AR_001177
Case 6:23-cv-00007 Document 93-5 Filed on 03/24/23 in TXSD Page 73 of 199




                                                              Haiti AR_001178
Case 6:23-cv-00007 Document 93-5 Filed on 03/24/23 in TXSD Page 74 of 199




                                                              Haiti AR_001179
Case 6:23-cv-00007 Document 93-5 Filed on 03/24/23 in TXSD Page 75 of 199




                                                              Haiti AR_001180
Case 6:23-cv-00007 Document 93-5 Filed on 03/24/23 in TXSD Page 76 of 199




                                                              Haiti AR_001181
Case 6:23-cv-00007 Document 93-5 Filed on 03/24/23 in TXSD Page 77 of 199




                                                              Haiti AR_001182
Case 6:23-cv-00007 Document 93-5 Filed on 03/24/23 in TXSD Page 78 of 199




                                                              Haiti AR_001183
Case 6:23-cv-00007 Document 93-5 Filed on 03/24/23 in TXSD Page 79 of 199




                                                              Haiti AR_001184
Case 6:23-cv-00007 Document 93-5 Filed on 03/24/23 in TXSD Page 80 of 199




                                                              Haiti AR_001185
            Case 6:23-cv-00007 Document 93-5 Filed on 03/24/23 in TXSD Page 81 of 199


                                            Declaration of Financial Support                                                 USCIS
                                                                                                                           Form I-134
                                                   Department of Homeland Security                                      OMB No. 1615-0014
                                                 U.S. Citizenship and Immigration Services                              Expires 12/31/2024



Ź START HERE - Type or print in black ink.

Part 1. Basis for Filing
1.    I am filing this form on behalf of:            Myself as the beneficiary.           Another individual who is the beneficiary.


Part 2. Information about the Beneficiary
Complete Part 2. regardless of whether you are filing this form on behalf of yourself as the beneficiary or on behalf of another
individual who is the beneficiary.
1.    Beneficiary's Current Legal Name (Do not provide a nickname.)
      Family Name (Last Name)                                   Given Name (First Name)                    Middle Name


2.    Other Names Used
      Provide all other names the beneficiary has ever used, including aliases, maiden name, and nicknames. If you need extra space
      to complete this section, use the space provided in Part 8. Additional Information.
      Family Name (Last Name)                                   Given Name (First Name)                    Middle Name




3.    Date of Birth (mm/dd/yyyy)            4.      Gender                        5.   Alien Registration Number (A-Number) (if any)
                                                        Male         Female            Ź A-

6.    Place of Birth
      City or Town                                                            State or Province


      Country


7.    Country of Citizenship or Nationality


8.   Marital Status
         Single, Never Married          Married           Divorced         Widowed           Legally Separated        Marriage Annulled

         Other (Explain):




Form I-134 Edition 12/20/22                                                                                      Haiti AR_001186
                                                                                                                              Page 1 of 13
            Case 6:23-cv-00007 Document 93-5 Filed on 03/24/23 in TXSD Page 82 of 199


Part 2. Information about the Beneficiary (continued)
9.    Beneficiary's Mailing Address
      In Care Of Name (if any)


      Street Number and Name                                                                Apt.Ste. Flr. Number


      City or Town                                                                          State          ZIP Code


      Province                                     Postal Code               Country


10.   Are the beneficiary's mailing address and physical address the same?                                         Yes       No
If you answered “No” to Item Number 10., provide your physical address in Item Number 11.
11.   Beneficiary's Physical Address
      In Care Of Name (if any)


      Street Number and Name (Do not provide a PO Box in this space unless it is your ONLY address.) Apt. Ste. Flr. Number


      City or Town                                                                          State            ZIP Code


      Province                                     Postal Code               Country



Beneficiary's Anticipated Length of Stay
12.   Beneficiary's Anticipated Period of Stay in the United States

      From (mm/dd/yyyy)

      To (select one):

          (mm/dd/yyyy)

          No End Date




Form I-134 Edition 12/20/22                                                                          Haiti AR_001187
                                                                                                                  Page 2 of 13
            Case 6:23-cv-00007 Document 93-5 Filed on 03/24/23 in TXSD Page 83 of 199


Part 2. Information about the Beneficiary (continued)

Beneficiary's Financial Information
Provide information about the beneficiary's income and assets. If you need additional space to complete any Item Number in this
section, use the space provided in Part 8. Additional Information.
Beneficiary's Income
13.   Provide all of the information requested in the table below about the beneficiary, all of the beneficiary's dependents, and any
      other individuals the beneficiary financially supports (do not include any individuals named in Part 3.). Information about
      assets that are not based on employment should be added in Item Number 16. and not in Item Number 13.

                Individual's Full Name              Date of Birth          Relationship to the Beneficiary                Income
       (First, Middle, Last) (do not include any    (mm/dd/yyyy)       (Type or print “Self” if you are filing for contribution to the
             individuals named in Part 3.)                           yourself as the beneficiary or “Beneficiary” if    beneficiary
                                                                        someone is agreeing to support you in        annually (if none,
                                                                                        Part 3.)                      type or print $0)

                                                                                                                      $


                                                                                                                      $


                                                                                                                      $


                                                                                                                      $


                                                                                                                      $

                                                                                      Total Number of Dependents
                                                                                                     Total Income $

14.   Does any of the beneficiary's total income (including income from dependents and other                              Yes       No
      individuals who contribute to the beneficiary's income, excluding any individuals named in Part 3.)
      come from an illegal activity or source (such as proceeds from illegal gambling or illegal drug
      sales)?
15.   If you answered “Yes” to Item Number 14., what amount of the beneficiary's total income comes         $
      from an illegal activity or source?




Form I-134 Edition 12/20/22                                                                                     Haiti AR_001188
                                                                                                                             Page 3 of 13
            Case 6:23-cv-00007 Document 93-5 Filed on 03/24/23 in TXSD Page 84 of 199


Part 2. Information about the Beneficiary (continued)
Beneficiary's Assets
16.   In the table below, provide the amounts of assets available to the beneficiary for the expected period of his or her stay
      (excluding assets from any individuals named in Part 3.). Attach evidence showing that the beneficiary has these assets.

                 Full Name of Asset Holder                                 Type of Asset                         Amount (Cash Value)
                     (First, Middle, Last)                                                                          (U.S. dollars)




                                                                           Current Cash Value (U.S. dollars) $
                                                                                       TOTAL (U.S. dollars) $


Part 3. Information About the Individual Agreeing to Financially Support the Beneficiary Named in
Part 2.
If you are not the beneficiary named in Part 2., complete Part 3.

1.    Current Legal Name (Do not provide a nickname.)
      Family Name (Last Name)                              Given Name (First Name)                   Middle Name


2.    Other Names Used
      Provide all other names you have ever used, including aliases, maiden name, and nicknames. If you need extra space to
      complete this section, use the space provided in Part 8. Additional Information.
      Family Name (Last Name)                              Given Name (First Name)                   Middle Name




3.    Current Mailing Address
      In Care Of Name (if any)


      Street Number and Name                                                                     Apt. Ste. Flr. Number


      City or Town                                                                               State           ZIP Code


      Province                                    Postal Code                Country




Form I-134 Edition 12/20/22                                                                                Haiti AR_001189
                                                                                                                        Page 4 of 13
            Case 6:23-cv-00007 Document 93-5 Filed on 03/24/23 in TXSD Page 85 of 199


Part 3. Information About the Individual Agreeing to Financially Support the Beneficiary Named in
Part 2. (continued)
4.    Is your current mailing address the same as your current physical address?                                  Yes       No
      If you answered “No” to Item Number 4., provide your current physical address in Item Numbers 5.
5.    Physical Address
      In Care Of Name (if any)


      Street Number and Name                                                                   Apt. Ste. Flr. Number


      City or Town                                                                             State        ZIP Code


      Province                                    Postal Code                Country



Other Information
6.    Date of Birth (mm/dd/yyyy)

7.    Place of Birth
      City or Town                                                     State or Province


      Country


8.    Alien Registration Number (A-Number) (if any)       9.    USCIS Online Account Number (if any)
      Ź A-                                                      Ź


Immigration Status
10.   What is your current immigration status? Provide documentation as provided in the instructions.
         U.S. Citizen
         U.S. National
         Lawful Permanent Resident A-Number
                                      Ź A-

         Nonimmigrant Form I-94 Arrival-Departure Record Number
                         Ź

      Other (Explain):




Form I-134 Edition 12/20/22                                                                             Haiti AR_001190
                                                                                                                     Page 5 of 13
              Case 6:23-cv-00007 Document 93-5 Filed on 03/24/23 in TXSD Page 86 of 199


Part 3. Information About the Individual Agreeing to Financially Support the Beneficiary Named in
Part 2. (continued)

Employment Information
11.   Employment Status
           Employed (full-time, part-time, seasonal, self-employed)       Unemployed or Not Employed          Retired

           Other (Explain):

If you indicated that you are employed in Item Number 11., provide the information requested in Item Numbers 12. - 13.

12.   A.          I am currently employed as a/an                          Name of Employer



      B.          I am currently self-employed as a/an


13.   Current Employer's Address
      Street Number and Name                                                                      Apt. Ste. Flr. Number


      City or Town                                                                                State          ZIP Code


      Province                                         Postal Code             Country



Financial Information
Provide information about your income and assets. If you need additional space to complete any Item Number in this section, use the
space provided in Part 8. Additional Information.
Income
14.   Provide all of the information requested in the table below about yourself, all of your dependents, and any other individuals you
      financially support (do not include any individuals named in Part 2.). Information about assets that are not based on
      employment should be added in Item Number 17. and not in Item Number 14.

                          Full Name                       Date of Birth Relationship to the Individual Agreeing      Income
           (First, Middle, Last) (do not include any      (mm/dd/yyyy)   to Financially Support (Type or print Contribution to the
                 individuals named in Part 2.)                              “Self” for Individual Agreeing to      Beneficiary
                                                                                                                Annually (if none,
                                                                          Financially Support the Beneficiary)
                                                                                                                 type or print $0)
                                                                                                                   $
                                                                                                                   $
                                                                                                                   $
                                                                                                                   $
                                                                                                                   $
                                                                                      Total Number of Dependents
                                                                                                    Total Income $




Form I-134 Edition 12/20/22                                                                                Haiti AR_001191
                                                                                                                        Page 6 of 13
            Case 6:23-cv-00007 Document 93-5 Filed on 03/24/23 in TXSD Page 87 of 199


Part 3. Information About the Individual Agreeing to Financially Support the Beneficiary Named in
Part 2. (continued)
15.   Does any of the income listed above come from an illegal activity or source (such as proceeds from                Yes        No
      illegal gambling or illegal drug sales)?

16.   If you answered “Yes” to Item Number 15., what amount of income comes from an illegal activity? $

Assets
17.   Fill out the table below regarding the assets available to you (do not include any assets from any individuals named in Part 2.).
      Attach evidence showing you have these assets.

                   Full Name of Asset Holder                                  Type of Asset                       Amount (Cash Value)
                 (you or your household member)                                                                      (U.S. dollars)




                                                                            Current Cash Value (U.S. dollars) $
                                                                                       TOTAL (U.S. dollars) $


Financial Responsibility for Other Beneficiaries
18.   Have you previously submitted a Form I-134 on behalf of a person other than the beneficiary                       Yes        No
      listed on this Form I-134?
If you answered “Yes” to Item Number 18., provide the information requested in Item Numbers 19. - 20. If you need additional
space to complete this section, use the space provided in Part 8. Additional Information.

19.   Person 1
      Family Name (Last Name)                               Given Name (First Name)                    Middle Name


      A-Number                                  Date Submitted (mm/dd/yyyy)
      Ź A-

20.   Person 2
      Family Name (Last Name)                               Given Name (First Name)                    Middle Name


      A-Number                                  Date Submitted (mm/dd/yyyy)
      Ź A-




Form I-134 Edition 12/20/22                                                                                 Haiti AR_001192
                                                                                                                         Page 7 of 13
            Case 6:23-cv-00007 Document 93-5 Filed on 03/24/23 in TXSD Page 88 of 199


Part 3. Information About the Individual Agreeing to Financially Support the Beneficiary Named in
Part 2. (continued)

Intent to Provide Specific Contributions to the Beneficiary
21.   I     intend       do not intend to make specific contributions to the support of the beneficiary named in Part 2.
      Explain the contribution. For example, if you intend to furnish room and board, state for how long. If you intend to provide
      money, state the amount in U.S. dollars and whether it is to be given in a lump sum, weekly, or monthly, and for how long. If
      you need additional space, use Part 8. Additional Information.




Part 4. Statement, Contact Information, Certification, and Signature of the Beneficiary (if filing Form
I-134 on his or her own behalf)
If you are the beneficiary and are filing Form I-134 on your own behalf, complete and sign Part 4.

NOTE: Read the Penalties section of the Form I-134 Instructions before completing this section.

Beneficiary's Statement
NOTE: Select the box for either Item A. or B. in Item Number 1. If applicable, select the box for Item Number 2.
1.    I, as the beneficiary, certify the following:
      A.       I can read and understand English, and I have read and understand every question and instruction on this declaration
               and my answer to every question.
      B.       The interpreter named in Part 6. read to me every question and instruction on this declaration and my answer to every
               question in                                                        , a language in which I am fluent and I understood
               everything.

2.         At my request, the preparer named in Part 7.,                                                                     , prepared
           this declaration for me based only upon information I provided or authorized.

Beneficiary's Contact Information
3.    Beneficiary's Daytime Telephone Number                           4.    Beneficiary's Mobile Telephone Number (if any)


5.    Beneficiary's Email Address (if any)



Beneficiary's Certification
Copies of any documents I have submitted are exact photocopies of unaltered, original documents, and I understand that USCIS or the
Department of State may require that I submit original documents to USCIS or the Department of State at a later date. Furthermore, I
authorize the release of any information from any and all of my records that USCIS or the Department of State may need to determine
my eligibility for the immigration benefit I seek.
I further authorize release of information contained in this declaration, in supporting documents, and in my USCIS or the Department
of State records to other entities and persons where necessary for the administration and enforcement of U.S. immigration laws.




Form I-134 Edition 12/20/22                                                                                 Haiti AR_001193
                                                                                                                         Page 8 of 13
            Case 6:23-cv-00007 Document 93-5 Filed on 03/24/23 in TXSD Page 89 of 199


Part 4. Statement, Contact Information, Certification, and Signature of the Beneficiary (if filing Form
I-134 on his or her own behalf) (continued)
I understand that USCIS may require me to appear for an appointment to take my biometrics (fingerprints, photograph, and/or
signature) and, at that time, if I am required to provide biometrics, I will be required to sign an oath reaffirming that:
      1) I reviewed and provided or authorized all of the information in my declaration;
      2) I understood all of the information contained in, and submitted with, my declaration; and
      3) All of this information was complete, true, and correct at the time of filing.
I certify, under penalty of perjury, that I provided or authorized all of the information in my declaration, I understand all of the
information contained in, and submitted with, my declaration, and that all of this information is complete, true, and correct.
That this declaration is made by me to assure the U.S. Government that I will be able to financially support myself while in the United
States.
That I am willing and able to pay for necessary expenses for the duration of my temporary stay in the United States.

Beneficiary's Signature
6.    Beneficiary's Signature                                                                             Date of Signature (mm/dd/yyyy)




Part 5. Statement, Contact Information, Certification, and Signature of the Individual Agreeing to
Financially Support the Beneficiary
If you are filing Form I-134 on behalf of someone else (the beneficiary listed in Part 2.), complete and sign Part 5.

NOTE: Read the Penalties section of the Form I-134 Instructions before completing this section.

Statement of Individual Agreeing to Financially Support the Beneficiary
NOTE: Select the box for either Item A. or B. in Item Number 1. If applicable, select the box for Item Number 2.
1.    I, as the individual agreeing to financially support the beneficiary, certify the following:
      A.       I can read and understand English, and I have read and understand every question and instruction on this declaration
               and my answer to every question.
      B.       The interpreter named in Part 6. read to me every question and instruction on this declaration and my answer to every
               question in                                                      , a language in which I am fluent and I understood

2.         At my request, the preparer named in Part 7.,                                                                     , prepared this
           declaration for me based only upon information I provided or authorized.

Contact Information of Individual Agreeing to Financially Support the Beneficiary
3.    Daytime Telephone Number                                           4.    Mobile Telephone Number (if any)


5.    Email Address (if any)




Form I-134 Edition 12/20/22                                                                                    Haiti AR_001194
                                                                                                                            Page 9 of 13
            Case 6:23-cv-00007 Document 93-5 Filed on 03/24/23 in TXSD Page 90 of 199


Part 5. Statement, Contact Information, Certification, and Signature of the Individual Agreeing to
Financially Support the Beneficiary (continued)

Certification of Individual Agreeing to Financially Support the Beneficiary
Copies of any documents I have submitted are exact photocopies of unaltered, original documents, and I understand that USCIS or the
Department of State may require that I submit original documents to USCIS or the Department of State at a later date. Furthermore, I
authorize the release of any information from any and all of my records that USCIS or the Department of State may need to determine
my eligibility for the immigration benefit I seek.
I further authorize release of information contained in this declaration, in supporting documents, and in my USCIS or the Department
of State records, to other entities and persons where necessary for the administration and enforcement of U.S. immigration law.
I understand that USCIS may require me to appear for an appointment to take my biometrics (fingerprints, photograph, and/or
signature) and, at that time, if I am required to provide biometrics, I will be required to sign an oath reaffirming that:
      1) I reviewed and provided or authorized all of the information in my declaration;
      2) I understood all of the information contained in, and submitted with, my declaration; and
      3) All of this information was complete, true, and correct at the time of filing.
I certify, under penalty of perjury, that I provided or authorized all of the information in my declaration, I understand all of the
information contained in, and submitted with, my declaration, and that all of this information is complete, true, and correct.
That this declaration is made by me to assure the U.S. Government that the person named in Part 2. will be financially supported
while in the United States.
That I am willing and able to receive, maintain, and support the person named in Part 2. to better ensure that such persons will have
sufficient financial resources or financial support to pay for necessary expenses for the period of his or her temporary stay in the
United States.
I acknowledge that I have read this section, and I am aware of my responsibilities as an individual agreeing to financially support the
beneficiary.

Signature of Individual Agreeing to Financially Support the Beneficiary
6.    Signature                                                                                           Date of Signature (mm/dd/yyyy)


NOTE TO ALL INDIVIDUALS AGREEING TO FINANCIALLY SUPPORT THE BENEFICIARY: If you do not completely
fill out this declaration or if you fail to submit required documents listed in the Instructions, USCIS or the Department of State may
deny or not consider your declaration.


Part 6. Interpreter's Contact Information, Certification, and Signature
Provide the following information about the interpreter.

Interpreter's Full Name
1.    Interpreter's Family Name (Last Name)                                Interpreter's Given Name (First Name)


2.    Interpreter's Business or Organization Name (if any)




Form I-134 Edition 12/20/22                                                                                    Haiti AR_001195
                                                                                                                            Page 10 of 13
             Case 6:23-cv-00007 Document 93-5 Filed on 03/24/23 in TXSD Page 91 of 199


Part 6. Interpreter's Contact Information, Certification, and Signature (continued)

Interpreter's Mailing Address
3.    Street Number and Name                                                                     Apt. Ste. Flr. Number


      City or Town                                                                               State          ZIP Code


      Province                                     Postal Code                Country



Interpreter's Contact Information
4.    Interpreter's Daytime Telephone Number                          5.    Interpreter's Mobile Telephone Number (if any)


6.    Interpreter's Email Address (if any)



Interpreter's Certification
I certify, under penalty of perjury, that:

I am fluent in English and                                                              which is the same language specified in Part 4.
or in Part 5., Item B. in Item Number 1., and I have read to this individual agreeing to financially support the beneficiary in the
identified language every question and instruction on this declaration and his or her answer to every question. The individual agreeing
to financially support the beneficiary informed me that he or she understands every instruction, question, and answer on the
declaration, including the Certification of the Individual Agreeing to Financially Support the Beneficiary, and has verified the
accuracy of every answer.

Interpreter's Signature
7.    Interpreter's Signature                                                                         Date of Signature (mm/dd/yyyy)




Part 7. Contact Information, Declaration, and Signature of the Person Preparing this Declaration, if
Other Than the Individual Agreeing to Financially Support the Beneficiary
Provide the following information about the preparer.

Preparer's Full Name
1.    Preparer's Family Name (Last Name)                                Preparer's Given Name (First Name)


2.    Preparer's Business or Organization Name (if any)




Form I-134 Edition 12/20/22                                                                                Haiti AR_001196
                                                                                                                        Page 11 of 13
            Case 6:23-cv-00007 Document 93-5 Filed on 03/24/23 in TXSD Page 92 of 199


Part 7. Contact Information, Declaration, and Signature of the Person Preparing this Declaration, if
Other Than the Individual Agreeing to Financially Support the Beneficiary (continued)

Preparer's Mailing Address
3.    Street Number and Name                                                                        Apt. Ste. Flr. Number


      City or Town                                                                                  State          ZIP Code


      Province                                       Postal Code                Country



Preparer's Contact Information
4.    Preparer's Daytime Telephone Number                                5.    Preparer's Mobile Telephone Number


6.    Preparer's Email Address (if any)



Preparer's Statement
7.    A.         I am not an attorney or accredited representative but have prepared this declaration on behalf of the individual agreeing
                 to financially support the beneficiary (which is the beneficiary if filing on behalf of him or herself) and with that
                 individual's consent.
      B.         I am an attorney or accredited representative and my representation of the individual agreeing to financially support the
                 beneficiary (which is the beneficiary if filing on behalf of him or herself) in this case extends      does not extend
                 beyond the preparation of this declaration.

NOTE: If you are an attorney or accredited representative, you may need to submit a completed Form G-28, Notice of Entry of
Appearance as Attorney or Accredited Representative, with this application.

Preparer's Certification
By my signature, I certify, under penalty of perjury, that I prepared this declaration at the request of the individual agreeing to
financially support the beneficiary (which is the beneficiary if filing on behalf of him or herself). The individual agreeing to
financially support the beneficiary (which is the beneficiary if filing on behalf of him or herself) then reviewed this completed
declaration and informed me that he or she understands all of the information contained in, and submitted with, his or her declaration,
including the Certification of the Individual Agreeing to Financially Support the Beneficiary, and that all of this information is
complete, true, and correct. I completed this declaration based only on information that the individual agreeing to financially support
the beneficiary provided to me or authorized me to obtain or use.

Preparer's Signature
8.    Preparer's Signature                                                                               Date of Signature (mm/dd/yyyy)




Form I-134 Edition 12/20/22                                                                                   Haiti AR_001197
                                                                                                                           Page 12 of 13
            Case 6:23-cv-00007 Document 93-5 Filed on 03/24/23 in TXSD Page 93 of 199


Part 8. Additional Information
If you need extra space to provide any additional information within this declaration, use the space below. If you need more space
than what is provided, you may make copies of this page to complete and file with this declaration or attach a separate sheet of paper.
Type or print your name and A-Number (if any) at the top of each sheet; indicate the Page Number, Part Number, and Item
Number to which your answer refers; and sign and date each sheet.
1.    Family Name (Last Name)                      Given Name (First Name)                      Middle Name



2.    A-Number (if any) Ź A-

3.    A.    Page Number       B.   Part Number     C.    Item Number


      D.




4.    A.    Page Number       B.   Part Number     C.    Item Number


      D.




5.    A.    Page Number       B.   Part Number     C.    Item Number


      D.




6.    A.    Page Number       B.   Part Number     C.    Item Number


      D.




Form I-134 Edition 12/20/22                                                                                 Haiti AR_001198
                                                                                                                         Page 13 of 13
           Case 6:23-cv-00007 Document 93-5 Filed on 03/24/23 in TXSD Page 94 of 199


                                        Declaration of Financial Support                                         USCIS
                                                                                                               Form I-134
                                           Department of Homeland Security                                  OMB No. 1615-0014
                                         U.S. Citizenship and Immigration Services                           Expires 12/31/2024



 What Is the Purpose of Form I-134?

Some immigration benefits that involve a temporary stay in the United States require U.S. Citizenship and Immigration
Services (USCIS) to determine whether the applicant or beneficiary of the request has sufficient financial resources or
financial support to pay for expenses during the temporary stay. The individual who signs and submits Form I-134 must
establish that he or she has both sufficient financial resources and access to those funds to support the beneficiary listed on
Form I-134 for the duration of the beneficiary's stay in the United States.
This version of Form I-134, Declaration of Financial Support, replaces the previously titled "Form I-134, Affidavit of
Support."


 Who Must File Form I-134?

Certain individuals applying for parole based on urgent humanitarian reasons or significant public benefit filed on Form
I-131, Application for Travel Document, must submit this form with Form I-131. Form I-134 is filed either by the
applicant for parole on his or her own behalf, or by another individual on the parole applicant's behalf.
NOTE: Whether or not the beneficiary of this Form I-134 will have sufficient means of support while in the United
States is an important factor in determining whether to exercise discretion to authorize parole. We require evidence that
the beneficiary of this Form I-134 has financial support for the duration of his or her stay in the United States. Lack of
evidence of financial support while in the United States is a strong negative factor that may lead to a denial of parole.



 Who May File Form I-134?

You may file this form on behalf of yourself or on behalf of a B, F, or M nonimmigrant requesting extension of stay or
change of status.
Form I-134 may also be requested by Department of State in certain instances.
Do not use Form I-134 if the beneficiary you are agreeing to financially support must have Form I-864, Affidavit of
Support Under Section 213A of the INA, filed on his or her behalf instead.


 Submission of Declaration

If you are agreeing to financially support more than one beneficiary, you must submit a separate Form I-134 for each
beneficiary. You, as the individual agreeing to financially support the beneficiary, must sign your full name on the form.




                                                                                                    Haiti AR_001199
Form I-134 Instructions 12/20/22                                                                                 Page 1 of 8
           Case 6:23-cv-00007 Document 93-5 Filed on 03/24/23 in TXSD Page 95 of 199


 General Instructions

USCIS provides forms free of charge through the USCIS website. To view, print, or fill out our forms, you should use
the latest version of Adobe Reader, which you can download for free at http://get.adobe.com/reader/. If you do not
have internet access, you may call the USCIS Contact Center at 1-800-375-5283 and ask that we mail a form to you. The
USCIS Contact Center provides information in English and Spanish. For TTY (deaf or hard of hearing) call:
1-800-767-1833.
Signature. Each declaration must be properly signed and filed. For all signatures on this declaration, USCIS will not
accept a stamped or typewritten name in place of a signature. A legal guardian may also sign for a mentally incompetent
person. If the request is not signed or if the requisite signature on the request is not valid, USCIS will reject the request.
See 8 CFR 103.2(a)(7)(ii)(A). If USCIS accepts a request for adjudication and determines that it has a deficient signature,
USCIS will deny the request.

Validity of Signatures. USCIS will consider a photocopied, faxed, or scanned copy of the original handwritten signature
valid for filing purposes. The photocopy, fax, or scan must be of the original document containing the handwritten ink
signature.

Filing Fee. There is no filing fee to file Form I-134.

Evidence. You must submit all evidence requested in these Instructions with your declaration. If you fail to submit
required evidence, USCIS may reject or deny your declaration for failure to submit requested evidence or supporting
documents in accordance with 8 CFR 103.2(b)(1) and these Instructions.

Biometric Services Appointment. USCIS may require that you appear for an interview or provide biometrics
(fingerprints, photograph, and/or signature) at any time to verify your identity, obtain additional information, and conduct
background and security checks, including a check of criminal history records maintained by the Federal Bureau of
Investigation (FBI), before making a decision on your application or petition. After USCIS receives your declaration and
ensures it is complete, we will inform you if you need to attend a biometric services appointment. If an appointment is
necessary, the notice will provide you the location of your local or designated USCIS Application Support Center (ASC)
and the date and time of your appointment or, if you are currently overseas, instruct you to contact a U.S. Embassy, U.S.
Consulate, or USCIS office outside the United States to set up an appointment.
If you are required to provide biometrics, at your appointment you must sign an oath reaffirming that:
1. You provided or authorized all information in the declaration;
2. You reviewed and understood all of the information contained in, and submitted with, your declaration; and
3. All of this information was complete, true, and correct at the time of filing.
Copies. You should submit legible photocopies of documents requested, unless the Instructions specifically state that you
must submit an original document. USCIS may request an original document at the time of filing or at any time during
processing of an application or petition. If USCIS requests an original document from you, it will be returned to you after
USCIS determines it no longer needs your original.

Translations. If you submit a document with information in a foreign language, you must also submit a full English
translation. The translator must sign a certification that the English language translation is complete and accurate, and
that he or she is competent to translate from the foreign language into English. The certification should also include the
translator's signature, printed name, the signature date, and the translator's contact information.

How To Fill Out Form I-134
1. Type or print legibly in black ink.




                                                                                                    Haiti AR_001200
Form I-134 Instructions 12/20/22                                                                                 Page 2 of 8
           Case 6:23-cv-00007 Document 93-5 Filed on 03/24/23 in TXSD Page 96 of 199



2. If you need extra space to complete any item within this declaration, use the space provided in Part 8. Additional
   Information or attach a separate sheet of paper. Type or print your name and Alien Registration Number (A-
   Number) (if any) at the top of each sheet; indicate the Page Number, Part Number, and Item Number to which
   your answer refers; and sign and date each sheet.
3. Answer all questions fully and accurately. If a question does not apply to you (for example, if you have never been
   married and the question asks "Provide the name of your current spouse"), type or print "N/A" unless otherwise
   directed. If your answer to a question which requires a numeric response is zero or none (for example, "How many
   children do you have" or "How many times have you departed the United States"), type or print "None" unless
   otherwise directed.
4. Part 4. Statement, Contact Information, Certification, and Signature of the Beneficiary (if filing Form I-134 on
   his or her own behalf). You must sign in Part 4. if you are filing Form I-134 on your own behalf. Select the
   appropriate box to indicate whether you read this declaration yourself or whether you had an interpreter assist you. If
   someone helped you complete the declaration, select the box indicating that you used a preparer. You also must sign
   and date your declaration and provide your daytime telephone number, mobile telephone number, and email address.
   A stamped or typewritten name in place of a signature is not acceptable.
5. Part 5. Statement, Contact Information, Certification, and Signature of the Individual Agreeing to Financially
   Support the Beneficiary. You must sign Part 5. if you are filing Form I-134 on behalf of someone else (a
   beneficiary). Select the appropriate box to indicate whether you read this declaration yourself or whether you had an
   interpreter assist you. If someone assisted you in completing the declaration, select the box indicating that you used a
   preparer. Further, you must sign and date your declaration and provide your daytime telephone number, mobile
   telephone number (if any), and email address (if any). Every declaration MUST contain the signature of the
   individual agreeing to financially support the beneficiary (or parent or legal guardian, if applicable). A stamped or
   typewritten name in place of a signature is not acceptable.
6. Part 6. Interpreter's Contact Information, Certification, and Signature. If you used anyone as an interpreter to
   read the Instructions and questions on this declaration to you in a language in which you are fluent, the interpreter
   must fill out this section, provide his or her name, the name and address of his or her business or organization (if any),
   his or her daytime telephone number, his or her mobile telephone number (if any), and his or her email address (if
   any). The interpreter must sign and date the declaration.
7. Part 7. Contact Information, Declaration, and Signature of the Person Preparing this Declaration, if Other
   Than the Individual Agreeing to Financially Support the Beneficiary. If someone other than you, the individual
   agreeing to financially support the beneficiary (which is the beneficiary if filing on behalf of him or herself),
   completed your declaration, this section must contain the signature. If the same individual acted as your interpreter
   and your preparer, that person should complete both Part 6. and Part 7. If the person who completed this declaration
   is associated with a business or organization, that person should complete the business or organization name and
   address information. Anyone who helped you complete this declaration MUST sign and date the declaration. A
   stamped or typewritten name in place of a signature is not acceptable. If the person who helped you prepare your
   declaration is an attorney or accredited representative, he or she may also need to submit a completed Form G-28,
   Notice of Entry of Appearance as Attorney or Accredited Representative, along with your declaration.


    We recommend that you print or save a copy of your completed declaration to review in the future
                                        and for your records.


 Specific Instruction

Part 1. Basis for Filing. Select the appropriate box for Item Number 1.
Select the first box if you are the beneficiary who is the alien applying for an immigration benefit. A beneficiary may file
Form I-134 on his or her own behalf.
                                                                                                   Haiti AR_001201
Form I-134 Instructions 12/20/22                                                                                Page 3 of 8
           Case 6:23-cv-00007 Document 93-5 Filed on 03/24/23 in TXSD Page 97 of 199


Select the second box if you are the individual agreeing to financially support the beneficiary.
Part 2. Information about the Beneficiary
The beneficiary is the alien who is applying for an immigration benefit. A beneficiary may file Form I-134 on behalf of
himself or herself.
Item Number 1. Beneficiary's Current Legal Name. Provide the beneficiary's legal name, as shown on his or her birth
certificate or legal name change document. If the beneficiary has two last names, include both and use a hyphen (-)
between the names, if appropriate. Type or print the beneficiary's last, first, and middle names in each appropriate field.
Item Number 3. Date of Birth. Enter the beneficiary's date of birth in mm/dd/yyyy format in the space provided. For
example, type or print October 5, 1967 as 10/05/1967.
Item Number 4. Gender. Provide the beneficiary's gender.
Item Number 5. Alien Registration Number (A-Number). Provide the beneficiary's A-Number. The A-Number is the
number used to identify an individual's immigration records. It begins with an "A" and can be found on correspondence
the beneficiary received from the Department of Homeland Security (DHS) or USCIS.
Item Number 6. Place of Birth. Enter the name of the city or town, state or province, and country where the beneficiary
was born. Type or print the name of the country as it was named when the beneficiary was born, even if the country's
name has changed or the country no longer exists.
Item Number 7. Country of Citizenship or Nationality. Provide the name of the country where the beneficiary is a
citizen and/or national. This is not necessarily the country where the beneficiary was born. If the beneficiary does not
have citizenship in any country, type or print "stateless" and provide an explanation in Part 8. Additional Information.
Item Number 8. Marital Status. Select the appropriate box.
Item Numbers 9. - 11. Beneficiary's Physical Address. Provide the physical address where the beneficiary lives.
Item Number 12. Beneficiary's Anticipated Length of Stay. Enter the anticipated start date of the beneficiary's stay in
the United States in Item Number 12. Select the option that matches the anticipated end date of the beneficiary's stay. If
the beneficiary's stay has an end date, you must enter the anticipated end date in mm/dd/yyyy format in the space provided
for that option. If the beneficiary's anticipated stay does not have an end date, select the "No End Date" option.
Item Number 13. Beneficiary's Income. Provide information on any income the beneficiary will receive. If the
beneficiary will not receive any income, then type or print $0 in the table. Do not include any individuals named in Part 3.
Item Numbers 14. - 15. Identify whether any of the beneficiary's total income comes from an illegal activity or source,
such as proceeds from illegal gambling or illegal drug sales or other activities and identify the amount. Do not include
income from illegal gambling or illegal drug sales attributed to any individuals named in Part 3.
Item Number 16. Beneficiary's Assets. Provide information about any assets available to the beneficiary for the
anticipated period of his or her stay. List only assets that can be converted into cash within 12 months and that will be
used to support the beneficiary while the beneficiary is in the United States. Provide the value of all assets listed in U.S.
dollars, regardless of whether the assets are held in the United States or outside of the United States. Do not include
assets from any individuals named in Part 3.
You may include the net value of the beneficiary's home as an asset. The net value of the home is the appraised value of
the home, minus the sum of all loans secured by a mortgage, trust deed, or other lien on the home. If you list the net value
of the beneficiary's home, then you must include documentation demonstrating that the beneficiary owns the home, a
recent appraisal by a licensed appraiser, and evidence of the amount of all loans secured by a mortgage, trust deed, or
other lien on the home.
You may not include the net value of the beneficiary's automobile unless the beneficiary has more than one automobile,
and at least one automobile is not included as an asset. Submit evidence of the value of the assets listed. Evidence must
include the name of the asset holder, a description of the asset, proof of ownership, and the basis for the owner's claim of
its net cash value.


                                                                                                    Haiti AR_001202
Form I-134 Instructions 12/20/22                                                                                 Page 4 of 8
           Case 6:23-cv-00007 Document 93-5 Filed on 03/24/23 in TXSD Page 98 of 199


Part 3. Information About the Individual Agreeing to Financially Support the Beneficiary Named in Part 2.
Item Number 1. Current Legal Name. Provide the full name of the individual who is agreeing to financially the
support the beneficiary named in Part 2. Provide your legal name, as shown on your birth certificate or legal name
change document. If you have two last names, include both and use a hyphen (-) between the names, if appropriate. Type
or print your last, first, and middle names in each appropriate field.
Item Number 8. Alien Registration Number (A-Number). Provide your A-Number. Your A-Number is the number
used to identify your immigration records. It begins with an "A" and can be found on correspondence you have received
from the Department of Homeland Security (DHS) or USCIS.
Item Number 10. Immigration Status. Select the appropriate box for your current immigration status. Provide
evidence of your status. A U.S. citizen or U.S. national may submit a copy of a birth certificate, certificate of
naturalization, certificate of citizenship, consular report of birth abroad to U.S. parents, or a copy of the biographic data
page on your U.S. passport. Proof of lawful permanent resident status includes a photocopy of both sides of the Permanent
Resident Card or Alien Registration Receipt Card (Form I-551), or a photocopy of an unexpired temporary Form I-551
stamp in either a foreign passport or DHS Form I-94 Arrival Departure Record. Proof of lawful nonimmigrant status may
include a copy of an unexpired visa in a foreign passport.
Item Number 17. Assets. Provide information about any assets you will use to support the beneficiary for the
anticipated period of his or her stay. List only assets that can be converted into cash within 12 months and that will be
used to support the beneficiary while the beneficiary is in the United States. Provide the value of all assets listed in U.S.
dollars, regardless of whether they are held in the United States or outside of the United States. Do not include assets
from any individuals named in Part 2.
You may include the net value of a home as an asset. The net value of the home is the appraised value of the home, minus
the sum of all loans secured by a mortgage, trust deed, or other lien on the home. If you include the net value of your
home, then you must include documentation demonstrating that you own the home, a recent appraisal by a licensed
appraiser, and evidence of the amount of all loans secured by a mortgage, trust deed, or other lien on the home.
You may not include the net value of an automobile unless you show that you have more than one automobile, and at least
one automobile is not included as an asset.
Submit evidence of the value of your or your household members' assets. Evidence must include the name of the asset
holder, a description of the asset, proof of ownership, and the basis for the owner's claim of its net cash value.


 Supporting Evidence (for beneficiary and person providing support to beneficiary)

As the beneficiary or the person who agrees to financially support the beneficiary, you must show you have sufficient
income or financial resources to support the beneficiary.
Evidence should consist of copies of any of the documents listed below that apply.
Failure to provide evidence of sufficient income or financial resources may result in the denial of the foreign national's
application for a visa or his or her removal from the United States.
Submit in duplicate evidence of income and resources, as appropriate:
1. Statement from an officer of the bank or other financial institutions with deposits, identifying the following details
   regarding the account:
    A. Date account opened;
    B. Total amount deposited for the past year; and
    C. Present balance.
2. Statement(s) from your employer on business stationery showing:
    A. Date and nature of employment;

                                                                                                    Haiti AR_001203
Form I-134 Instructions 12/20/22                                                                                 Page 5 of 8
           Case 6:23-cv-00007 Document 93-5 Filed on 03/24/23 in TXSD Page 99 of 199


    B. Salary paid; and
    C. Whether the position is temporary or permanent.
1. Copy of last U.S. federal income tax return filed (tax transcript); or
2. List containing serial numbers and denominations of bonds and name of record owner(s).


 What Is the Filing Fee?

There is not filing fee for Form I-134.


 Where to File?

Please see our website at www.uscis.gov/I-134 or visit the USCIS Contact Center at www.uscis.gov/contactcenter to
connect with a USCIS representative for the most current information about where to file this declaration. The USCIS
Contact Center provides information in English and Spanish. For TTY (deaf or hard of hearing) call: 1-800-767-1833.


 Address Change

If you are not a U.S citizen or U.S. national, you must notify USCIS of your new address within 10 days of moving from
your previous residence. For information on filing a change of address, go to the USCIS website at www.uscis.gov/
addresschange or reach out to the USCIS Contact Center at www.uscis.gov/contactcenter for help. The USCIS Contact
Center provides information in English and Spanish. For TTY (deaf or hard of hearing) call: 1-800-767-1833.
NOTE: Do not submit a change of address request to the USCIS Lockbox facilities because the Lockbox does not
process change of address requests.


 Processing Information

Initial Processing. Once USCIS accepts your declaration, we will check it for completeness. If you do not completely
fill out this declaration, you will not establish a basis of support for the beneficiary or for yourself (if you are applying on
your own behalf), and USCIS or the Department of State may reject or deny your declaration.

Requests for More Information. USCIS or Department of State may request that you provide more information or
evidence to support your declaration. We may also request that you provide the originals of any copies you submit. If
USCIS requests an original document from you, it will be returned to you after USCIS determines it no longer needs your
original.

Requests for Interview. We may request that you appear at a USCIS office for an interview based on your declaration.
At the time of any interview or other appearance at a USCIS office, we may require that you provide your biometrics to
verify your identity and/or update background and security checks.

Decision. The decision on Form I-134 involves a determination of whether you have established a basis of support for the
beneficiary seeking an immigration benefit. USCIS will notify you of the decision in writing.




                                                                                                      Haiti AR_001204
Form I-134 Instructions 12/20/22                                                                                   Page 6 of 8
          Case 6:23-cv-00007 Document 93-5 Filed on 03/24/23 in TXSD Page 100 of 199


 USCIS Forms and Instructions

To ensure you are using the latest version of this declaration, visit the USCIS website at www.uscis.gov where you can
obtain the latest USCIS forms and immigration-related information. If you do not have internet access, you may call the
USCIS Contact Center at 1-800-375-5283 and ask that we mail a form to you. The USCIS Contact Center provides
information in English and Spanish. For TTY (deaf or hard of hearing) call: 1-800-767-1833.

Please visit us at www.uscis.gov/contactcenter to get basic information about immigration services and ask questions
about a pending case. Through our digital self-help tools and live assistance, the USCIS Contact Center provides a
pathway for you to get consistent, accurate information and answers to immigration case questions.


 Penalties

If you knowingly and willfully falsify or conceal a material fact or submit a false document with your Form I-134, we will
deny your Form I-134 and may deny any other immigration benefit the beneficiary seeks. In addition, you will face
severe penalties provided by law and may be subject to criminal prosecution.


 DHS Privacy Notice

AUTHORITIES: The information requested on this declaration, and the associated evidence, is collected under the
Immigration and Nationality Act (INA), sections 1101, 1182(a)(4), 1183, 1184(a), and 1258.

PURPOSE: The primary purpose for providing the requested information on this declaration is to show that the applying
immigrant has enough financial support to live without concern of becoming reliant on U.S. Government welfare.

DISCLOSURE: The information you provide is voluntary. However, failure to provide the requested information,
including your Social Security number (if applicable), and any requested evidence, may delay a final decision or result in
denial of your immigration benefit.

ROUTINE USES: DHS may share the information you provide on this declaration and any additional requested
evidence with other Federal, state, local, and foreign government agencies and authorized organizations. DHS follows
approved routine uses described in the associated published system of records notices [DHS/USCIS-001 - Alien File,
Index, and National File Tracking System and DHS/USCIS-007 - Benefits Information System, and DHS/USCIS-018
Immigration Biometric and Background Check.] and the published privacy impact assessments [DHS/USCIS/PIA-016a
Computer Linked Application Information Management System and Associated Systems, DHS/USCIS/PIA-051 Case
and Activity Management for International Operations (CAMINO), and DHS/USCIS/PIA-003 Integrated Digitization
Document Management Program (IDDMP).] which you can find at www.dhs.gov/privacy. DHS may also share this
information, as appropriate, for law enforcement purposes or in the interest of national security.




                                                                                                 Haiti AR_001205
Form I-134 Instructions 12/20/22                                                                              Page 7 of 8
          Case 6:23-cv-00007 Document 93-5 Filed on 03/24/23 in TXSD Page 101 of 199


 Paperwork Reduction Act

An agency may not conduct or sponsor an information collection, and a person is not required to respond to a collection of
information, unless it displays a currently valid Office of Management and Budget (OMB) control number. The public
reporting burden for this collection of information is estimated at 2 hours per response, including the time for reviewing
instructions, gathering the required documentation and information, completing the declaration, preparing statements,
attaching necessary documentation, and submitting the declaration. Send comments regarding this burden estimate or any
other aspect of this collection of information, including suggestions for reducing this burden, to: U.S. Citizenship and
Immigration Services, Office of Policy and Strategy, Regulatory Coordination Division, 5900 Capital Gateway Drive,
Mail Stop #2140, Camp Springs, MD 20588-0009; OMB No. 1615-0014. Do not mail your completed Form I-134 to
this address.




                                                                                                Haiti AR_001206
Form I-134 Instructions 12/20/22                                                                             Page 8 of 8
     Case 6:23-cv-00007 Document 93-5 Filed on 03/24/23 in TXSD Page 102 of 199




                             SUPPORTING STATEMENT FOR
                              Declaration of Financial Support
                               OMB Control No.: 1615-0014
                         COLLECTION INSTRUMENT(S): Form I-134


A. Justification

1.       Explain the circumstances that make the collection of information necessary.
         Identify any legal or administrative requirements that necessitate the collection.
         Attach a copy of the appropriate section of each statute and regulation mandating
         or authorizing the collection of information.

         Certain aliens seeking parole into the United States pursuant to section 212(d)(5) of the
         Immigration and Nationality Act (INA), and B, F, and M nonimmigrants seeking
         extension of stay or change of status under sections 214 and 248 of the INA, must
         demonstrate that they have sufficient financial resources for the duration of their stay.

2.       Indicate how, by whom, and for what purpose the information is to be used. Except
         for a new collection, indicate the actual use the agency has made of the information
         received from the current collection.

         The U.S. Department of Homeland Security (DHS) and consular officers of the
         Department of State (DOS) use both the online and paper versions of Form I-134 to
         determine whether, at the time of the beneficiary’s application, petition, or request for
         certain immigration benefits, that beneficiary has sufficient financial support to pay for
         expenses for the duration of their temporary stay in the United States.

3.       Describe whether, and to what extent, the collection of information involves the use
         of automated, electronic, mechanical, or other technological collection techniques or
         other forms of information technology, e.g., permitting electronic submission of
         responses, and the basis for the decision for adopting this means of collection. Also
         describe any consideration of using information technology to reduce burden.

         This information collection provides the most efficient means for gathering and
         processing information about whether certain noncitizens have financial support to pay
         for expenses that arise during their temporary stay in the United States. Form I-134 is
         available as a fillable PDF on the USCIS website at uscis.gov/i-134. The form can be
         completed electronically, printed, signed, and submitted to U.S. Citizenship and
         Immigration Services (USCIS) by mail. Form I-134 can also be filed with DOS. See
         www.travel.state.gov for more information on filing.


4.       Describe efforts to identify duplication. Show specifically why any similar
         information already available cannot be used or modified for use for the purposes

                                                                                                      1


                                                                                     Haiti AR_001207
     Case 6:23-cv-00007 Document 93-5 Filed on 03/24/23 in TXSD Page 103 of 199




         described in Item 2 above.

         A search of USCIS’ automated forms tracking system revealed no duplication. There is
         no similar data collected.

5.       If the collection of information impacts small businesses or other small entities (Item
         5 of OMB Form 83-I), describe any methods used to minimize burden.

         This collection of information does not have an impact on small businesses or other small
         entities.

6.       Describe the consequence to Federal program or policy activities if the collection is
         not conducted or is conducted less frequently, as well as any technical or legal
         obstacles to reducing burden.

         If the information is not collected, USCIS would not be able to determine whether certain
         noncitizens seeking to come to the United States temporarily have sufficient financial
         support to cover expenses for the duration of their stay in the United States.

7.       Explain any special circumstances that would cause an information collection to be
         conducted in a manner:

         •   Requiring respondents to report information to the agency more often than
             quarterly;

         •   Requiring respondents to prepare a written response to a collection of
             information in fewer than 30 days after receipt of it;

         •   Requiring respondents to submit more than an original and two copies of any
             document;

         •   Requiring respondents to retain records, other than health, medical, government
             contract, grant-in-aid, or tax records for more than three years;

         •   In connection with a statistical survey, that is not designed to produce valid and
             reliable results that can be generalized to the universe of study;

         •   Requiring the use of a statistical data classification that has not been reviewed
             and approved by OMB;

         •   That includes a pledge of confidentiality that is not supported by authority
             established in statute or regulation, that is not supported by disclosure and data
             security policies that are consistent with the pledge, or which unnecessarily
             impedes sharing of data with other agencies for compatible confidential use; or


                                                                                                  2


                                                                                  Haiti AR_001208
     Case 6:23-cv-00007 Document 93-5 Filed on 03/24/23 in TXSD Page 104 of 199




         •   Requiring respondents to submit proprietary trade secret, or other confidential
             information unless the agency can demonstrate that it has instituted procedures
             to protect the information's confidentiality to the extent permitted by law.

         This information collection is conducted in a manner consistent with the guidelines in 5
         CFR 1320.5(d)(2).

8.       If applicable, provide a copy and identify the data and page number of publication
         in the Federal Register of the agency’s notice, required by 5 CFR 1320.8(d),
         soliciting comments on the information collection prior to submission to OMB.
         Summarize public comments received in response to that notice and describe
         actions taken by the agency in response to these comments. Specifically address
         comments received on cost and hour burden.

         Describe efforts to consult with persons outside the agency to obtain their views on
         the availability of data, frequency of collection, the clarity of instructions and
         recordkeeping, disclosure, or reporting format (if any), and on the data elements to
         be recorded, disclosed, or reported.

         Consultation with representatives of those from whom information is to be obtained
         or those who must compile records should occur at least once every 3 years - even if
         the collection of information activity is the same as in prior periods. There may be
         circumstances that may preclude consultation in a specific situation. These
         circumstances should be explained.

         USCIS is seeking emergency approval under 5 CFR 1320.13 and, as such, has not yet
         published a notice in the Federal Register. Public comments will be solicited, and this
         information collection request will go through a normal Paperwork Reduction Act (PRA)
         approval process, including a response to all comments received from the public, no later
         than six months after the approval of this emergency request.

9.       Explain any decision to provide any payment or gift to respondents, other than
         remuneration of contractors or grantees.

         USCIS does not provide any payment for benefit sought.

10.      Describe any assurance of confidentiality provided to respondents and the basis for
         the assurance in statute, regulation or agency policy.

         There is no assurance of confidentiality.

         This collection is covered under the following Privacy Impact Assessments:

             x   DHS/USCIS/PIA-051 - Case and Activity Management for International
                 Operations (CAMINO); and,

                                                                                                    3


                                                                                   Haiti AR_001209
 Case 6:23-cv-00007 Document 93-5 Filed on 03/24/23 in TXSD Page 105 of 199




          x   DHS/USCIS/PIA-003 - Integrated Digitization Document Management Program
              (IDDMP);

      The collection is covered under the following System of Records Notices:
         x DHS/USCIS/ICE/CBP-001 - Alien File, Index, and National File Tracking
             System of Records November 21, 2013, 78 FR 69864;
         x DHS/USCIS-007 - Benefits Information System September 29, 2008, 73 FR
             56596; and
         x DHS/USCIS-018 - Immigration Biometric and Background Check July 31, 2018,
             83 FR 36950.

11.   Provide additional justification for any questions of a sensitive nature, such as
      sexual behavior and attitudes, religious beliefs, and other matters that are
      commonly considered private. This justification should include the reasons why the
      agency considers the questions necessary, the specific uses to be made of the
      information, the explanation to be given to persons from whom the information is
      requested, and any steps to be taken to obtain their consent.

      This information collection contains questions that are of a sensitive nature. Respondents
      must provide information and records about personal income and financial resources.
      This information is necessary to establish that the beneficiary named on Form I-134 has
      sufficient financial resources to pay for expenses during their temporary stay in the
      United States.

12.   Provide estimates of the hour burden of the collection of information. The statement
      should:

      •   Indicate the number of respondents, frequency of response, annual hour burden,
          and an explanation of how the burden was estimated. Unless directed to do so,
          agencies should not conduct special surveys to obtain information on which to
          base hour burden estimates. Consultation with a sample (fewer than 10) of
          potential respondents is desirable. If the hour burden on respondents is expected
          to vary widely because of differences in activity, size, or complexity, show the
          range of estimated hour burden, and explain the reasons for the variance.
          Generally, estimates should not include burden hours for customary and usual
          business practices.

      •   If this request for approval covers more than one form, provide separate hour
          burden estimates for each form and aggregate the hour burdens in Item 13 of
          OMB Form 83-I.

      •   Provide estimates of annualized cost to respondents for the hour burdens for
          collections of information, identifying and using appropriate wage rate
          categories. The cost of contracting out or paying outside parties for information


                                                                                               4


                                                                                Haiti AR_001210
 Case 6:23-cv-00007 Document 93-5 Filed on 03/24/23 in TXSD Page 106 of 199




              collection activities should not be included here. Instead, this cost should be
              included in Item 14.

                                        A              B         C (=AxB)          D         E (=CxD)        F          (=ExF)

                                                     #. of                       Avg.         Total        Avg.           Total
   Type of       Form Name /          #. of       Responses         # of      Burden per     Annual       Hourly        Annual
  Respondent     Form Number       Respondents        per        Responses    Response      Burden (in    Wage         Respondent
                                                  Respondent                  (in hours)     hours)       Rate*           Cost

                 Declaration of
  Individuals
                   Financial
      and                             2,500            1           2,500           2           5,000      $40.89        $204,450
                 Support, Form
  Households
                 I-134 (paper)
      Total                                                       2,500**                      5,000                    $204,450

        * The above Average Hourly Wage Rate is the May 2021 Bureau of Labor Statistics average wage for All
        Occupations of $28.01 times the wage rate benefit multiplier of 1.46 (to account for benefits provided)
        equaling $40.89. The selection of “All Occupations” was chosen because respondents to this collection could
        be expected from any occupation.
        ** The estimated number of respondents includes receipts of Form I-134 by both USCIS and Department of
        State.

13.     Provide an estimate of the total annual cost burden to respondents or record
        keepers resulting from the collection of information. (Do not include the cost of any
        hour burden shown in Items 12 and 14).

        •     The cost estimate should be split into two components: (a) a total capital and
              start-up cost component (annualized over its expected useful life); and (b) a total
              operation and maintenance and purchase of services component. The estimates
              should take into account costs associated with generating, maintaining, and
              disclosing or providing the information. Include descriptions of methods used to
              estimate major cost factors including system and technology acquisition,
              expected useful life of capital equipment, the discount rate(s), and the time
              period over which costs will be incurred. Capital and start-up costs include,
              among other items, preparations for collecting information such as purchasing
              computers and software; monitoring, sampling, drilling and testing equipment;
              and record storage facilities.

        •     If cost estimates are expected to vary widely, agencies should present ranges of
              cost burdens and explain the reasons for the variance. The cost of purchasing or
              contracting out information collection services should be a part of this cost
              burden estimate. In developing cost burden estimates, agencies may consult with
              a sample of respondents (fewer than 10), utilize the 60-day pre-OMB submission
              public comment process and use existing economic or regulatory impact analysis
              associated with the rulemaking containing the information collection, as
              appropriate.

                                                                                                                   5


                                                                                                Haiti AR_001211
 Case 6:23-cv-00007 Document 93-5 Filed on 03/24/23 in TXSD Page 107 of 199




      •   Generally, estimates should not include purchases of equipment or services, or
          portions thereof, made: (1) prior to October 1, 1995; (2) to achieve regulatory
          compliance with requirements not associated with the information collection;
          (3) for reasons other than to provide information or keep records for the
          government; or, (4) as part of customary and usual business or private practices.

      There are no capital, start-up, operational or maintenance costs associated with this
      collection of information. There is no fee cost to respondents for filing these requests.
      USCIS, however, estimates that respondents will incur an estimated cost of $4.25 average
      postage cost for each respondent to submit the completed I-134 (paper) package to
      USCIS.

      Postage to mail completed package (2,500 x $4.25 average postage) = $10,625 (total
      annual cost burden to respondents).

14.   Provide estimates of annualized cost to the Federal government. Also, provide a
      description of the method used to estimate cost, which should include quantification
      of hours, operational expenses (such as equipment, overhead, printing, and support
      staff), and any other expense that would not have been incurred without this
      collection of information. Agencies also may aggregate cost estimates from Items 12,
      13, and 14 in a single table.

      USCIS establishes its fees using an activity-based costing model to assign costs to an
      adjudication based on its relative adjudication burden and use of USCIS resources. Fees
      are established at an amount that is necessary to recover these assigned costs, plus an
      amount to recover unassigned overhead (which includes the suggested average hourly
      rate for clerical, officer, and managerial time with benefits) and immigration benefits
      provided for free. USCIS uses the fee associated with an information collection as a
      reasonable measure of the collection’s costs to USCIS, since these fees are based on
      resource expenditures related to the benefit in question. In addition, this figure includes
      the estimated overhead cost for printing, stocking, distributing and processing of this
      form.

      The estimated cost to the Government is $161,625. This figure is calculated by
      multiplying the estimated number of respondents (2,500) by the time required to
      adjudicate the form (1 hour), which is multiplied by the average hourly rate of USCIS
      adjudicators ($64.65), for a total of $161,625.

15.   Explain the reasons for any program changes or adjustments reporting in Items 13
      or 14 of the OMB Form 83-I.

      USCIS is uniquely revising this information collection to remove the online Form I-134
      collection instrument burden. The online collection of information contains unique data
      elements for a specific population of filers, not applicable to all I-134 filers. That data

                                                                                                    6


                                                                                  Haiti AR_001212
 Case 6:23-cv-00007 Document 93-5 Filed on 03/24/23 in TXSD Page 108 of 199




        collection and respondent population is being submitted under its own information
        collection.



                       Program
                                                                                      Adjustment
  Data collection       Change                                   Adjustment
                                 Program                                                (New)
  Activity/Instru-      (hours                                 (hours currently
                                 Change Difference                                                    Difference
       ment            currently                                   on OMB
                                  (New)                                               [new minus
    (in hours)         on OMB                                     Inventory)
                                                                                        current]
                      Inventory)
      Form I-134
                         5,000        5,000           0
        (paper)
      Form I-134
                       251,983           0        -251,983
       (online)
       Total(s)        256,983        5,000       -251,983

        USCIS is reporting a decrease of 251,983 hours in the estimated annual hour burden to
        respondents for this collection of information. This decrease is the result of establishing
        an separate information collect with unique data elements for a specific population of
        respondents who can file the information collection online.

        USCIS is reporting no change in the estimated annual cost burden to respondents for this
        collection of information. The cost captured is representative of respondents that will be
        mailing paper forms to file the information collection.

16.     For collections of information whose results will be published, outline plans for
        tabulation, and publication. Address any complex analytical techniques that will be
        used. Provide the time schedule for the entire project, including beginning and
        ending dates of the collection of information, completion of report, publication
        dates, and other actions.

        This information collection will not be published for statistical purposes.

17.     If seeking approval to not display the expiration date for OMB approval of the
        information collection, explain the reasons that display would be inappropriate.

        USCIS will display the expiration date for OMB approval of this information collection.

18.     Explain each exception to the certification statement identified in Item 19,
        “Certification for Paperwork Reduction Act Submission,” of OMB 83-I.

        USCIS does not request an exception to the certification of this information collection.



                                                                                                      7


                                                                                      Haiti AR_001213
 Case 6:23-cv-00007 Document 93-5 Filed on 03/24/23 in TXSD Page 109 of 199




B. Collections of Information Employing Statistical Methods.

      There is no statistical methodology involved with this collection.




                                                                                        8


                                                                           Haiti AR_001214
           Case 6:23-cv-00007 Document 93-5 Filed on 03/24/23 in TXSD Page 110 of 199
                                        Online Request to be a Supporter and
                                         Declaration of Financial Support
                                                                                                                            USCIS
                                                   Department of Homeland Security
                                                                                                                          Form I-134A
                                                 U.S. Citizenship and Immigration Services


Ź START HERE - Type or print in black ink.
Part 1. Basis for Filing
1.    I am filing this form on behalf of:            Myself as the beneficiary.           Another individual who is the beneficiary.

2.    I am filing this form under one of the following:




            SA M P LE
Part 2. Information about the Beneficiary
Complete Part 2. regardless of whether you are filing this form on behalf of yourself as the beneficiary or on behalf of another
individual who is the beneficiary.
1.    Beneficiary's Current Legal Name (Do not provide a nickname.)
      Family Name (Last Name)                                   Given Name (First Name)                    Middle Name


2.    Other Names Used
      Provide all other names the beneficiary has ever used, including aliases, maiden name, and nicknames. If you need extra space
      to complete this section, use the space provided in Part 8. Additional Information.
      Family Name (Last Name)                                   Given Name (First Name)                    Middle Name




3.


6.
              DO
      Date of Birth (mm/dd/yyyy)


      Place of Birth
                                            4.      Sex
                                                          M      F     NOT
                                                                         X
                                                                                            5.    Alien Registration Number (A-Number)
                                                                                                  Ź A-


      City or Town                                                           State or Province


      Country


7.    Country of Citizenship or Nationality


8.

              SUBMIT
      Passport Number of the beneficiary's most recently issued passport


      Country that issued the most recently issued passport                       Expiration date for the most recently issued passport
                                                                                  (mm/dd/yyyy)

9.   Marital Status
         Single, Never Married          Married           Divorced           Widowed         Legally Separated        Marriage Annulled

         Other (Explain):




Form I-134A Edition 01/04/23                                                                                     Haiti AR_001215
                                                                                                                              Page 1 of 14
           Case 6:23-cv-00007 Document 93-5 Filed on 03/24/23 in TXSD Page 111 of 199


Part 2. Information about the Beneficiary (continued)
10.   Beneficiary's Mailing Address
      In Care Of Name


      Street Number and Name                                                                    Apt.Ste. Flr. Number


      City or Town                                                                              State         ZIP Code


      Province                                     Postal Code                Country


11.

            SA M P LE
      Are the beneficiary's mailing address and physical address the same?
If you answered “No” to Item Number 11., provide your physical address in Item Number 12.
12.   Beneficiary's Physical Address
      In Care Of Name
                                                                                                                       Yes    No




      Street Number and Name (Do not provide a PO Box in this space unless it is your ONLY address.) Apt. Ste. Flr. Number


      City or Town                                                                              State            ZIP Code




              DO                                                      NOT
      Province                                     Postal Code                Country


13.   Beneficiary's Daytime Telephone Number                          14.    Beneficiary's Mobile Telephone Number (if any)


15.   Beneficiary's Email Address (if any)



Beneficiary's Anticipated Length of Stay
16.   Beneficiary's Anticipated Period of Stay in the United States




              SUBMIT
      From (mm/dd/yyyy)

      To (select one):

          (mm/dd/yyyy)

          No End Date




Form I-134A Edition 01/04/23                                                                             Haiti AR_001216
                                                                                                                      Page 2 of 14
           Case 6:23-cv-00007 Document 93-5 Filed on 03/24/23 in TXSD Page 112 of 199


Part 2. Information about the Beneficiary (continued)

Beneficiary's Financial Information
Provide information about the beneficiary's income and assets. If you need additional space to complete any Item Number in this
section, use the space provided in Part 8. Additional Information.
Beneficiary's Income
17.   Provide all of the information requested in the table below about the beneficiary, all of the beneficiary's dependents, and any
      other individuals the beneficiary financially supports (do not include any individuals named in Part 3.). Information about
      assets that are not based on employment should be added in Item Number 22. and not in Item Number 17.

                  Individual's Full Name               Date of Birth   Relationship to the Beneficiary
                                                                                                                Income contribution




            SA M P LE
         (First, Middle, Last) (do not include any     (mm/dd/yyyy) (Type or print “Self” if you are filing for
                                                                                                                 to the beneficiary
               individuals named in Part 3.)                             yourself as the beneficiary or
                                                                                                                  annually (if none,
                                                                     “Beneficiary” if someone is agreeing to
                                                                                                                   type or print $0)
                                                                            support you in Part 3.)

                                                                                                                  $


                                                                                                                  $


                                                                                                                  $


                                                                                                                  $




              DO                                                    NOT
                                                                                                                  $

                                                                                     Total Number of Dependents
                                                                                                     Total Income $

18.   Does any of the beneficiary's total income (including income from dependents and other                             Yes       No
      individuals who contribute to the beneficiary's income, excluding any individuals named in Part 3.)
      come from an illegal activity or source (such as proceeds from illegal gambling or illegal drug
      sales)?
19.   If you answered “Yes” to Item Number 18., what amount of the beneficiary's total income comes     $
      from an illegal activity or source? (Type or print “N/A” if you answered “No” to Item Number 18.)
20.   Does any of the beneficiary's total income come from means-tested public benefits as defined in                    Yes       No




              SUBMIT
      8 CFR 213a.1?
21.   If you answered “Yes” to Item Number 20., what amount of the beneficiary's total income               $
      comes from means-tested public benefits?




Form I-134A Edition 01/04/23                                                                                 Haiti AR_001217
                                                                                                                          Page 3 of 14
           Case 6:23-cv-00007 Document 93-5 Filed on 03/24/23 in TXSD Page 113 of 199


Part 2. Information about the Beneficiary (continued)
Beneficiary's Assets
22.   In the table below, provide the amounts of assets available to the beneficiary for the expected period of his or her stay
      (excluding assets from any individuals named in Part 3.). Attach evidence showing that the beneficiary has these assets.

                 Full Name of Asset Holder                                     Type of Asset                       Amount (Cash Value)
                     (First, Middle, Last)                                                                            (U.S. dollars)




            SA M P LE                                                                    TOTAL (U.S. dollars) $


Part 3. Information About the Individual Agreeing to Financially Support the Beneficiary Named in
Part 2.
If you are not the beneficiary named in Part 2., complete Part 3.
1.    Current Legal Name (Do not provide a nickname.)




              DO                                                    NOT
      Family Name (Last Name)                                Given Name (First Name)                    Middle Name


2.    Other Names Used
      Provide all other names you have ever used, including aliases, maiden name, and nicknames. If you need extra space to
      complete this section, use the space provided in Part 8. Additional Information.
      Family Name (Last Name)                                Given Name (First Name)                    Middle Name




3.    Provide the name of the organization, group, or entity that is providing support to the beneficiary with you (if any).
      Organization, Group, Entity Name


4.

              SUBMIT
      Current Mailing Address
      In Care Of Name


      Street Number and Name                                                                       Apt. Ste. Flr. Number


      City or Town                                                                                 State          ZIP Code


      Province                                      Postal Code                Country



Form I-134A Edition 01/04/23                                                                                 Haiti AR_001218
                                                                                                                          Page 4 of 14
           Case 6:23-cv-00007 Document 93-5 Filed on 03/24/23 in TXSD Page 114 of 199


Part 3. Information About the Individual Agreeing to Financially Support the Beneficiary Named in
Part 2. (continued)
5.    Is your current mailing address the same as your current physical address?                                   Yes      No
      If you answered “No” to Item Number 5., provide your current physical address in Item Numbers 6.
6.    Physical Address
      In Care Of Name


      Street Number and Name                                                                    Apt. Ste. Flr. Number




           SA M P LE
      City or Town                                                                              State        ZIP Code


      Province                                    Postal Code                  Country



Other Information
7.    Date of Birth (mm/dd/yyyy)                                          8.       Sex     M       F     X

9.    Place of Birth
      City or Town                                                     State or Province




              DO                                                  NOT
      Country


10.   Alien Registration Number (A-Number)        11.   USCIS Online Account Number
      Ź A-                                              Ź

12.   Social Security Number                      13.   What is your relationship to the beneficiary?
          Ź


Immigration Status
14.   What is your current immigration status? Provide documentation as provided in the instructions.




              SUBMIT
         U.S. Citizen
         U.S. National
         Lawful Permanent Resident
         Nonimmigrant Form I-94 Arrival-Departure Record Number
                      Ź

      Other (Explain):




Form I-134A Edition 01/04/23                                                                            Haiti AR_001219
                                                                                                                     Page 5 of 14
             Case 6:23-cv-00007 Document 93-5 Filed on 03/24/23 in TXSD Page 115 of 199


Part 3. Information About the Individual Agreeing to Financially Support the Beneficiary Named in
Part 2. (continued)

Employment Information
15.   Employment Status
           Employed (full-time, part-time, seasonal, self-employed)       Unemployed or Not Employed          Retired

           Other (Explain):

If you indicated that you are employed in Item Number 15., provide the information requested in Item Numbers 16. - 17.

16.   A.          I am currently employed as a/an                          Name of Employer




17.
      B.
             SA M P LE
                  I am currently self-employed as a/an


      Current Employer's Address
      Street Number and Name                                                                      Apt. Ste. Flr. Number


      City or Town                                                                                State          ZIP Code


      Province                                         Postal Code             Country




                DO
Financial Information
                                                                      NOT
Provide information about your income and assets. If you need additional space to complete any Item Number in this section, use the
space provided in Part 8. Additional Information.
Income
18.   Provide all of the information requested in the table below about yourself, all of your dependents, and any other individuals you
      financially support (do not include any individuals named in Part 2.). Information about assets that are not based on
      employment should be added in Item Number 23. and not in Item Number 18.

                          Full Name                       Date of Birth Relationship to the Individual Agreeing      Income
           (First, Middle, Last) (do not include any      (mm/dd/yyyy)   to Financially Support (Type or print Contribution to the




               SUBMIT
                 individuals named in Part 2.)                              “Self” for Individual Agreeing to      Beneficiary
                                                                                                                Annually (if none,
                                                                          Financially Support the Beneficiary)
                                                                                                                 type or print $0)
                                                                                                                   $
                                                                                                                   $
                                                                                                                   $
                                                                                                                   $
                                                                                                                   $
                                                                                      Total Number of Dependents
                                                                                                    Total Income $




Form I-134A Edition 01/04/23                                                                               Haiti AR_001220
                                                                                                                        Page 6 of 14
           Case 6:23-cv-00007 Document 93-5 Filed on 03/24/23 in TXSD Page 116 of 199


Part 3. Information About the Individual Agreeing to Financially Support the Beneficiary Named in
Part 2. (continued)
19.   Does any of the income listed above come from an illegal activity or source (such as proceeds from                Yes        No
      illegal gambling or illegal drug sales)?
20.   If you answered “Yes” to Item Number 19., what amount of income comes from an illegal activity? $
      (Type or print “N/A” if you answered “No” to Item Number 19.)
21.   Does any of the income listed above come from means-tested public benefits as defined in 8 CFR                    Yes        No
      213a.1?
22.   If you answered “Yes” to Item Number 21., what amount of income is from means-tested                  $
      public benefits?




           SA M P LE
Assets
23.   Fill out the table below regarding the assets available to you (do not include any assets from any individuals named in Part 2.).
      Attach evidence showing you have these assets.

                   Full Name of Asset Holder                                  Type of Asset                       Amount (Cash Value)
                 (you or your household member)                                                                      (U.S. dollars)




              DO
Financial Responsibility for Other Beneficiaries
                                                                    NOT                TOTAL (U.S. dollars) $




24.   Have you previously submitted a Form I-134A on behalf of a person other than the beneficiary                      Yes        No
      named in Part 2?
If you answered “Yes” to Item Number 24., provide the information requested in Item Numbers 25. - 26. If you need additional
space to complete this section, use the space provided in Part 8. Additional Information.
25.   Person 1




             SUBMIT
      Family Name (Last Name)                               Given Name (First Name)                    Middle Name


      A-Number                                  Date Submitted (mm/dd/yyyy)
      Ź A-

26.   Person 2
      Family Name (Last Name)                               Given Name (First Name)                    Middle Name


      A-Number                                  Date Submitted (mm/dd/yyyy)
      Ź A-




Form I-134A Edition 01/04/23                                                                                Haiti AR_001221
                                                                                                                         Page 7 of 14
           Case 6:23-cv-00007 Document 93-5 Filed on 03/24/23 in TXSD Page 117 of 199


Part 3. Information About the Individual Agreeing to Financially Support the Beneficiary Named in
Part 2. (continued)

Intent to Provide Specific Contributions to the Beneficiary
27.   You are responsible for receiving, maintaining, and supporting the beneficiary for the duration of their temporary stay in the
      United States. Describe the resources you plan to use or provide to ensure the beneficiary has adequate financial support to
      cover their basic living needs.




28.         SA M P LE
      You are responsible for ensuring that the beneficiary has safe and appropriate housing for the duration of their parole in the
      United States. Describe how you will ensure that the beneficiary's housing needs are met, including where the beneficiary will
      reside during their temporary stay in the United States, if known.




              DO                                                    NOT
29.   You are responsible for assisting the beneficiary's access to available services and benefits such as learning English, securing
      employment opportunities once authorized to work, enrolling children in school, and helping to enroll for benefits for which
      they are eligible. Describe what steps you plan to take as part of these responsibilities.




              SUBMIT

Form I-134A Edition 01/04/23                                                                                 Haiti AR_001222
                                                                                                                          Page 8 of 14
           Case 6:23-cv-00007 Document 93-5 Filed on 03/24/23 in TXSD Page 118 of 199


Part 4. Statement, Contact Information, Certification, and Signature of the Beneficiary (Only complete
this section if Part 1. Basis for Filing selection is "Myself as the beneficiary", otherwise continued to Part
5.)
If you are the beneficiary and are filing Form I-134A on your own behalf, complete and sign Part 4.
NOTE: Read the Penalties section of the Form I-134A Instructions before completing this section.

Beneficiary's Statement
NOTE: Select the box for either Item A. or B. in Item Number 1. If applicable, select the box for Item Number 2.
1.    I, as the beneficiary, certify the following:
      A.       I can read and understand English, and I have read and understand every question and instruction on this declaration




            SA M P LE
               and my answer to every question.
      B.       The interpreter named in Part 6. read to me every question and instruction on this declaration and my answer to every
               question in                                                      , a language in which I am fluent and I understood
               everything.

2.         At my request, the preparer named in Part 7.,                                                                          , prepared
           this declaration for me based only upon information I provided or authorized.


Beneficiary's Certification
Copies of any documents I have submitted are exact photocopies of unaltered, original documents, and I understand that USCIS or the
Department of State may require that I submit original documents to USCIS or the Department of State at a later date. Furthermore, I
authorize the release of any information from any and all of my records that USCIS or the Department of State may need to determine




              DO                                                      NOT
my eligibility for the immigration benefit I seek.
I further authorize release of information contained in this declaration, in supporting documents, and in my USCIS or the Department
of State records to other entities and persons where necessary for the administration and enforcement of U.S. immigration laws.
I understand that USCIS may require me to appear for an appointment to take my biometrics (fingerprints, photograph, and/or
signature) and, at that time, if I am required to provide biometrics, I will be required to sign an oath reaffirming that:
      1) I reviewed and provided or authorized all of the information in my declaration;
      2) I understood all of the information contained in, and submitted with, my declaration; and
      3) All of this information was complete, true, and correct at the time of filing.
I certify, under penalty of perjury, that I provided or authorized all of the information in my declaration, I understand all of the
information contained in, and submitted with, my declaration, and that all of this information is complete, true, and correct.
That this declaration is made by me to assure the U.S. Government that I will be able to financially support myself while in the United




              SUBMIT
States.
That I am willing and able to pay for necessary expenses for the duration of my temporary stay in the United States.

Beneficiary's Signature
3.    Beneficiary's Signature                                                                             Date of Signature (mm/dd/yyyy)




Form I-134A Edition 01/04/23                                                                                   Haiti AR_001223
                                                                                                                            Page 9 of 14
           Case 6:23-cv-00007 Document 93-5 Filed on 03/24/23 in TXSD Page 119 of 199


Part 5. Statement, Contact Information, Certification, and Signature of the Individual Agreeing to
Financially Support the Beneficiary
If you are filing Form I-134A on behalf of someone else (the beneficiary listed in Part 2.), complete and sign Part 5.
NOTE: Read the Penalties section of the Form I-134A Instructions before completing this section.

Statement of Individual Agreeing to Financially Support the Beneficiary
NOTE: Select the box for either Item A. or B. in Item Number 1. If applicable, select the box for Item Number 2.
1.   I, as the individual agreeing to financially support the beneficiary, certify the following:
     A.        I can read and understand English, and I have read and understand every question and instruction on this declaration
               and my answer to every question.




           SA M P LE
     B.        The interpreter named in Part 6. read to me every question and instruction on this declaration and my answer to every
               question in                                                      , a language in which I am fluent and I understood.

2.        At my request, the preparer named in Part 7.,                                                                  , prepared this
          declaration for me based only upon information I provided or authorized.

Contact Information of Individual Agreeing to Financially Support the Beneficiary
3.   Daytime Telephone Number                                           4.    Mobile Telephone Number (if any)


5.   Email Address (if any)




              DO                                                     NOT
Certification of Individual Agreeing to Financially Support the Beneficiary
Copies of any documents I have submitted are exact photocopies of unaltered, original documents, and I understand that USCIS or the
Department of State may require that I submit original documents to USCIS or the Department of State at a later date. Furthermore, I
authorize the release of any information from any and all of my records that USCIS or the Department of State may need to determine
my eligibility for the immigration benefit I seek.
I further authorize release of information contained in this declaration, in supporting documents, and in my USCIS or the Department
of State records, to other entities and persons where necessary for the administration and enforcement of U.S. immigration law.
I understand that USCIS may require me to appear for an appointment to take my biometrics (fingerprints, photograph, and/or
signature) and, at that time, if I am required to provide biometrics, I will be required to sign an oath reaffirming that:
     1) I reviewed and provided or authorized all of the information in my declaration;




             SUBMIT
     2) I understood all of the information contained in, and submitted with, my declaration; and
     3) All of this information was complete, true, and correct at the time of filing.




Form I-134A Edition 01/04/23                                                                               Haiti AR_001224
                                                                                                                        Page 10 of 14
           Case 6:23-cv-00007 Document 93-5 Filed on 03/24/23 in TXSD Page 120 of 199


Part 5. Statement, Contact Information, Certification, and Signature of the Individual Agreeing to
Financially Support the Beneficiary (continued)
I certify, under penalty of perjury, that I provided or authorized all of the information in my declaration, I understand all of the
information contained in, and submitted with, my declaration, and that all of this information is complete, true, and correct.
That this declaration is made by me to assure the U.S. Government that the person named in Part 2. will be financially supported
while in the United States.
That I am willing and able to receive, maintain, and support the person named in Part 2. to better ensure that such persons will have
sufficient financial resources or financial support to pay for necessary expenses for the period of his or her temporary stay in the
United States.
I acknowledge that I have read this section, and I am aware of my responsibilities as an individual agreeing to financially support the
beneficiary.




            SA M P LE
Signature of Individual Agreeing to Financially Support the Beneficiary
6.    Signature


NOTE TO ALL INDIVIDUALS AGREEING TO FINANCIALLY SUPPORT THE BENEFICIARY: If you do not completely
                                                                                                          Date of Signature (mm/dd/yyyy)




fill out this declaration or if you fail to submit required documents listed in the Instructions, USCIS or the Department of State may
deny or not consider your declaration.


Part 6. Interpreter's Contact Information, Certification, and Signature
Provide the following information about the interpreter.




2.
              DO
Interpreter's Full Name
1.    Interpreter's Family Name (Last Name)


      Interpreter's Business or Organization Name (if any)
                                                                      NOT  Interpreter's Given Name (First Name)




Interpreter's Mailing Address
3.    Street Number and Name                                                                         Apt. Ste. Flr. Number




              SUBMIT
      City or Town                                                                                   State           ZIP Code


      Province                                       Postal Code                 Country



Interpreter's Contact Information
4.    Interpreter's Daytime Telephone Number                             5.    Interpreter's Mobile Telephone Number (if any)


6.    Interpreter's Email Address (if any)




Form I-134A Edition 01/04/23                                                                                   Haiti AR_001225
                                                                                                                            Page 11 of 14
            Case 6:23-cv-00007 Document 93-5 Filed on 03/24/23 in TXSD Page 121 of 199


Part 6. Interpreter's Contact Information, Certification, and Signature (continued)

Interpreter's Certification
I certify, under penalty of perjury, that:

I am fluent in English and                                                              which is the same language specified in Part 4.
or in Part 5., Item B. in Item Number 1., and I have read to this individual agreeing to financially support the beneficiary in the
identified language every question and instruction on this declaration and his or her answer to every question. The individual agreeing
to financially support the beneficiary informed me that he or she understands every instruction, question, and answer on the
declaration, including the Certification of the Individual Agreeing to Financially Support the Beneficiary, and has verified the
accuracy of every answer.




            SA M P LE
Interpreter's Signature
7.    Interpreter's Signature                                                                         Date of Signature (mm/dd/yyyy)




Part 7. Contact Information, Declaration, and Signature of the Person Preparing this Declaration, if
Other Than the Individual Agreeing to Financially Support the Beneficiary
Provide the following information about the preparer.

Preparer's Full Name
1.    Preparer's Family Name (Last Name)                                Preparer's Given Name (First Name)


2.


               DO
      Preparer's Business or Organization Name (if any)



Preparer's Mailing Address
3.    Street Number and Name
                                                                   NOT                           Apt. Ste. Flr. Number


      City or Town                                                                               State          ZIP Code


      Province                                     Postal Code                Country




4.


6.
              SUBMIT
Preparer's Contact Information
      Preparer's Daytime Telephone Number


      Preparer's Email Address (if any)
                                                                      5.    Preparer's Mobile Telephone Number




Form I-134A Edition 01/04/23                                                                               Haiti AR_001226
                                                                                                                        Page 12 of 14
           Case 6:23-cv-00007 Document 93-5 Filed on 03/24/23 in TXSD Page 122 of 199


Part 7. Contact Information, Declaration, and Signature of the Person Preparing this Declaration, if
Other Than the Individual Agreeing to Financially Support the Beneficiary (continued)

Preparer's Statement
7.    A.       I am not an attorney or accredited representative but have prepared this declaration on behalf of the individual agreeing
               to financially support the beneficiary (which is the beneficiary if filing on behalf of him or herself) and with that
               individual's consent.
      B.       I am an attorney or accredited representative and my representation of the individual agreeing to financially support the
               beneficiary (which is the beneficiary if filing on behalf of him or herself) in this case extends      does not extend
               beyond the preparation of this declaration.

NOTE: If you are an attorney or accredited representative, you may need to submit a completed Form G-28, Notice of Entry of




            SA M P LE
Appearance as Attorney or Accredited Representative, with this application.

Preparer's Certification
By my signature, I certify, under penalty of perjury, that I prepared this declaration at the request of the individual agreeing to
financially support the beneficiary (which is the beneficiary if filing on behalf of him or herself). The individual agreeing to
financially support the beneficiary (which is the beneficiary if filing on behalf of him or herself) then reviewed this completed
declaration and informed me that he or she understands all of the information contained in, and submitted with, his or her declaration,
including the Certification of the Individual Agreeing to Financially Support the Beneficiary, and that all of this information is
complete, true, and correct. I completed this declaration based only on information that the individual agreeing to financially support
the beneficiary provided to me or authorized me to obtain or use.

Preparer's Signature




              DO                                                   NOT
8.    Preparer's Signature                                                                             Date of Signature (mm/dd/yyyy)




              SUBMIT

Form I-134A Edition 01/04/23                                                                                Haiti AR_001227
                                                                                                                         Page 13 of 14
           Case 6:23-cv-00007 Document 93-5 Filed on 03/24/23 in TXSD Page 123 of 199


Part 8. Additional Information
If you need extra space to provide any additional information within this declaration, use the space below. If you need more space
than what is provided, you may make copies of this page to complete and file with this declaration or attach a separate sheet of paper.
Type or print your name and A-Number at the top of each sheet; indicate the Page Number, Part Number, and Item Number to
which your answer refers; and sign and date each sheet.
1.    Family Name (Last Name)                      Given Name (First Name)                      Middle Name



2.    A-Number            Ź A-

3.    A.    Page Number     B.    Part Number      C.    Item Number


      D.

           SA M P LE
4.    A.    Page Number     B.    Part Number      C.    Item Number


      D.




5.    A.
              DO
            Page Number     B.    Part Number      C.
                                                                   NOT
                                                         Item Number


      D.




6.    A.     SUBMIT
            Page Number     B.    Part Number      C.    Item Number


      D.




Form I-134A Edition 01/04/23                                                                                Haiti AR_001228
                                                                                                                         Page 14 of 14
    Case 6:23-cv-00007 Document 93-5 Filed on 03/24/23 in TXSD Page 124 of 199

                                                                                          1300 Pennsylvania Avenue, NW
                                                                                          Washington, DC 20229




December 14, 2

TO:              Dominic Mancini, Deputy Administrator
                 Office of Information and Regulatory Affairs
                 Office of Management and Budget

THROUGH: Eric Hysen                      ELIZABETH Digitally signed by
                                                    ELIZABETH A CAPPELLO
         Chief Information Officer       A CAPPELLO -05'00'
                                                    Date: 2022.12.15 17:57:24


         Department of Homeland Security
                                          MATTHEW Digitally signed by
                                                   MATTHEW S DAVIES

FROM:            Matthew S. Davies        S DAVIES 15:10:52 -05'00'
                                                   Date: 2022.12.14



                 Executive Director, Admissibility & Passenger Programs
                 U.S. Customs and Border Protection

SUBJECT:         Emergency Approval Request for Advance Travel Authorization Capability under
                 the Paperwork Reduction Act

This memorandum requests an emergency approval to revise the existing collection of
information under the Paperwork Reduction Act (PRA) for U.S. Customs and Border
Protection’s (CBP) Advance Travel Authorization (ATA) capability to collect certain
information, including photographs, in advance of travel. This information collection was
approved on an emergency basis on October 18, 2022 under Office of Management and Budget
(OMB) Control Number 1651-0143. This information collection was approved for use by
certain undocumented noncitizens from Venezuela. At the direction of the Department of
Homeland Security (DHS), CBP plans to expand this to include certain undocumented
noncitizens from Nicaragua, Cuba, and Haiti, and to remove the previously approved numerical
cap for noncitizens from Venezuela. CBP currently collects photographs of individuals from
these four countries as part of the inspection process at the time of encounter.

DHS is working with its interagency partners to allow certain noncitizens from Venezuela,
Nicaragua, Cuba, and Haiti, and their qualifying immediate family members1, to submit
information through the recently developed CBP ATA capability within the CBP One™
application as part of the process to request an advance authorization to travel to the United
States to seek a discretionary grant of parole. There is no numerical cap on the number of
noncitizens from these four countries who may apply. Implementation of ATA requires the

1
 Immediate family members include spouse and unmarried children under the age of 21. Eligible family members
must travel with the principal noncitizen to be processed under an ATA program upon arrival in the United States.
Unaccompanied children are not eligible for this process.



                                                                                                Haiti AR_001229
  Case 6:23-cv-00007 Document 93-5 Filed on 03/24/23 in TXSD Page 125 of 199




collection of a facial photograph via CBP One™. Participation will be limited to those
individuals who meet certain DHS established criteria, including possession of a valid, unexpired
passport, as well as having an approved U.S.-based supporter. Pending OMB approval, this
functionality may launch as early as December 20, 2022.

It is expected that DHS will establish eligibility criteria to identify individuals from certain
countries, as identified by the Secretary of DHS, who are able to request advance authorization
to travel to the United States to seek a discretionary grant of parole, on a case-by-case basis. It is
expected that the identified eligible population includes nationals of countries suffering under
repressive authoritarian regimes that are experiencing significant political, economic, and
humanitarian crises. Additionally, the United States is currently encountering a large number of
undocumented noncitizens at the Southwest Border (SWB) of the United States where, despite
surging resources and personnel, CBP is facing significant and unprecedented challenges
processing such individuals in a timely manner.

CBP’s Office of Field Operations (OFO) developed the ATA capability, a new functionality in
CBP One™, which collects a facial photograph and biographic information from a noncitizen
who is submitting information to request an advance authorization to travel to the United States
to seek a discretionary grant of parole on a case-by-case basis.

The facial photograph collected from the noncitizens will be linked to biographic information
provided by the individual to U.S. Citizenship and Immigration Services (USCIS). CBP will
conduct vetting of noncitizens using the biographic information provided to CBP by USCIS and
the facial photograph collected by CBP via CBP One™. This information collection will
facilitate the vetting of noncitizens seeking to obtain advance authorization to travel and give air
carriers that participate in CBP’s document validation program the ability to validate an
approved travel authorization, facilitating generation of a noncitizen’s boarding pass without
having to use other manual validation processes.

CBP One™ allows the user to capture their image and confirm submission after viewing the
captured image. If the user is not satisfied with the image captured, the user can retake the
image. A user can retake the image up to three times. If after three attempts CBP One™ cannot
successfully capture the user’s image, CBP One™ will provide the user an error message
notifying them that their submission was unable to be completed and that they can access the
capability and try again. If the user continues to experience technical difficulties, the CBP
One™ application provides a help desk email to provide assistance. In the event that the user is
not authorized to travel under this process, they may still seek entry through another process,
including by filing a request for consideration of parole with USCIS or applying with the
Department of State (DOS) to obtain a visa.

Once submitted, CBP will vet available biographic information and the facial photograph against
selected security and law enforcement databases at DHS and other federal agencies, for national
security, border security, public health, and safety. DHS will limit use and sharing of the



                                                                                     Haiti AR_001230
  Case 6:23-cv-00007 Document 93-5 Filed on 03/24/23 in TXSD Page 126 of 199




photograph to what is strictly necessary to perform this vetting. Any potential travel
authorization denials resulting from facial photograph matches against these databases or
mismatches to confirm identity will be verified by a CBP officer before the travel authorization
is denied. DHS will retain the facial photograph for the duration of the travel authorization
validity but no more than 180 days and ensure that it is deleted from all DHS and other agency
databases after that time unless the photograph matches against national security or law
enforcement databases, as verified by CBP personnel. CBP conducts this vetting to determine
whether the individual poses a security risk to the United States, and to determine whether the
individual is eligible to receive advance authorization to travel to the United States to seek
parole. If the travel authorization is denied, the individual will not be authorized to travel to the
United States to seek parole under this process. If approved, the approval establishes that the
individual has obtained advance authorization to travel to the United States to seek parole,
consistent with 8 C.F.R. 212.5(f), but does not guarantee boarding or a specific processing
disposition at a port of entry (POE). Upon arrival to a United States POE, the traveler will be
subject to inspection by a CBP officer, who will make a case-by-case processing disposition
determination.

DHS requests an emergency approval to revise the existing ATA data collection (OMB Control
Number 1651-0143) to allow CBP to collect a facial photograph in advance to permit individuals
from Venezuela, Nicaragua, Cuba, and Haiti to obtain advance authorization to travel to the
United States to seek a discretionary grant of parole. To support this effort, DHS will soon be
publishing accompanying Federal Register notices to announce and establish the parole
processes for Venezuela, Nicaragua, Cuba, and Haiti nationals.

The information collected through this emergency will allow DHS to vet noncitizens who may
otherwise present themselves for inspection at a southwest land border POE, or enter the United
States between POEs, without any prior vetting. The advance vetting affords the noncitizen the
opportunity to book international travel to arrive near their intended United States destination
address and, as a result, is expected to reduce the strain on CBP resources at the southwest land
border. Data will be collected on the efficacy of this process in achieving the desired outcomes,
to include reduction in southwest land border encounters, identifying derogatory information
before individuals travel, increased arrivals to final destination and grants of parole, and access
to employment authorization as well as assessment of the usability of the CBP One™ application
and efficacy of automated facial matching, including by demographic group, in order to assess
whether this emergency measure has been effective.

Development and deployment of this ATA capability has been expedited to facilitate DHS’
ability to respond to the current U.S. Government (USG) resource strain along the SWB, and to
enable certain individuals, based on urgent humanitarian reasons or significant public benefit, to
travel to the United States to seek a discretionary grant of parole at the POE. This process may
also ease the burden on certain locations outside the United States that are unable to continue to
support the influx of these migrants because of already overburdened humanitarian relief
mechanisms.



                                                                                      Haiti AR_001231
  Case 6:23-cv-00007 Document 93-5 Filed on 03/24/23 in TXSD Page 127 of 199




DHS is requesting an emergency information collection under 5 CFR 1320.13, with the intention
of carrying out all the regular requirements for publication and review after implementation.
This collection of information is needed prior to the expiration of time periods established under
the normal PRA notice and comment process and is essential to the mission of the agency.
Further, the agency cannot reasonably comply with the normal clearance procedures under this
part because delayed implementation and awareness of DHS’ intent would likely have
unpredictable impact on the movement and may further raise pressure on U.S. border operations
and the migration management conducted by our foreign partners and could jeopardize our
relations with foreign partners.

After implementation of the revised collection, CBP will undergo the normal PRA renewal
process. After publication of the two Federal Register Notices (FRNs) required under the PRA,
DHS will address comments and concerns as necessary under the PRA and submit the ICR to
OMB for renewal within the required timeframe.

Thank you for your consideration of this Emergency Request.




                                                                                  Haiti AR_001232
Case 6:23-cv-00007 Document 93-5 Filed on 03/24/23 in TXSD Page 128 of 199


From:
To:
Cc:
Subject:          RE: ATA Burden Estimate
Date:             Monday, December 19, 2022 2:06:10 PM




             . No, this is not a cap, this is just a different estimate that (as described in the text) takes
into account more than just the total number of encounters in FY 22. Leadership advised that this is
the current best estimate, accounting for experience with the Venezuela process and resource
constraints that limit the rate at which USCIS is expected to adjudicate supporter requests. Happy to
hop on a call if helpful.




                                                                                            Haiti AR_001233
     Case 6:23-cv-00007 Document 93-5 Filed on 03/24/23 in TXSD Page 129 of 199




                                         Supporting Statement
                                   Advance Travel Authorization (ATA)
                                               1651-0143

A.     Justification

  1.    Explain the circumstances that make the collection of information necessary. Identify
        any legal or administrative requirements that necessitate the collection. Attach a copy
        of the appropriate section of each statute and regulation mandating or authorizing the
        collection of information.

        The newly developed CBP Advance Travel Authorization (ATA) allows certain noncitizens
        from Venezuela and their qualifying immediate family members 1 to submit information
        within the CBP One™ application as part of the process to request an advance authorization
        to travel to the United States to seek a discretionary grant of parole. CBP is seeking to
        expand this collection to also include certain noncitizens from Nicaragua, Cuba, and Haiti
        and their qualifying immediate family members and to remove the previously approved
        numerical cap for noncitizens from Venezuela. ATA requires the collection of a facial
        photograph via CBP One™ from those eligible noncitizens who voluntarily elect to
        participate in the process. Participation is limited to those individuals who meet certain
        DHS established criteria, including possession of a valid, unexpired passport, as well as
        having an approved U.S.-based supporter. Pending Office of Management and Budget
        (OMB) approval, the expansion of this functionality will be available as early as late
        December, 2022.

        Background:
        The United States is currently encountering a large number of undocumented noncitizens at
        the Southwest Border (SWB) of the United States where, despite surging resources and
        personnel, CBP is facing unprecedented challenges processing such individuals in a timely
        manner.

        CBP’s Office of Field Operations (OFO) developed the ATA capability, a new functionality
        in CBP One™, which collects biographic information and a facial photograph from a
        noncitizen who is submitting information to request an advance authorization to travel to the
        United States to seek a discretionary grant of parole.

        Advance Travel Authorization (ATA):
        The facial photograph collected from the noncitizens will be linked to biographic
        information provided by the individual to U.S. Citizenship and Immigration Services
        (USCIS). CBP will conduct vetting of noncitizens using the biographic information
        provided to CBP by USCIS and the facial photograph collected by CBP via CBP OneTM.
        This information collection will facilitate the vetting of noncitizens seeking to obtain

1 Immediate family members include spouse and unmarried children under the age of 21. Eligible family members
must travel with the principal noncitizen to be processed under an ATA program upon arrival in the United States.
Unaccompanied children are not eligible for this process.
                                                          1


                                                                                                 Haiti AR_001234
Case 6:23-cv-00007 Document 93-5 Filed on 03/24/23 in TXSD Page 130 of 199




   advance authorization to travel and give air carriers that participate in CBP’s document
   validation program the ability to validate an approved travel authorization, facilitating
   generation of a noncitizen’s boarding pass without having to use other manual validation
   processes.
   CBP One™ allows the user to capture their image and confirm submission after viewing the
   captured image. If the user is not satisfied with the image captured, the user can retake the
   image. A user can retake the image up to three times. If after three attempts CBP One™
   cannot successfully capture the user’s image, CBP One™ will provide the user an error
   message notifying them that their submission was unable to be completed and that they can
   access the capability and try again. If the user continues to experience technical difficulties,
   the CBP One™ application provides a help desk email to provide assistance. In the event
   that the user is not authorized to travel under this process, they may still seek entry through
   another process, including by filing a request for consideration of parole with USCIS or
   applying with the Department of State (DOS) to obtain a visa.
   Once submitted, CBP will vet available biographic information and the facial photograph
   against selected security and law enforcement databases at DHS and other federal agencies,
   for national security, border security, public health, and safety. DHS will limit use and
   sharing of the photograph to what is strictly necessary to perform this vetting. Any potential
   travel authorization denials resulting from facial photograph matches against these databases
   or mismatches to confirm identity will be verified by a CBP officer before the travel
   authorization is denied. DHS will retain the facial photograph for the duration of the travel
   authorization validity but no more than 180 days and ensure that it is deleted from all DHS
   and other agency databases after that time unless the photograph matches against national
   security or law enforcement databases, as verified by CBP personnel. CBP conducts this
   vetting to determine whether the individual poses a security risk to the United States, and to
   determine whether the individual is eligible to receive advance authorization to travel to the
   United States to seek a discretionary grant of parole at the port of entry (POE). There is no
   numerical cap on the number of noncitizens from these four countries who may apply.
   If the travel authorization is denied, the individual will not be authorized to travel to the
   United States to seek parole under this process. If approved, the approval establishes that
   the individual has obtained advance authorization to travel to the United States to seek
   parole, consistent with 8 C.F.R. 212.5(f), but does not guarantee boarding or a specific
   processing disposition at a POE. Upon arrival to a United States POE, the traveler will be
   subject to inspection by a CBP officer, who will make a case-by-case processing disposition
   determination.
   This collection of information is authorized by 8 U.S.C. 1182(d)(5), 8 C.F.R. 212.5(f). The
   Department has also publicly announced the policy and accompanying collection on its
   website, and will be promptly issuing a Federal Register notice for each of the four named
   countries.
   CBP One™ collects the following information from the individual submitting a request for
   an advance authorization to travel to the United States to seek parole:
      1. Facial Photograph
      2. Photo obtained from the passport or Chip on ePassport, where available
                                           2


                                                                                 Haiti AR_001235
 Case 6:23-cv-00007 Document 93-5 Filed on 03/24/23 in TXSD Page 131 of 199




        3.   Alien Registration Number
        4.   First and Last Name
        5.   Date of Birth
        6.   Passport Number
     Data will be collected on the efficacy of this process in achieving the desired outcomes, to
     include reduction in SWB encounters, identifying derogatory information before individuals
     travel, increased arrivals to final destination and grants of parole, and access to employment
     authorization, as well as assessment of the usability of the CBP One™ application and the
     efficacy of automated facial matching, including by demographic group, in order to assess
     whether this emergency measure has been effective.

2.   Indicate how, by whom, and for what purpose the information is to be used. Except
     for a new collection, indicate the actual use the agency has made of the information
     received from the current collection.

     This information is used by CBP to vet against selected security and law enforcement
     databases available to DHS and other federal agencies, for national security, border security,
     public health and safety. CBP conducts this vetting to determine whether the individual
     poses a security risk to the United States, and to determine whether the individual is eligible
     to receive advance authorization to travel to the United States to seek parole. DHS will limit
     use and sharing of the photograph to what is strictly necessary to perform this vetting. Any
     potential travel authorization denials resulting from facial photograph matches against these
     databases or mismatches to confirm identity will be verified by a CBP officer before the
     travel authorization is denied. DHS will retain the facial photograph for the duration of the
     travel authorization validity but no more than 180 days and ensure that it is deleted from all
     DHS and other agency databases after that time unless the photograph matches against
     national security or law enforcement databases, as verified by CBP personnel.

3.   Describe whether, and to what extent, the collection of information involves the use of
     automated, electronic, mechanical, or other technological collection techniques or
     other forms of information technology, e.g. permitting electronic submission of
     responses, and the basis for the decision for adopting this means of collection. Also
     describe any consideration of using information technology to reduce burden.

     The information is submitted to CBP via the CBP OneTM mobile application, which the
     individual can access to provide basic biographic information. This biographic information
     is provided solely to verify that the individual accessing the specific functionality within
     CBP OneTM has a USCIS-approved U.S.-based supporter, has verified their biographic
     information, and has attested to DHS required attestations related to process eligibility
     criteria.

4.   Describe efforts to identify duplication. Show specifically why any similar information
     already available cannot be used or modified for use for the purposes described in Item
     2 above.

     This information is not duplicated in any other place or any other form.
                                                3


                                                                                  Haiti AR_001236
 Case 6:23-cv-00007 Document 93-5 Filed on 03/24/23 in TXSD Page 132 of 199




5.    If the collection of information impacts small businesses or other small entities
      describe any methods used to minimize burden.

      This information collection does not have an impact on small businesses or other small
      entities.

6.    Describe consequences to Federal program or policy activities if the
      collection is not conducted or is conducted less frequently.

      Failure to collect this information would prevent CBP from having access to information
      needed to conduct vetting to ascertain security and safety risks posed by individuals
      requesting advance authorization to travel to the United States to seek parole.

7.    Explain any special circumstances.

      This information is collected in a manner consistent with the guidelines of 5 CFR
      1320.5(d)(2).

8.    If applicable, provide a copy and identify the date and page number of publication in
      the Federal Register of the agency's notice, required by 5 CFR 1320.8(d), soliciting
      comments on the information collection prior to submission to OMB. Summarize
      public comments received in response to that notice and describe actions taken by the
      agency in response to these comments. Specifically address comments received on cost
      and hour burden.

      Public comments will be solicited, and this information collection request will go through a
      normal Paperwork Reduction Act (PRA) approval process, including a response to all
      comments received from the public, no later than six months after the approval of this
      emergency request.

9.    Explain any decision to provide any payment or gift to respondents, other than
      remuneration of contractors or grantees.

      There is no offer of a monetary or material value for this information collection.

10.   Describe any assurance of confidentiality provided to respondents and the basis for the
      assurance in statute, regulation, or agency policy.

      CBP published the DHS/CBP/PIA-073 Advance Travel Authorization (ATA) to document
      the general workflow of ATA and the information collected, stored, and used at each step. In
      addition to the standalone PIA, CBP also concurrently published an appendix update to the
      DHS/CBP/PIA-068 CBP One Mobile Application. The System of Record Notice (SORN)
      that permits this information collection is the ATS SORN (DHS/CBP-006 Automated
      Targeting System, May 22, 2012, 77 FR 30297), which permits collection of information
      from persons, including operators, crew, and passengers, who seek to, or do in fact, enter,
                                                 4


                                                                                   Haiti AR_001237
     Case 6:23-cv-00007 Document 93-5 Filed on 03/24/23 in TXSD Page 133 of 199




         exit, or transit through the United States or through other locations where CBP maintains an
         enforcement or operational presence by land, air, or sea. Information submitted by
         noncitizens seeking advance authorization to travel to the United States to seek parole is
         broadly covered by the ATS SORN. CBP uses the advance information to compare it
         against law enforcement and intelligence databases to identify individuals and cargo
         requiring additional scrutiny, which aligns to the border security mission of DHS. DHS will
         limit use and sharing of the photograph to what is strictly necessary to perform this vetting.
         Any potential travel authorization denials resulting from facial photograph matches against
         these databases or mismatches to confirm identity will be verified by a CBP officer before
         the travel authorization is denied. DHS will retain the facial photograph for the duration of
         the travel authorization validity but no more than 180 days and ensure that it is deleted from
         all DHS and other agency databases after that time unless the photograph matches against
         national security or law enforcement databases, as verified by CBP personnel.


   11.   Provide additional justification for any questions of a sensitive nature, such as sexual
         behavior and attitudes, religious beliefs, and other matters that are commonly
         considered private. This justification should include the reasons why the agency
         considers the questions necessary, the specific uses to be made of the information, the
         explanation to be given to persons from whom the information is requested, and any
         steps to be taken to obtain their consent.

       There are no questions of a sensitive nature.
   12. Provide estimates of the hour burden of the collection of information.

                                                                NO. OF
INFORMATION       TOTAL ANNUAL            NO. OF
                                                            RESPONSES PER          TOTAL          TIME PER
 COLLECTION       BURDEN HOURS         RESPONDENTS
                                                             RESPONDENT          RESPONSES        RESPONSE
                                                                                                  10 minutes
  Venezuela             17,517              104,894                 1               104,894         (0.167
                                                                                                    hours)
                                                                                                  10 minutes
  Nicaragua             15,287               91,539                 1                91,539         (0.167
                                                                                                    hours)
                                                                                                  10 minutes
    Cuba                20,615              123,442                 1               123,442         (0.167
                                                                                                    hours)
                                                                                                  10 minutes
    Haiti               5,031                30,125                 1                30,125         (0.167
                                                                                                    hours)
                                                                                                  10 minutes
 Total ATA
                        58,450              350,000                 1               350,000         (0.167
  Process
                                                                                                    hours)


         Public Cost
                                                   5


                                                                                     Haiti AR_001238
   Case 6:23-cv-00007 Document 93-5 Filed on 03/24/23 in TXSD Page 134 of 199




        The table above provide an estimate of the total annual number of respondents CBP
        anticipates, broken down by country. This estimate is based on unique CBP encounters and
        apprehensions of inadmissible nationals of Venezuela, Nicaragua, Cuba, and Haiti in Fiscal
        Year 2022, resource limitations in processing supporter requests, and the Department’s
        experience administering the Venezuela process, including expected effect on migration
        flows. It may represent an over-estimate depending on eligibility for consideration and
        actual interest in each parole process. This breakdown does not suggest a limit or numerical
        cap for each country; rather, it represents CBP’s best guess as to the approximate annual
        number of responses and how they may be distributed. As of December 2022, the Secretary
        has directed that the number of travel authorizations granted across all four processes may
        not exceed 30,000 each month. That direction is consistent with the estimates presented
        here.

        The estimated cost to the respondents is $2,752,995. This is based on the estimated burden
        hours (58,450) multiplied by the average hourly wage rate for all-purpose air travelers
        ($47.10). CBP used the U.S. Department of Transportation’s (DOT) recommended hourly
        value of travel time savings for intercity, all-purpose travel by air and high-speed rail, which
        is provided in 2015 U.S. dollars. CBP assumes an annual growth rate of 0 percent; the 2015
        U.S. dollar value is equal to the 2022 U.S. dollar value. 2

  13.   Provide an estimate of the total annual cost burden to respondents or record keepers
        resulting from the collection of information.

        There are no record keeping, capital, start-up or maintenance costs associated with this
        information collection.

  14. Provide estimates of annualized cost to the Federal Government. Also provide a
      description of the method used to estimate cost, which should include quantification of
      hours, operational expenses (such as equipment overhead, printing, and support staff),
      and any other expense that would not have been incurred without this collection of
      information.

        It is estimated that 70% of submissions received will be approved automatically by the
        system, and 30% of the submissions will be reviewed manually by a CBP Officer.

        The estimated annual cost to the Federal Government associated with the review of these
        submissions is $2,353,428. This is based on the number of responses that must be reviewed
        manually (105,000) multiplied by the time burden to review and process each response (0.33
        hours) = 34,650 hours multiplied by the average hourly loaded rate for a CBP Officer


2 Source: U.S. Department of Transportation, Office of Transportation Policy. The Value of Travel Time Savings:
Departmental Guidance for Conducting Economic Evaluations Revision 2 (2016 Update), “Table 4 (Revision 2 - 2016
Update): Recommended Hourly Values of Travel Time Savings for Intercity, All-Purpose Travel by Air and High-
Speed Rail.” September 27, 2016. Available at https://www.transportation.gov/sites/dot.gov
/files/docs/2016%20Revised%20Value%20of%20Travel%20Time%20Guidance.pdf. Accessed May 25, 2022.
                                                       6


                                                                                             Haiti AR_001239
    Case 6:23-cv-00007 Document 93-5 Filed on 03/24/23 in TXSD Page 135 of 199




        ($67.92) 3 = $2,353,428.

  15.   Explain the reasons for any program changes or adjustments reported in Items 12 or
        13.

        There is an increase to the previously reported burden for this information collection due to
        an increase in respondents and submissions being received; CBP is seeking to expand this
        collection to remove the previous numerical cap for noncitizens from Venezuela and also
        include certain noncitizens from Nicaragua, Cuba, Haiti, and their qualifying immediate
        family members.

  16.   For collection of information whose results will be published, outline plans for
        tabulation, and publication.

        This information collection will not be published for statistical purposes.

  17.   If seeking approval to not display the expiration date, explain the reasons that
        displaying the expiration date would be inappropriate.

        CBP will display the expiration date for OMB approval of this information collection.

  18.   “Certification for Paperwork Reduction Act Submissions.”

        CBP does not request an exception to the certification of this information collection.

  19.   Collection of Information Employing Statistical Methods

         No statistical methods were employed.




3 CBP bases this wage on the FY 2022 salary and benefits of the national average of CBP Officer Positions, which is
equal to a GS-11, Step 10. Source: Email correspondence with CBP’s Office of Finance on June 27, 2022.
                                                          7


                                                                                                  Haiti AR_001240
     Case 6:23-cv-00007 Document 93-5 Filed on 03/24/23 in TXSD Page 136 of 199
                                                         UNCLASSIFIED // FOR OFFICIAL USE ONLY




                                 U.S. Customs and Border Protection (CBP) Enforcement Encounters - Northern Border (NBO)
                     U.S. Border Patrol (USBP) T8 Apprehensions, USBP T42 Expulsions, Office of Field Operations (OFO) T8 Inadmissible
                                         Migrants, and OFO T42 Expulsions by Country of Citizenship and Demographic
                                                                               FY22
                                            Data Includes T8 Deportable and Inadmissible Migrants and T42 Expulsions
                                                              Source: Official End of Year Reporting

                                                                 OFO                                                 USBP                          FY22
                                                                                                                                          USBP
         Country of Citizenship                         Family Unit Single UC/Single OFO Total          Family Unit    Single UC/Single            CBP
                                               AM                                                                                         Total
                                                        Apprehens    Adults  Minors                    Apprehensions   Adults  Minors              Total
AFGHANISTAN                                        22             82     219        3      326                       0       2        0        2       328
ALAND ISLANDS                                       0              0       1        0        1                       0       0        0        0          1
ALBANIA                                             4             34      86        0      124                       3       3        0        6       130
ALGERIA                                            50             59   1,449        0    1,558                       0       1        0        1     1,559
AMERICAN SAMOA                                      0              0       1        0        1                       0       0        0        0          1
ANGOLA                                              0             13       8        0       21                       0       0        0        0         21
ANTIGUA AND BARBUDA                                 0              4       5        0        9                       0       0        0        0          9
ARGENTINA                                           3              0      44        0       47                       0       2        0        2         49
ARMENIA                                             0              0      17        0       17                       0       0        0        0         17
AUSTRALIA                                          17             58     233        0      308                       0       0        0        0       308
AUSTRIA                                             3              5      20        0       28                       0       0        0        0         28
AZERBAIJAN                                          0              2      16        0       18                       0       0        0        0         18
BAHAMAS                                             2             13      79        0       94                       0       0        0        0         94
BAHRAIN                                             0              3       1        0        4                       0       0        0        0          4
BANGLADESH                                          3             16     355        2      376                       2       2        0        4       380
BARBADOS                                            1              8      29        0       38                       0       0        0        0         38
BELARUS                                             0              4       8        0       12                       0       0        0        0         12
BELGIUM                                            18             84     294        0      396                       3       2        0        5       401
BELIZE                                              0              0       3        0        3                       0       1        0        1          4
BENIN                                               5              3     175        0      183                       0       0        0        0       183
BERMUDA                                             5              0       2        0        7                       0       0        0        0          7
BHUTAN                                              0              0      24        0       24                       0       0        0        0         24
BOLIVIA                                             0              1      11        0       12                       0       0        0        0         12
BOSNIA-HERZEGOVINA                                  0              2      11        0       13                       0       1        0        1         14
BOTSWANA                                            0              5       1        0        6                       0       0        0        0          6
BRAZIL                                             62            343     909        1    1,315                       4      39        0       43     1,358
BRUNEI                                              0              0       1        0        1                       0       0        0        0          1
BULGARIA                                            1              6      28        0       35                       0       4        0        4         39
BURKINA FASO (UPPER VOLTA)                          2              2     125        0      129                       0       0        0        0       129
BURUNDI                                             2              1      41        0       44                       0       0        0        0         44
CAMBODIA                                            1              0      15        0       16                       0       0        0        0         16
CAMEROON                                           24             41     567        0      632                       0       0        0        0       632
CANADA                                            755          3,261 36,411       41    40,468                      16    115         1      132    40,600
CAPE VERDE, REPUBLIC OF                             0              0       2        0        2                       0       1        0        1          3
CAYMAN ISLANDS                                      0              0       2        0        2                       0       0        0        0          2
CENTRAL AFRICAN REPUBLIC                            0              1       5        0        6                       0       0        0        0          6
CHAD                                                3              0      10        0       13                       0       0        0        0         13
CHILE                                              27            144     279        0      450                       0      10        0       10       460
CHINA, PEOPLES REPUBLIC OF                        138            944  5,597         7    6,686                       0      12        0       12     6,698
COLOMBIA                                          135            526  1,276         1    1,938                       4      29        0       33     1,971
COSTA RICA                                          0             15      52        0       67                       0       1        0        1         68
CROATIA                                             0              2      25        0       27                       0       1        0        1         28
CUBA                                               13             45     323        0      381                       3      29        0       32       413
CYPRUS                                              0             12       2        0       14                       0       0        0        0         14
CZECH REPUBLIC                                      0              3      49        2       54                       0       0        0        0         54
DEMOCRATIC REPUBLIC OF CONGO (ZAIRE)                4             37     232        2      275                       0       0        0        0       275
DENMARK                                             0             17      24        0       41                       0       0        0        0         41
DJIBOUTI                                            0              2       6        0        8                       0       0        0        0          8
DOMINICA                                            0              2       8        0       10                       0       0        0        0         10
DOMINICAN REPUBLIC                                  6             31      89        0      126                       0      10        0       10       136
ECUADOR                                             1             11     146        0      158                       0      86        2       88       246
EGYPT                                               8             44     143        0      195                       0       0        0        0       195
EL SALVADOR                                         2             19      92        0      113                       0      30        0       30       143
EQUATORIAL GUINEA                                   0              0       9        0        9                       0       0        0        0          9
ERITREA                                             2             11      77        0       90                       0       4        0        4         94
ESTONIA                                             0              0       6        0        6                       0       0        0        0          6
ESWATINI                                            0              0       1        0        1                       0       0        0        0          1
ETHIOPIA                                            0              5      46        0       51                       0       1        0        1         52
FIJI                                                0              0      14        0       14                       0       2        0        2         16
FINLAND                                             3             13      25        0       41                       0       0        0        0         41
FRANCE                                            329          1,569   6,095        2    7,995                       3       2        0        5     8,000
GABON                                               0              4      25        0       29                       0       0        0        0         29
GAMBIA                                              0              0      10        0       10                       0       1        0        1         11
GEORGIA                                             0              4      37        0       41                       0       0        0        0         41
GERMANY                                            30            128     420        2      580                       0       1        0        1       581
GHANA                                              18             14     166        1      199                       0       2        0        2       201
GREECE                                              0             45     145        0      190                       0       0        0        0       190
GRENADA                                             0              1       2        0        3                       0       0        0        0          3
GUATEMALA                                           1             36     205        1      243                       3    248         2      253       496




                                                         UNCLASSIFIED // FOR OFFICIAL USE ONLY                                   Haiti AR_001241
     Case 6:23-cv-00007 Document 93-5 Filed on 03/24/23 in TXSD Page 137 of 199
                                          UNCLASSIFIED // FOR OFFICIAL USE ONLY




                                                  OFO                                          USBP                          FY22
                                                                                                                    USBP
         Country of Citizenship          Family Unit Single UC/Single OFO Total    Family Unit   Single UC/Single            CBP
                                  AM                                                                                Total
                                         Apprehens    Adults  Minors              Apprehensions  Adults  Minors              Total
GUINEA                               4              4     129        0      137                0       0        0        0       137
GUINEA-BISSAU                        0              0       2        0        2                0       0        0        0          2
GUYANA                               2              2      49        0       53                0       0        0        0         53
HAITI                                5             57     284        0      346                3       5        0        8       354
HONDURAS                             0             23     120        0      143                4      73        0       77       220
HONG KONG                            2             22      57        0       81                0       2        0        2         83
HUNGARY                              4             19      93        0      116                0       2        0        2       118
ICELAND                              0              0       4        0        4                0       0        0        0          4
INDIA                              197          1,391 15,498         8   17,094               47    189         1      237    17,331
INDONESIA                            1              2     103        0      106                0       1        0        1       107
IRAN                                94            441   2,185        1    2,721                0       1        0        1     2,722
IRAQ                                10             19     101        2      132                0       0        0        0       132
IRELAND                             10             58     184        0      252                4       6        0       10       262
ISLE OF MAN                          0              0       1        0        1                0       0        0        0          1
ISRAEL                              33            189     260        0      482                0       6        0        6       488
ITALY                               25            153     362        1      541                1       5        0        6       547
IVORY COAST                         10              7     239        0      256                0       0        0        0       256
JAMAICA                             10             84     325        0      419                0       7        0        7       426
JAPAN                                1              8     205        0      214                0       0        0        0       214
JORDAN                              15             10      95        0      120                0       3        0        3       123
KAZAKHSTAN                           0              7      30        0       37                0       0        0        0         37
KENYA                                1             12      83        0       96                0       0        0        0         96
KOREA                                0              0       0        0        0                0       1        0        1          1
KOSOVO                               0              1      16        0       17                1       0        0        1         18
KUWAIT                               0              0       6        0        6                0       0        0        0          6
KYRGYZSTAN                           0              3       8        0       11                0       0        0        0         11
LAOS                                 0              0       1        0        1                0       0        0        0          1
LATVIA                               0              2       6        0        8                0       0        0        0          8
LEBANON                              4             38     168        0      210                0       0        0        0       210
LESOTHO                              0              3       4        0        7                0       0        0        0          7
LIBERIA                              0              0      11        0       11                0       0        0        0         11
LIBYA                               17              2      43        0       62                0       0        0        0         62
LITHUANIA                            0             12      14        0       26                0       0        0        0         26
LUXEMBOURG                           1              0       6        0        7                0       0        0        0          7
MACAO (MACAU)                        0              0       1        0        1                0       0        0        0          1
MADAGASCAR                           0              3      34        0       37                0       0        0        0         37
MALAWI                               0              0       4        0        4                0       0        0        0          4
MALAYSIA                             0              3      27        0       30                0       0        0        0         30
MALI                                 3              4     128        0      135                0       0        0        0       135
MARSHALL ISLANDS                     0              0       1        0        1                0       0        0        0          1
MARTINIQUE                           0              0       1        0        1                0       0        0        0          1
MAURITANIA                           0              0      15        0       15                0       1        0        1         16
MAURITIUS                            4              6      61        0       71                0       0        0        0         71
MEXICO                             106            475   1,756        2    2,339               69    812         1      882     3,221
MICRONESIA, FEDERATED STATES OF      0              0       1        0        1                0       0        0        0          1
MOLDOVA                              2              6      28        0       36                0       0        0        0         36
MONGOLIA                             0              0       5        0        5                0       0        0        0          5
MONTENEGRO                           0              1      17        0       18                0       0        0        0         18
MOROCCO                             17             50     856        1      924                0       0        0        0       924
MOZAMBIQUE                           0              0       3        0        3                0       0        0        0          3
MYANMAR (BURMA)                      0              6      15        0       21                0       0        0        0         21
NAMIBIA                              0              1       1        0        2                0       0        0        0          2
NEPAL                                2             12     136        0      150                0       0        0        0       150
NETHERLANDS                         10             77     173        0      260                0       2        0        2       262
NEW ZEALAND                          0             16      86        0      102                0       1        0        1       103
NICARAGUA                            0             23      73        0       96                0      14        0       14       110
NIGER                                0              0      42        0       42                0       0        0        0         42
NIGERIA                             29            277     820        2    1,128                0       1        0        1     1,129
NIUE                                 0              0       1        0        1                0       0        0        0          1
NORTH KOREA                          0              1       0        0        1                0       0        0        0          1
NORTH MACEDONIA                      0             10      10        0       20                0       0        0        0         20
NORWAY                               0              2      10        0       12                0       0        0        0         12
OMAN                                 0              3       3        0        6                0       0        0        0          6
PAKISTAN                            14            102     491        0      607                0       4        0        4       611
PALESTINE                            0              1      22        0       23                0       0        0        0         23
PANAMA                               2              2       7        0       11                0       2        0        2         13
PARAGUAY                             0              0       3        0        3                0       0        0        0          3
PERU                                 3             19     123        0      145                0       3        0        3       148
PHILIPPINES                         29            223   1,268        1    1,521                0       4        0        4     1,525
POLAND                               2             23     180        0      205                0       0        0        0       205
PORTUGAL                             7             78     373        0      458                0       2        0        2       460
QATAR                                0              0       4        0        4                0       1        0        1          5
REPUBLIC OF CONGO (BRAZZAVILLE)      0             14      79        1       94                0       0        0        0         94
REPUBLIC OF SOUTH AFRICA             4             39      77        0      120                0       0        0        0       120
REUNION                              0              0       1        0        1                0       0        0        0          1
ROMANIA                             18             66     192        0      276               99      72        2      173       449




                                          UNCLASSIFIED // FOR OFFICIAL USE ONLY                          Haiti AR_001242
       Case 6:23-cv-00007 Document 93-5 Filed on 03/24/23 in TXSD Page 138 of 199
                                             UNCLASSIFIED // FOR OFFICIAL USE ONLY




                                                     OFO                                          USBP                           FY22
                                                                                                                       USBP
           Country of Citizenship           Family Unit Single UC/Single OFO Total    Family Unit   Single UC/Single             CBP
                                    AM                                                                                 Total
                                            Apprehens    Adults  Minors              Apprehensions  Adults  Minors               Total
  RUSSIA                                3             19    181         0      203                0       0        0         0       203
  RWANDA                                4             19    123         0      146                0       0        0         0       146
  SAN MARINO                            0              0       1        0        1                0       0        0         0          1
  SAUDI ARABIA                          7             16     46         0       69                0       0        0         0         69
  SENEGAL                              17             17    319         0      353                0       2        0         2       355
  SERBIA                                0              9     26         0       35                1       1        0         2         37
  SIERRA LEONE                          0              3       7        0       10                0       0        0         0         10
  SINGAPORE                             0             13     27         0       40                0       0        0         0         40
  SLOVAKIA                              0              1     18         0       19                0       1        0         1         20
  SLOVENIA                              0              0       2        0        2                0       0        0         0          2
  SOLOMON ISLANDS                       0              3       2        0        5                0       0        0         0          5
  SOMALIA                               0              2     56         0       58                0       5        0         5         63
  SOUTH KOREA                          42            503    699         1    1,245                0       0        0         0     1,245
  SOUTH SUDAN                           0              0       2        0        2                0       0        0         0          2
  SPAIN                                15             53    319         0      387                1      16        1        18       405
  SRI LANKA                             2             40    138         0      180                0       2        0         2       182
  ST. KITTS-NEVIS ISLANDS               0              0     15         0       15                0       0        0         0         15
  ST. LUCIA                             0              0     13         0       13                0       0        0         0         13
  ST. VINCENT AND THE GRENADINES        0              0     21         0       21                0       0        0         0         21
  SUDAN                                 0              3     22         0       25                0       3        0         3         28
  SURINAME                              0              0       1        0        1                0       0        0         0          1
  SWEDEN                                4             34    102         0      140                0       1        0         1       141
  SWITZERLAND                           3             20     90         0      113                0       0        0         0       113
  SYRIA                                35             29    138         3      205                7       1        0         8       213
  TAIWAN - REPUBLIC OF CHINA            2             28    160         0      190                0       2        0         2       192
  TAJIKISTAN                            0              0       4        0        4                0       0        0         0          4
  TANZANIA                              0              4     33         0       37                0       1        0         1         38
  THAILAND                              5             22     53         0       80                0       0        0         0         80
  TOGO                                  0              0    103         0      103                0       0        0         0       103
  TONGA                                 0              0       0        0        0                0       1        0         1          1
  TRINIDAD AND TOBAGO                   5              9     49         0       63                0       0        0         0         63
  TUNISIA                              25            119    690         0      834                0       0        0         0       834
  TURKEY                               12             52    295         1      360                0       2        1         3       363
  TURKMENISTAN                          0              0       3        0        3                0       0        0         0          3
  TURKS AND CAICOS ISLANDS              0              0       1        0        1                0       0        0         0          1
  UGANDA                                0             13     31         0       44                0       0        0         0         44
  UKRAINE                              43            484    781         6    1,314                5       0        0         5     1,319
  UNITED ARAB EMIRATES                  0              2     12         0       14                0       0        0         0         14
  UNITED KINGDOM                       21            200    824         0    1,045                5       7        0        12     1,057
  UNITED STATES OF AMERICA              0              0       1        0        1                0       0        0         0          1
  UNKNOWN                               4              3     57         0       64                0       0        0         0         64
  URUGUAY                               3              2       9        0       14                0       0        0         0         14
  UZBEKISTAN                            3              2     11         0       16                0       0        0         0         16
  VANUATU                               0              0       1        0        1                0       0        0         0          1
  VENEZUELA                             2             42    152         0      196                2       3        0         5       201
  VIETNAM                              14            100    452         0      566                0      24        1        25       591
  YEMEN                                 0              8     22         0       30                0       1        0         1         31
  YUGOSLAVIA                            0              0       0        0        0                0       1        0         1          1
  ZAMBIA                                0              0     12         0       12                0       0        0         0         12
  ZIMBABWE                              0             11     23         0       34                0       0        0         0         34
Grand Total                         2,669         13,732 90,801       95   107,297              290   1,936       12     2,238   109,535




                                             UNCLASSIFIED // FOR OFFICIAL USE ONLY                          Haiti AR_001243
      Case 6:23-cv-00007 DocumentUNCLASSIFIED
                                   93-5 //Filed       on 03/24/23 in TXSD Page 139 of 199
                                              FOR OFFICIAL USE ONLY




                                            U.S. Customs and Border Protection (CBP) Enforcement Encounters - Southwest Border (SBO)
                                 U.S. Border Patrol (USBP) T8 Apprehensions, USBP T42 Expulsions, Office of Field Operations (OFO) T8 Inadmissible
                                                    Migrants, and OFO T42 Expulsions by Country of Citizenship and Demographic
                                                                                      FY22
                                                            Data Includes T8 Deportable and Inadmissible Migrants and T42 Expulsions
                                                                              Source: Official End of Year Reporting

                                                                  OFO                                                                  USBP
        Country of Citizenship                          Family Unit    Single UC/Single OFO Total                     Family Unit       Single    UC/Single USBP Total    FY22 CBP Total
                                               AM
                                                       Apprehensions Adults    Minors                                 Apprehesions      Adults     Minors
AFGHANISTAN                                        3                45      25         0        73                              201          553          11        765                 838
ALBANIA                                            0                 0       1         0         1                                 8           82          3         93                  94
ALGERIA                                            0                 0       2         0         2                                 0           15          0         15                  17
ANDORRA                                            0                 0       0         0         0                                 2            0          0          2                   2
ANGOLA                                             2                 1       4         0         7                            1,260          455          26      1,741               1,748
ANTIGUA AND BARBUDA                                0                 0       1         0         1                                 0            1          0          1                   2
ARGENTINA                                          0                25      29         0        54                              336          141           2        479                 533
ARMENIA                                            4             1,077   1,838       29      2,948                              208          113           2        323               3,271
ARUBA                                              0                 0       0         0         0                                 5            1          0          6                   6
AUSTRALIA                                          0                 0       8         0         8                                 0            1          0          1                   9
AUSTRIA                                            0                 0       1         0         1                                 0            0          0          0                   1
AZERBAIJAN                                         0                79      58         0       137                               71          126           0        197                 334
BAHAMAS                                            0                 0       1         0         1                                 2            1          0          3                   4
BANGLADESH                                         0                 0      10         0        10                              279        2,080          80      2,439               2,449
BARBADOS                                           0                 0       1         0         1                                 0            0          0          0                   1
BELARUS                                            4               947     610         0     1,561                              143          124           0        267               1,828
BELGIUM                                            0                 0       2         0         2                                 3            0          0          3                   5
BELIZE                                             2                58     155       11        226                              263          219          61        543                 769
BENIN                                              0                 0       0         0         0                                 9           48          0         57                  57
BOLIVIA                                            0                 0      12         0        12                              658          590          15      1,263               1,275
BRAZIL                                             6             2,449      51         1     2,507                           38,524       12,231         195    50,950               53,457
BULGARIA                                           0                 0       2         0         2                                 0            2          0          2                   4
BURKINA FASO (UPPER VOLTA)                         0                 0       5         0         5                               30          234           0        264                 269
CAMBODIA                                           0                 0       1         0         1                                 0            3          0          3                   4
CAMEROON                                           0                 8      11         3        22                               64        1,149           2      1,215               1,237
CANADA                                            10                 6      78         1        95                               14             3          1         18                 113
CAPE VERDE, REPUBLIC OF                            0                 0       0         0         0                                 1            3          0          4                   4
CAYMAN ISLANDS                                     0                 0       0         0         0                                 2            0          0          2                   2
CENTRAL AFRICAN REPUBLIC                           0                 0       1         0         1                                 3           10          0         13                  14
CHAD                                               0                 0       0         0         0                                 1            5          0          6                   6
CHILE                                              3             2,288      33         1     2,325                            4,782            71          3      4,856               7,181
CHINA, PEOPLES REPUBLIC OF                         1                11     194         0       206                              150        1,818           2      1,970               2,176
COCOS ISLANDS                                      0                 0       0         0         0                                 1            0          0          1                   1
COLOMBIA                                          26               190     403       13        632                           59,245       64,492         803   124,540              125,172
COOK ISLANDS                                       0                 0       0         0         0                                 1            1          0          2                   2
COSTA RICA                                         1                 7      18         2        28                              264          305          14        583                 611
CUBA                                               4                35     542         6       587                           51,617      167,744         960   220,321              220,908
CURACAO                                            0                 0       0         0         0                                 1            0          0          1                   1
CZECH REPUBLIC                                     0                 2       1         0         3                                 0            0          0          0                   3
DEMOCRATIC REPUBLIC OF CONGO (ZAIRE)               0                 0       2         0         2                              342          166           4        512                 514
DENMARK                                            0                 0       3         0         3                                 0            0          0          0                   3
DJIBOUTI                                           0                 0       0         0         0                                 0            1          0          1                   1
DOMINICA                                           0                 0       2         0         2                                 6            5          0         11                  13
DOMINICAN REPUBLIC                                 0                18      41         0        59                              845        4,939          30      5,814               5,873
ECUADOR                                            2                48      62         4       116                           12,835       10,083       1,026    23,944               24,060
EGYPT                                              0                 0       6         0         6                                 6           59          0         65                  71
EL SALVADOR                                       24             2,536   1,171      103      3,834                           26,288       50,580     16,328     93,196               97,030
EQUATORIAL GUINEA                                  0                 0       1         0         1                                 2           22          0         24                  25
ERITREA                                            0                 0       0         0         0                               28          599           2        629                 629
ETHIOPIA                                           0                 0       3         0         3                                 7         202           2        211                 214
FINLAND                                            0                 0       1         0         1                                 0            0          0          0                   1
FRANCE                                             0                13      17         1        31                               53             4          2         59                  90
FRENCH GUIANA                                      0                53       1         0        54                               28             0          0         28                  82
GAMBIA                                             0                 0       0         0         0                                 2           75          0         77                  77
GEORGIA                                            0                52     209         1       262                              311        5,671           1      5,983               6,245
GERMANY                                            6                 8      56         1        71                                 6            5          0         11                  82
GHANA                                              0                16      46         4        66                              455        1,573          68      2,096               2,162
GREECE                                             1                 3       5         0         9                                 6            1          0          7                  16
GUADELOUPE                                         0                 0       1         0         1                               16            73          7         96                  97
GUATEMALA                                         21             2,075     982      267      3,345                           33,935      133,772     60,513    228,220              231,565
GUINEA                                             0                 0       6         1         7                               78          372          18        468                 475
GUINEA-BISSAU                                      0                 0       0         0         0                                 6           40          0         46                  46
GUYANA                                             0                19       4         0        23                               58            10          0         68                  91
HAITI                                              5            13,122 11,723        56     24,906                           18,304       10,473         227    29,004               53,910
HONDURAS                                          88            10,290   3,265      194     13,837                           64,903       97,103     37,180    199,186              213,023
HONG KONG                                          0                 0       1         0         1                                 1            0          0          1                   2
HUNGARY                                            0                 2       7         0         9                                 0            1          0          1                  10




                                                                      UNCLASSIFIED // FOR OFFICIAL USE ONLY                                                  Haiti AR_001244
      Case 6:23-cv-00007 DocumentUNCLASSIFIED
                                   93-5 //Filed       on 03/24/23 in TXSD Page 140 of 199
                                              FOR OFFICIAL USE ONLY




                                                     OFO                                                 USBP
        Country of Citizenship             Family Unit    Single UC/Single OFO Total    Family Unit       Single    UC/Single USBP Total    FY22 CBP Total
                                  AM
                                          Apprehensions Adults    Minors                Apprehesions      Adults     Minors
INDIA                                 1                 6      63         2        72           4,979       12,862         395    18,236               18,308
INDONESIA                             0                 0       2         0         2                2            0          0          2                   4
IRAN                                  0                 7      23         0        30              49          146           1        196                 226
IRAQ                                  0                 0       6         0         6                5           23          0         28                  34
IRELAND                               2                 0       0         0         2                9            6          0         15                  17
ISRAEL                                0                 5       7         0        12                5           20          0         25                  37
ITALY                                 4                 0      33         0        37              28            11          2         41                  78
IVORY COAST                           0                 0       2         0         2              11            55          0         66                  68
JAMAICA                               2                79     412         3       496           1,250        1,909          54      3,213               3,709
JAPAN                                 2                 1      11         0        14                0            1          0          1                  15
JORDAN                                0                 2       3         0         5              10            15          0         25                  30
KAZAKHSTAN                            0               121      36         2       159             141          117           1        259                 418
KENYA                                 0                 0       3         0         3                0           14          0         14                  17
KOSOVO                                0                 0       0         0         0                0           80          0         80                  80
KUWAIT                                0                 0       1         0         1                0            1          0          1                   2
KYRGYZSTAN                            0               223     217         3       443             123          202           0        325                 768
LAOS                                  0                 0       0         0         0                0            1          0          1                   1
LATVIA                                0                 1       5         0         6                0            3          0          3                   9
LEBANON                               0                 0       3         0         3              14            34          0         48                  51
LIBERIA                               0                 0       1         0         1                0           10          1         11                  12
LIBYA                                 0                 0       1         0         1                0            3          0          3                   4
LITHUANIA                             0                 3       2         0         5                0            2          0          2                   7
LUXEMBOURG                            0                 0       0         0         0                0            1          0          1                   1
MACAO (MACAU)                         0                 0       2         0         2                0            0          0          0                   2
MACAU                                 0                 0       0         0         0                0            1          0          1                   1
MADAGASCAR                            0                 0       0         0         0                0            1          0          1                   1
MALAWI                                0                 0       1         0         1                0            0          0          0                   1
MALAYSIA                              0                 0       0         0         0                0            1          0          1                   1
MALDIVE ISLANDS                       0                 0       1         0         1                0            0          0          0                   1
MALI                                  0                 0       2         0         2              34          179           1        214                 216
MARSHALL ISLANDS                      0                 0       1         0         1                0            1          0          1                   2
MARTINIQUE                            0                 0       1         0         1                0            1          0          1                   2
MAURITANIA                            0                 0       2         0         2                9         316           0        325                 327
MEXICO                            2,536            16,444 48,535      2,044    69,559          23,302      689,528     25,950    738,780              808,339
MICRONESIA, FEDERATED STATES OF       0                 0       2         0         2                2            4          0          6                   8
MOLDOVA                               1               133     104         0       238              33            29          0         62                 300
MONGOLIA                              0                10       0         0        10                1            1          0          2                  12
MONTENEGRO                            0                 0       0         0         0                0            2          0          2                   2
MOROCCO                               0                 0       2         0         2                0           33          0         33                  35
MOZAMBIQUE                            0                 0       0         0         0                1            9          0         10                  10
MYANMAR (BURMA)                       0                 0       4         0         4                0            4          0          4                   8
NAMIBIA                               0                 0       1         0         1                4            1          0          5                   6
NEPAL                                 0                 0      12         0        12              32        1,433          29      1,494               1,506
NETHERLANDS                           0                 0       7         0         7                1            1          0          2                   9
NETHERLANDS ANTILLES                  0                 0       0         0         0                1            0          0          1                   1
NEW ZEALAND                           0                 0       2         0         2                0            1          0          1                   3
NICARAGUA                             8                74     230        12       324          29,827      130,579       3,146   163,552              163,876
NIGER                                 0                 0       0         0         0              11            40          0         51                  51
NIGERIA                               0                 3      12         0        15             116          413           2        531                 546
NORTH KOREA                           0                 0       0         0         0                0            4          0          4                   4
OMAN                                  0                 0       0         0         0                0            1          0          1                   1
PAKISTAN                              0                 0       5         0         5              37          296           1        334                 339
PALESTINE                             0                 5       2         0         7                0            0          0          0                   7
PANAMA                                1                11       8         0        20           1,133          197           4      1,334               1,354
PAPUA NEW GUINEA                      0                 0       0         0         0                0            3          0          3                   3
PARAGUAY                              0                 0       2         0         2              22            26          0         48                  50
PERU                                  4                60     150         4       218          25,464       24,601         379    50,444               50,662
PHILIPPINES                           0                 1       6         0         7                2           11          0         13                  20
POLAND                                0                 2       8         0        10                1            8          0          9                  19
PORTUGAL                              0                 2       4         0         6              27             3          0         30                  36
REPUBLIC OF CONGO (BRAZZAVILLE)       0                 0       4         0         4             304          179          18        501                 505
REPUBLIC OF SOUTH AFRICA              1                 0       4         0         5              15            10          0         25                  30
ROMANIA                               0                46      51         0        97           4,649        1,089         157      5,895               5,992
RUSSIA                               48             9,420   7,069        29    16,566           3,028        2,155          14      5,197              21,763
RWANDA                                0                 0       0         0         0                3            6          0          9                   9
SAO TOME AND PRINCIPE                 0                 0       0         0         0                0            1          0          1                   1
SAUDI ARABIA                          0                 0       2         0         2                0            2          0          2                   4
SENEGAL                               0                 0       7         0         7              86        2,458           2      2,546               2,553
SERBIA                                0                 0       3         0         3                0           34          1         35                  38
SIERRA LEONE                          0                 3       0         0         3              60          112           6        178                 181
SINGAPORE                             0                 0       0         0         0                0            1          0          1                   1
SLOVAKIA                              0                 0       2         0         2                0            0          0          0                   2
SLOVENIA                              0                 0       2         0         2                0            1          0          1                   3
SOLOMON ISLANDS                       0                 0       0         0         0                1            0          0          1                   1
SOMALIA                               0                 0       5         0         5                7       1,134          15      1,156               1,161
SOUTH KOREA                           1                 0      29         0        30                0            5          0          5                  35
SOUTH SUDAN                           0                 0       0         0         0                0            1          0          1                   1
SPAIN                                 7                 4      93         2       106              75            30          0        105                 211
SRI LANKA                             0                 0       0         0         0                0         233           1        234                 234
ST. LUCIA                             0                 0       0         0         0                1            1          0          2                   2
STATELESS                             0                 0       0         0         0                0            3          0          3                   3
SUDAN                                 0                 0       0         0         0                2           54          0         56                  56
SURINAME                              0                 4       0         1         5              19             2          0         21                  26
SWEDEN                                2                 0       4         0         6                1            1          0          2                   8




                                                     UNCLASSIFIED // FOR OFFICIAL USE ONLY                                     Haiti AR_001245
        Case 6:23-cv-00007 DocumentUNCLASSIFIED
                                     93-5 //Filed       on 03/24/23 in TXSD Page 141 of 199
                                                FOR OFFICIAL USE ONLY




                                                      OFO                                                USBP
          Country of Citizenship            Family Unit    Single UC/Single OFO Total    Family Unit      Single      UC/Single USBP Total    FY22 CBP Total
                                   AM
                                           Apprehensions Adults    Minors                Apprehesions     Adults       Minors
  SWITZERLAND                          0                 2       2         0         4               0            0            0          0                   4
  SYRIA                                0                 5       7         0        12              35          118            1        154                 166
  TAIWAN - REPUBLIC OF CHINA           0                 0       2         0         2               0            1            0          1                   3
  TAJIKISTAN                           0                25      64         0        89              93          218            4        315                 404
  TANZANIA                             0                 0       1         0         1               0            6            0          6                   7
  THAILAND                             0                 0       3         0         3               0            4            0          4                   7
  TOGO                                 0                 0       0         0         0              55          132            0        187                 187
  TRINIDAD AND TOBAGO                  0                 0       4         0         4              31            8            1         40                  44
  TUNISIA                              0                 0       1         0         1               0            5            0          5                   6
  TURKEY                               3                43      42         1        89           3,321       11,864          171     15,356              15,445
  TURKMENISTAN                         0                 2       1         0         3               0            5            0          5                   8
  UGANDA                               0                 0       5         0         5               2           14            0         16                  21
  UKRAINE                             88            15,239   9,328       124    24,779             353          231            1        585              25,364
  UNITED ARAB EMIRATES                 0                 0       0         0         0               0            2            0          2                   2
  UNITED KINGDOM                       0                 1      24         0        25              20            3            0         23                  48
  UNITED STATES OF AMERICA             1                 0       4         1         6               0            0            0          0                   6
  UNKNOWN                             11                 8     138        27       184               0            0            0          0                 184
  URUGUAY                              0                 1       3         0         4             253           49            0        302                 306
  USSR                                 0                 0       0         0         0               0            1            0          1                   1
  UZBEKISTAN                           1                60      82         0       143             967        2,252           13      3,232               3,375
  VENEZUELA                           26               145     249        10       430          66,198      119,959        1,129    187,286             187,716
  VIETNAM                              0                 0       1         0         1              14          243            5        262                 263
  WESTERN SAHARA                       0                 0       0         0         0               0            4            0          4                   4
  YEMEN                                0                 0      11         0        11              13           51            0         64                  75
  YUGOSLAVIA                           0                 0       0         0         0               0            2            0          2                   2
  ZAMBIA                               0                 0       0         0         0               1            1            0          2                   2
  ZIMBABWE                             0                 0       0         0         0               0            2            0          2                   2
Grand Total                        2,963            77,684 88,897      2,964   172,508         482,962    1,574,381     149,093   2,206,436           2,378,944




                                                      UNCLASSIFIED // FOR OFFICIAL USE ONLY                                      Haiti AR_001246
Case 6:23-cv-00007 Document 93-5 Filed on 03/24/23 in TXSD Page 142 of 199




                                                               Haiti AR_001247
Case 6:23-cv-00007 Document 93-5 Filed on 03/24/23 in TXSD Page 143 of 199




                                                               Haiti AR_001248
Case 6:23-cv-00007 Document 93-5 Filed on 03/24/23 in TXSD Page 144 of 199




                                                               Haiti AR_001249
Case 6:23-cv-00007 Document 93-5 Filed on 03/24/23 in TXSD Page 145 of 199




                                                               Haiti AR_001250
Case 6:23-cv-00007 Document 93-5 Filed on 03/24/23 in TXSD Page 146 of 199




                                                               Haiti AR_001251
Case 6:23-cv-00007 Document 93-5 Filed on 03/24/23 in TXSD Page 147 of 199




                                                               Haiti AR_001252
  Case 6:23-cv-00007 Document 93-5 Filed on 03/24/23 in TXSD Page 148 of 199




More than 100 Haitian migrants found on
island near Puerto Rico
Group found on uninhabited Mona Island, which smugglers use as drop-off point for vessels
leaving Dominican Republic.




Haiti is currently in the grips of a humanitarian crisis, spurred by months of political instability
and surging gang violence [File: Ricardo Arduengo/Reuters]
Published On 18 Oct 202218 Oct 2022

More than 100 Haitian migrants have been found on an uninhabited island near Puerto Rico,
United States authorities said, as Haiti continues to reel from a humanitarian crisis brought on by
surging gang violence.




                                                                                      Haiti AR_001253
  Case 6:23-cv-00007 Document 93-5 Filed on 03/24/23 in TXSD Page 149 of 199




Park rangers working for the Puerto Rico Department of Environment and Natural Resources
found the group on Mona Island, US Customs and Border Protection (CBP) spokesman Jeffrey
Quinones said on Tuesday.

“What we know preliminarily is that they were transported in just one vessel,” he said.

It was not immediately clear if anyone in their group drowned before authorities were notified of
the situation. Quinones said authorities are still interviewing the migrants.

Anais Rodriguez, secretary of the Puerto Rico department that found them, said the group
included 60 women, including three who are pregnant, as well as 38 men and five children
ranging in age from five to 13 years old.

Increasing numbers of Haitian migrants and asylum seekers have sought to reach the US in
recent months, often by sea, as the Caribbean nation experienced spiralling violence and political
instability.

The United Nations warned late last week that approximately 4.7 million people currently face
acute hunger across the country.

A gang blockade on Haiti’s main fuel terminal in the capital, Port-au-Prince, has led to dire
shortages of electricity, water and food, especially in already impoverished areas of the city
where violence is rampant.

Hospitals have been forced to cut back on services as a result of the lack of petrol needed to
power generators, and the crumbling healthcare network has complicated efforts to respond to a
dangerous cholera outbreak.

Meanwhile, Haiti’s government has called on the international community to help establish a
“specialised armed force” to respond to the gangs – but Haitian civil society leaders have
rejected the prospect of foreign intervention.

The US ambassador to the UN, Linda Thomas-Greenfield, said on Monday that the United States
and Mexico were working on draft Security Council resolutions in response to the continuing
crisis.

The first would impose financial sanctions on Haitian “criminal actors” involved in the recent
surge of violence, Thomas-Greenfield said, while the second would “authorise a non-UN,
international security assistance mission” in Haiti to restore security and help the flow of
humanitarian aid.

It remains unclear what countries would participate, and in what capacity. Thomas-Greenfield
said the mission would be led by a “partner country”, but did not say which one that would be.




                                                                                   Haiti AR_001254
  Case 6:23-cv-00007 Document 93-5 Filed on 03/24/23 in TXSD Page 150 of 199




White House spokeswoman Karine Jean-Pierre on Tuesday also evaded questions about the
potential Haiti mission, telling reporters during a news conference only that “conversations are
ongoing”.

As the security situation in Haiti deteriorated after last year’s killing of President Jovenel Moise,
and conditions worsened in host communities elsewhere in the Americas region, new waves of
Haitian asylum seekers have journeyed towards the US.

On Sunday, the US Coast Guard said it had rescued almost 100 people, mostly from Haiti, from
an overcrowded boat off the Florida coast. The passengers told Coast Guard crew members that
they had been at sea for a week and lacked food and water during the last two days.

Meanwhile, from October 2021 to March, 571 Haitians and 252 people from the Dominican
Republic were detained in waters around Puerto Rico and the US Virgin Islands, according to
CBP. Of the Haitians, 348 landed on Mona Island and were rescued.

Smugglers frequently use Mona Island as a drop-off point for vessels leaving the Dominican
Republic, and often tell migrants that they have reached Puerto Rico even though Mona Island is
uninhabited and inhospitable, Quinones said.

“Smugglers do not have any regard for the safety of people they’re transporting. They basically
pile them up in a boat,” he said.

Source: Al Jazeera and news agencies

https://www.aljazeera.com/news/2022/10/18/more-than-100-haitian-migrants-found-on-island-near-
puerto-rico




                                                                                     Haiti AR_001255
Case 6:23-cv-00007 Document 93-5 Filed on 03/24/23 in TXSD Page 151 of 199




                                                               Haiti AR_001256
Case 6:23-cv-00007 Document 93-5 Filed on 03/24/23 in TXSD Page 152 of 199




                                                               Haiti AR_001257
Case 6:23-cv-00007 Document 93-5 Filed on 03/24/23 in TXSD Page 153 of 199




                                                               Haiti AR_001258
Case 6:23-cv-00007 Document 93-5 Filed on 03/24/23 in TXSD Page 154 of 199




                                                               Haiti AR_001259
Case 6:23-cv-00007 Document 93-5 Filed on 03/24/23 in TXSD Page 155 of 199




                                                               Haiti AR_001260
12/12/22, 11:03 Case
                AM   6:23-cv-00007           Document    93-5
                                                  Haiti gang      Filed
                                                             violence: 209on    03/24/23
                                                                           killed in Cité Soleilin  TXSD
                                                                                                 in 10         Page
                                                                                                       days - BBC News156 of 199




                                                                                                                                   Menu


   World Africa Asia Australia Europe Latin America Middle East




   Haiti gang violence: 209 killed in Cité Soleil
   in 10 days
       26 July




    WFP/THERESA PIORR

     With food and water supplies disrupted due to the violence, UN aid agencies have delivered essentials


   By Vanessa Buschschlüter
   BBC News                                                                                                    Haiti AR_001261
https://www.bbc.com/news/world-latin-america-62292007                                                                                     1/8
12/12/22, 11:03 Case
                AM   6:23-cv-00007           Document    93-5
                                                  Haiti gang      Filed
                                                             violence: 209on    03/24/23
                                                                           killed in Cité Soleilin  TXSD
                                                                                                 in 10         Page
                                                                                                       days - BBC News157 of 199



   More than 200 people have been killed in gang violence in Haiti's capital,
   Port-au-Prince, in the space of 10 days, United Nations figures reveal.

   Almost half of those who died were residents without ties to the gangs which
   are fighting for control of the Cité Soleil neighbourhood, the UN says.

   Locals say they are running out of drinking water and food as deliveries have
   been halted amid the shoot-outs.

   One resident described his life as "a cycle of fear, stress and despair".

   Gang violence had already shot up since the assassination of President
   Jovenel Moïse by mercenaries a year ago, but it has reached shocking new
   levels since a battle erupted on 8 July between two criminal alliances, known
   as G9 and G-Pèp.




                                                                              I go to bed and wake up to the sound of
                                                                              gunfire


                                                                              "Edwin" (not his real name)
                                                                              Youth leader in Brooklyn, Cité Soleil
                                          UN
                                          U N Hai
                                               aittii/D
                                                     /Dan
                                                        aniie
                                                            el Di
                                                               Dicckkin
                                                                     insso
                                                                     insoon




   The UN says that 209 people were killed between 8 and 17 July, of which 114
   were gang members. A further 254 people have sustained gunshot wounds,
   more than half of them residents without links to the gangs.

   A youth leader from Brooklyn, the area within the sprawling Cité Soleil
   neighbourhood which has been worst hit by the fighting, described how his life
   had changed.

   "I go to bed and wake up to the sound of gunfire, which is very stressful. But
   even if the shooting terrifies me, I try to use the rhythmic sounds of bullets
   being fired to lull me to sleep; this is the only way I can survive," the young
   man told the UN.

   "Sometimes you can use music to escape the constant shooting noise, but not
   when shots are being fired so close to your house; it's just too loud," said the
   man, who withheld his real name for security reasons.

                                                                                                               Haiti AR_001262
https://www.bbc.com/news/world-latin-america-62292007                                                                              2/8
12/12/22, 11:03 Case
                AM   6:23-cv-00007           Document    93-5
                                                  Haiti gang      Filed
                                                             violence: 209on    03/24/23
                                                                           killed in Cité Soleilin  TXSD
                                                                                                 in 10         Page
                                                                                                       days - BBC News158 of 199

   About 3,000 residents have been forced to flee. Many have nothing to go back
   to aer their homes were destroyed or burned down by the gangs.

   Others do not dare leave their homes for fear of being killed by stray bullets.

   With fuel, food and drinking water supplies disrupted, the World Food
   Programme and the UN Children's Fund have started delivering aid directly to
   the most vulnerable people in Cité Soleil.

   Hundreds of children have also taken refuge at a high school in the capital.

   The youth leader from Cité Soleil said he hoped the violence would stop so he
   could return to his work bringing together young people from areas controlled
   by rival gangs to play sports together.



   More on this story




     Haitian children take shelter from deadly gang war
     22 July




                                                                                                               Haiti AR_001263
https://www.bbc.com/news/world-latin-america-62292007                                                                              3/8
12/12/22, 11:03 Case
                AM   6:23-cv-00007           Document    93-5
                                                  Haiti gang      Filed
                                                             violence: 209on    03/24/23
                                                                           killed in Cité Soleilin  TXSD
                                                                                                 in 10         Page
                                                                                                       days - BBC News159 of 199


     UN bans small arms sales to violence-wracked Haiti
     16 July




     Scores killed in gang warfare in Haitian capital
     14 July




   Related Topics

       Haiti         Port-au-Prince              Gangs




   Top Stories

     'They beat my son for refusing to fight in Ukraine'
     10 hours ago


     Iran carries out second execution linked to protests                                                      Haiti AR_001264
https://www.bbc.com/news/world-latin-america-62292007                                                                              4/8
12/12/22, 11:03 Case
                AM   6:23-cv-00007           Document    93-5
                                                  Haiti gang      Filed
                                                             violence: 209on    03/24/23
                                                                           killed in Cité Soleilin  TXSD
                                                                                                 in 10         Page
                                                                                                       days - BBC News160 of 199

     1 hour ago


        The secret diaries of women protesting in Iran
     15 hours ago




   Features




     'They beat my son for refusing to fight in                           They are K-pop's next stars… and theyʼre
     Ukraine'                                                             entirely virtual




     The themes of two unexpected World Cup                               Check out the World Cup schedule
     semi-finals




                                                                                                               Haiti AR_001265
https://www.bbc.com/news/world-latin-america-62292007                                                                              5/8
12/12/22, 11:03 Case
                AM   6:23-cv-00007           Document    93-5
                                                  Haiti gang      Filed
                                                             violence: 209on    03/24/23
                                                                           killed in Cité Soleilin  TXSD
                                                                                                 in 10         Page
                                                                                                       days - BBC News161 of 199

     The secret diaries of women protesting in                            One of Central America's most active
     Iran                                                                 volcanoes erupts




     What was Genghis Khanʼs ‘secret weaponʼ                              'We witnessed history as Morocco won'
     on the battlefield?




     'Brutal - this England exit is even more
     painful'




   Elsewhere on the BBC




     The French breakfast you don't know                                  The rise of the remote helicopter boss




                                                                                                               Haiti AR_001266
https://www.bbc.com/news/world-latin-america-62292007                                                                              6/8
12/12/22, 11:03 Case
                AM   6:23-cv-00007           Document    93-5
                                                  Haiti gang      Filed
                                                             violence: 209on    03/24/23
                                                                           killed in Cité Soleilin  TXSD
                                                                                                 in 10         Page
                                                                                                       days - BBC News162 of 199


     The underwater sounds that can kill




   Most Read


      1        'They beat my son for refusing to fight in Ukraine'




      2        Iran executes 23-year-old protester in public




      3        They lied to protect my brother, claims Harry




      4        Shooting of three women at cafe shocks Italy




      5        'Very serious' corruption scandal rattles the EU




      6        Two police oﬃcers killed in Queensland shooting




      7        Three children die in icy lake tragedy




      8        Twitter's paid blue tick re-launches aer pause




      9        Eagles storm into play-oﬀs & rookie routs Brady




                                                                                                               Haiti AR_001267
https://www.bbc.com/news/world-latin-america-62292007                                                                              7/8
12/12/22, 11:03 Case
                AM   6:23-cv-00007           Document    93-5
                                                  Haiti gang      Filed
                                                             violence: 209on    03/24/23
                                                                           killed in Cité Soleilin  TXSD
                                                                                                 in 10         Page
                                                                                                       days - BBC News163 of 199




      10 Afghan forces kill Pakistan civilians across border

   BBC News Services

          On your mobile



          On smart speakers



          Get news alerts



          Contact BBC News



   Home                    Sport                   Worklife               Future                 Music                  Weather


   News                    Reel                    Travel                 Culture                TV                     Sounds



   Terms of Use         About the BBC         Privacy Policy       Cookies      Accessibility Help        Parental Guidance


   Contact the BBC          Get Personalised Newsletters           Why you can trust the BBC          Advertise with us


   AdChoices / Do Not Sell My Info


   © 2022 BBC. The BBC is not responsible for the content of external sites. Read about our approach to external
   linking.




                                                                                                               Haiti AR_001268
https://www.bbc.com/news/world-latin-america-62292007                                                                              8/8
         Case 6:23-cv-00007 Document 93-5 Filed on 03/24/23 in TXSD Page 164 of 199




                                              Democracy Dies in Darkness



CAPITAL WEATHER GANG




Widespread rain totals of 5 to 10 inches with localized 15-inch amounts are possible,
increasing the threat of ]ooding and mudslides
 By Matthew Cappucci
August 16, 2021 at 5:21 p.m. EDT


Tropical Depression Grace is deluging Haiti just days after a devastating earthquake leveled scores of buildings and
claimed about 1,300 lives. The tremor, registering at magnitude 7.2, struck around 8:30 a.m. Saturday, collapsing
apartment buildings and sending residents running through the streets in fear.


Now, heavy downpours are pivoting onto Hispaniola and overspreading Haiti late Monday, bringing rainfall rates
topping two inches per hour and the threat of flooding and mudslides. The National Hurricane Center wrote
“torrential” rains were falling over both the Dominican Republic and Haiti in its 5 p.m. advisory Monday.


Search-and-rescue efforts continue in the wake of the earthquake but could be hampered by the adverse
meteorological conditions.


There are growing signs that Grace could threaten Mexico, too, barreling westward through the Caribbean and the
Gulf of Mexico and intensifying into a potentially more formidable tropical storm or even hurricane.




TROPICAL UPDATE: As #Haiti still reels from a strong #earthquake on Saturday, @NOAA's #GOES16 is closely
watching Tropical Depression #Grace as it passes just south of the nation. #FlashFlooding and #mudslides will
be possible today. https://t.co/OT12jdQfNe #HaitiQuake pic.twitter.com/sGdocZ76fE
— NOAA Satellites - Public Aairs (@NOAASatellitePA) August 16, 2021
                                                                                             Haiti AR_001269
          Case 6:23-cv-00007 Document 93-5 Filed on 03/24/23 in TXSD Page 165 of 199



As of 5 p.m. Monday, Grace had 35 mph winds and was just shy of tropical-storm intensity as it swept westward at
15 mph about 50 miles south of Port Au Prince, Haiti. Deluging downpours were pinwheeling westward over the
nation by midafternoon and will continue into Tuesday.


The strongest winds should remain offshore, but gusts to 35 mph are still possible in areas reeling from Saturday’s
quake. Widespread rain totals of 5 to 10 inches with localized 15-inch amounts will be possible. Haiti, a nation
known for its widespread deforestation, is especially susceptible to heavy rainfall. With less vegetation to anchor
topsoil, mudslides and landslides are routine during heavy rain events.


That may cause additional casualties while also isolating more remote locales, posing complications for dispatching
resources to areas in need.




                                 
Saturday’s earthquake occurred in western Haiti along the Massif de la Hotte Mountains. While the quake was
stronger than the one that struck in 2010, it was farther from Port-au-Prince, dramatically reducing shaking in the
capital. The temblor was a strike-slip quake, meaning two plates moved side to side. That meant there was little to
no tsunami threat. Tsunamis occur when the sea floor moves up and down.


The quake appears to have occurred along the southern rim of the Gonâve Microplate. The depth was very shallow,
at only about six miles below ground, causing stronger shaking at the surface. The fault is known as the Enriquillo-
Plantain Garden Fault. Plates slide past each other at the fault by about 20 millimeters every year, but big “slips”
occur during earthquakes. This one occurred farther west than the 2010 event. In some places, the ground moved
horizontally by up to eight feet.


The same fault was responsible for the 2010 quake, as well as a 1907 earthquake that brought widespread damage to
Kingstown, Jamaica.


Numerous aftershocks have occurred, including some stronger than magnitude 5. Strong quakes are likely to occur
for months to come. Some strong aftershocks may occur during the height of heavy rainfall associated with Grace,
amplifying the landslide risk even more.




     

                                                                                               Haiti AR_001270
          Case 6:23-cv-00007 Document 93-5 Filed on 03/24/23 in TXSD Page 166 of 199
          Chance of tropical storm winds over five days      Cat. 3-5 Cat. 1-2 T.S. T.D.
          5%      50%      90%                          Forecast path  Tropical storm winds
Updated 4:16 p.m.
                                                                                               Show impact times




                                                                                            © Mapbox © OpenStreetMap

Source: National Weather Service. Note: Impact lines represent the earliest reasonable arrival time of tropical
storm winds. All times are Eastern.

By later Tuesday, Grace will be pulling westward in the Caribbean away from Hispaniola and is forecast to regain
tropical-storm strength. Jamaica could experience tropical-storm conditions Tuesday, as could Cuba’s southern
coast.


Assuming the center remains south of Cuba, which is increasingly likely, the storm may continue intensifying as it
transits warm ocean waters. That could allow it to grow into a hurricane as it approaches the Yucatán Peninsula late
Wednesday into Thursday.


“There is an increasing risk of wind and rainfall impacts over the Yucatán Peninsula of Mexico,” the National
Hurricane Center wrote.


If that scenario were realized, it would spell an additional round of land interaction for Grace, which would
temporarily weaken it. But it could again intensify north of the Bay of Campeche in the southern Gulf of Mexico and
make a run for areas just south of the U.S.-Mexico border late week.


Jason Samenow contributed to this report.




                                                                                              Haiti AR_001271
Case 6:23-cv-00007 Document 93-5 Filed on 03/24/23 in TXSD Page 167 of 199




                                                               Haiti AR_001272
Case 6:23-cv-00007 Document 93-5 Filed on 03/24/23 in TXSD Page 168 of 199




                                                               Haiti AR_001273
Case 6:23-cv-00007 Document 93-5 Filed on 03/24/23 in TXSD Page 169 of 199




                                                               Haiti AR_001274
Case 6:23-cv-00007 Document 93-5 Filed on 03/24/23 in TXSD Page 170 of 199




                                                               Haiti AR_001275
Case 6:23-cv-00007 Document 93-5 Filed on 03/24/23 in TXSD Page 171 of 199




                                                               Haiti AR_001276
Case 6:23-cv-00007 Document 93-5 Filed on 03/24/23 in TXSD Page 172 of 199




                                                               Haiti AR_001277
Case 6:23-cv-00007 Document 93-5 Filed on 03/24/23 in TXSD Page 173 of 199




                                                               Haiti AR_001278
Case 6:23-cv-00007 Document 93-5 Filed on 03/24/23 in TXSD Page 174 of 199




                                                               Haiti AR_001279
Case 6:23-cv-00007 Document 93-5 Filed on 03/24/23 in TXSD Page 175 of 199




                                                               Haiti AR_001280
12/12/22, 10:54Case
               PM   6:23-cv-00007                        Document
                                                         Jovenel Moïse, 93-5      Filed Assassinated
                                                                        Haiti's President, on 03/24/23     in TXSD
                                                                                                     in Nighttime         Page
                                                                                                                  Raid - The      176Times
                                                                                                                             New York  of 199
                                 https://www.nytimes.com/2021/07/07/world/americas/haiti-president-assassinated-killed.html



Haitiʼs President Assassinated in Nighttime Raid, Shaking a Fragile Nation
A group of assailants stormed Mr. Moïseʼs residence early on Wednesday, shooting him and wounding his wife. The interim prime minister
declared a “state of siege.”
By Catherine Porter, Michael Crowley and Constant Méheut
Published July 7, 2021   Updated Oct. 18, 2021


The first explosions rang out after 1 a.m., shattering the calm in the neighborhood that was home to President Jovenel Moïse and many of
Haiti’s most affluent citizens.

Residents immediately feared two of the terrors that have plagued the nation — gang violence or an earthquake — but by dawn, a much
different reality had emerged: The president was dead.

A group of assailants had stormed Mr. Moïse’s residence on the outskirts of the capital, Port-au-Prince, early on Wednesday, shooting him
and wounding his wife, Martine Moïse, in what officials called a well-planned operation that included “foreigners” who spoke Spanish.


                                                 3 mi.
                                                 3 km.




                                                                            Assassination
                                                                            at presidentʼs                           Haiti
                                                                            private home


                                                                                                      © Mapbox © OpenStreetMap

                                            The New York Times




In a televised broadcast to the nation, the nation’s interim prime minister, Claude Joseph, appealed for calm and presented himself as the
new head of the government, announcing that he and his fellow ministers had declared a “state of siege” and placed Haiti under a form of
martial law.

The assassination left a political void that deepened the turmoil and violence that has gripped Haiti for months, threatening to tip one of
the world’s most troubled nations further into lawlessness.

While the details of who shot the president and why remained unknown, four people suspected of being involved in the assassination were
killed by the police in a gun battle and two others were arrested, Haiti’s police chief said late Wednesday. The chief, Léon Charles, also said
that three police officers who had been held hostage were freed.

“The police are engaged in a battle with the assailants,” he said at a news conference, noting that the authorities were still chasing some
suspects. “We are pursuing them so that, in a gunfight, they meet their fate or in gunfight they die, or we apprehend them.”

The authorities did not name any of the suspects or cite any evidence linking them to the assassination.




                                                                                                                                 Haiti AR_001281
https://www.nytimes.com/2021/07/07/world/americas/haiti-president-assassinated-killed.html                                                         1/4
12/12/22, 10:54Case
               PM   6:23-cv-00007                Document
                                                 Jovenel Moïse, 93-5      Filed Assassinated
                                                                Haiti's President, on 03/24/23     in TXSD
                                                                                             in Nighttime         Page
                                                                                                          Raid - The      177Times
                                                                                                                     New York  of 199
                                      The main street into Petion-Ville was blocked by military personnel on Wednesday.
                                      Valerie Baeriswyl/Agence France-Presse — Getty Images

In recent months, protesters had taken to the streets to demand Mr. Moïse step down in February, five years after his election, at what
they deemed was the end of his term.

Armed gangs have taken greater control of the streets, terrorizing poor neighborhoods and sending thousands fleeing, kidnapping even
schoolchildren and church pastors in the middle of their services. Poverty and hunger are rising, with many accusing members of the
government of enriching themselves while not providing the population with even the most basic services.

In an interview, Mr. Joseph told The New York Times that he was now in control of the country, but it was unclear how much legitimacy he
had, or how long it might last. A new prime minister had been scheduled to replace Mr. Joseph this week — he would have been the sixth
to hold the job in Mr. Moïse’s term. The head of the nation’s highest court, who might have helped establish order, died of Covid-19 in June.

“We are in total confusion,” said Jacky Lumarque, rector of Quisqueya University, a large private university in Port-au-Prince. “We have
two prime ministers. We can’t say which is more legitimate than the other.”




                                      Claude Joseph, the nation’s interim prime minister, said he is now in charge of the
                                      government. Orlando Barria/EPA, via Shutterstock


“This is the first time where we’ve seen that the state is so weak,” he added.

Haiti’s ambassador to the United States, Bocchit Edmond, said at a news conference that the killing of the country’s president had been
carried out “by well-trained professionals, killers, commandos.”

He said that the attackers had presented themselves as agents of the U.S. Drug Enforcement Agency, but that they were “fake D.E.A.” and
“professional killers.” He said he was basing his assessment on security camera footage of the attack.

Mr. Moïse’s wife survived and was “stable, but in critical condition,” Mr. Edmond said. She was transported to Miami for treatment,
arriving there Wednesday evening.




                                                                                                                            Haiti AR_001282
https://www.nytimes.com/2021/07/07/world/americas/haiti-president-assassinated-killed.html                                                    2/4
12/12/22, 10:54Case
               PM   6:23-cv-00007               Document
                                                Jovenel Moïse, 93-5      Filed Assassinated
                                                               Haiti's President, on 03/24/23     in TXSD
                                                                                            in Nighttime         Page
                                                                                                         Raid - The      178Times
                                                                                                                    New York  of 199
                                      Military personnel guard the hospital where the first lady was taken after the attack on
                                      Wednesday. Valerie Baeriswyl/Agence France-Presse — Getty Images
President Biden said Wednesday that he was “shocked and saddened” by the assassination and the shooting of the president’s wife. “We
condemn this heinous act,” Mr. Biden said in a statement. Secretary of State Antony J. Blinken spoke with Mr. Joseph, offering
condolences, the State Department said.

Mr. Moïse had held on to the office, arguing he had only occupied the position for four years of the five-year term. In the first year after he
was elected, an interim president took over as the country investigated allegations of fraud. Many Haitians — including constitutional
scholars and legal experts — contended that his five-year term started when he was elected, and has since expired. But the United States
and the Organization of American States backed Mr. Moïse.

While the United States and other nations have long supplied Haiti with much-needed aid and financial assistance, including help in
recovering from a devastating earthquake in 2010, Western powers have also exerted an overwhelming influence over the country’s
political destiny. The United States occupied the country from 1915 to 1934, and a series of coups in the 20th and 21st centuries were backed
by Western powers.

France, in particular, has had a long and difficult relationship with Haiti. More than two centuries ago, Haitians fought to throw off the
yoke of colonial France and to bring an end to one of the world’s most brutal slave colonies, which had brought France great wealth.

What started as an uprising by enslaved people at the turn of the 18th century eventually led to the stunning defeat of Napoleon’s forces in
1803. While many in Haiti’s professional class study in France, others harbor anti-French sentiment. The first visit by a French president
was not until 2010.

France’s foreign minister, Jean-Yves Le Drian, said in a statement that he was “shocked” by Mr. Moïse’s killing. “All light must be shed on
this crime, which comes amid a very deteriorated political and security climate,” Mr. Le Drian said. He urged “all of the actors of Haitian
political life” to observe “calm and restraint.”

Within Haiti, experts warned, the political vacuum left by Mr. Moïse’s killing could fuel a renewed cycle of violence. As the population
struggled to assess the situation, the normally clogged streets of the capital remained ominously empty.

Banks and stores were shuttered; university classrooms vacant; the ti machann — or market women — who normally line the shoulders
of roads selling their wares were conspicuously absent.




                                      The streets of Port-au-Prince were largely deserted on Wednesday. Valerie
                                      Baeriswyl/Agence France-Presse — Getty Images



Lines formed as some people tried to stock up on water — which is normally bought by the container in poorer areas — in case they end
up hunkered down for a long time. Many others huddled at home, calling friends and family to check their safety and to ask for updates. In
some middle-class neighborhoods, people gathered on the sidewalks, sharing their fears for the country’s future.

“Things are hard and ugly now,” said Jenny Joseph, a university student from the suburb of Carrefour. “For the next few days, things will
be crazy in Haiti.”

Under the martial law declaration, the police and security members can enter homes, control traffic and take special security measures
and “all general measures that permit the arrest of the assassins” for 15 days. The decree also forbids meetings meant to incite disorder.



                                                                                                                                 Haiti AR_001283
https://www.nytimes.com/2021/07/07/world/americas/haiti-president-assassinated-killed.html                                                         3/4
12/12/22, 10:54Case
               PM   6:23-cv-00007                    Document
                                                     Jovenel Moïse, 93-5      Filed Assassinated
                                                                    Haiti's President, on 03/24/23     in TXSD
                                                                                                 in Nighttime         Page
                                                                                                              Raid - The      179Times
                                                                                                                         New York  of 199
However, it is unclear whether Mr. Joseph has the authority to do this, or even the authority to run the country in the wake of President
Moïse’s death. The country has two constitutions, neither of which tap the interim prime minister to take over. The first one, published in
1987, says the country’s most senior judge should step in. In 2012, however, it was amended to say that if there’s a vacancy in the last year
of a president’s term, the Parliament should vote for a provisional president.

Unfortunately, the Constitution was amended in one of the country’s official languages, French, but not in the other, Creole. So as it stands,
the country has two constitutions.

“It’s a very grave situation,” said Georges Michel, a Haitian historian who helped write the 1987 Constitution.

At the moment, Haiti has no functioning Parliament. Mr. Moïse’s government did not call elections, even after the terms of the entire lower
house expired more than a year ago. Only 10 of Haiti’s 30 senate seats are currently filled.

Mr. Moïse had been struggling to quell growing public anger over remaining in power.

After Mr. Moïse did not leave office in February, when many in the opposition deemed his term over, thousands of Haitians took to the
streets in large marches, demanding his resignation. The government responded by arresting 23 people, including a top judge and a senior
police officer, who the president said had tried to kill him and overthrow the government.




                                          Thousands of protesters rallied in the streets of Port-au-Prince in 2019 to call for Mr.
                                          Moïse’s resignation. Meridith Kohut for The New York Times


Mr. Moïse counted on a high level of protection, traveling regularly with more than a dozen armored cars and police guards. There are
often 100 officers from the presidential guard around the president’s home, said former Prime Minister Laurent Lamothe.

There had been no specific warning of the overnight attack, said the ambassador, Mr. Edmond.

It was not clear whether any of the suspected assassins who had not been killed or arrested in the gun battle with the police were still in
Haiti. Because the country’s airport was closed down on Wednesday, some might have slipped across the border to the Dominican
Republic, which shares the island of Hispaniola with Haiti, or escaped by sea.

Mr. Edmond said he has been in touch with the White House, the State Department and the American ambassador to Haiti, and has called
on the United States for help.

The support, he said, would help “to make sure Haiti doesn’t go even deeper into a spiral of violence,” and specifically, “to make sure that
the Haitian police have the necessary means to put the situation under control.”

Because of its chronic instability, Haiti has a large diaspora, with some of the largest communities based in the United States, Canada,
France and the Dominican Republic. Generally politically divided, Haitians abroad followed the news of Mr. Moïse’s killing united by their
shock and despair, said Leonie Hermantin, a Haitian community leader in Miami.

“Even for those of us who weren’t necessarily in support of him, this is not what we had envisioned as an outcome of regime change,” she
said.

“The diaspora is united in its sadness,” she added. “There’s no one celebrating.”
Reporting was contributed by Frances Robles, Lara Jakes, Maria Abi-Habib, Harold Isaac and Dieu-Nalio Chery.




                                                                                                                                     Haiti AR_001284
https://www.nytimes.com/2021/07/07/world/americas/haiti-president-assassinated-killed.html                                                             4/4
01232445ÿ7849ÿ Case 6:23-cv-00007
                               ÿÿDocument
                                         ÿ ÿÿ93-5
                                                        ÿ Filed
                                                                ÿon
                                                                        ÿ03/24/23
                                                                            ÿ !ÿ" ÿÿ #$Page
                                                                                          in TXSD         !ÿ $%180
                                                                                                                 ÿ&ÿÿ'
                                                                                                                        of(ÿ) *ÿ
                                                                                                                           199
                       ~ÈÉÉÊÊÊËÌ}Í~ÎÍÉ  É É Éz~ÉÍ}ÏÐË~ÑÎzÐÑÐÍ}ËÑ}ËÑÍÒ}ÎÑÍÑ}ËÓzË}ÎËÍ|

/01234501ÿ01ÿ789ÿ:0;<9;ÿ=4ÿ>??9=@4ÿ/03;7ÿA3@94ÿ>B=5147ÿC;3D?E4ÿFA9D=51ÿ51ÿG9H5I0E
J0@5IK
LMNÿPQRSTÿRUMNVWÿXYÿZY[RYPTZQYÿ\VQP]ZY^ÿXÿUQVZP_ÿTMXTÿSN`RZSNaÿXa_VRbÿXUUVZPXYTaÿTQÿcXZTÿZYÿdNeZPQÿRYTZVÿTMNZSÿPXaNaÿXSNÿWNPZWNWfÿgRTÿX
aTX_ÿQYÿTMNÿQSWNSÿbNXYaÿTMNÿUQVZP_ÿPQRVWÿSNbXZYÿZYÿNhhNPTf
        ijÿlmnopnqÿrnstuvwxq
yz{|}~ÿ{ÿÿ  ÿÿÿ 
ÿÿÿÿÿÿÿÿÿ¡ÿ¢£ÿ£ ¤ÿ££ ¥ÿ¥ÿ¥¦ÿ§ÿÿ̈¦©ÿ¥ÿ¡
¦£ÿªÿ£ÿ«ÿ¬ÿÿ¡ÿ­ÿ®ÿ¬¡ÿ¡ÿÿ¬§ÿ¡¥¡ÿ£ÿ££ ¥ÿ¯
¢¡ÿÿ¦ÿÿ©ÿ¡¬§©ÿÿÿÿ¬ÿ¡ÿ¥§£ÿ£ÿÿÿ¡ÿ¥¯
ÿÿ¦ÿÿ¬¡¡ÿ¦ÿÿ£ ÿ£ ¥ÿÿ¡ÿ¡¬ÿ«©ÿ°££ ¥ÿ¥ÿÿÿ¦¥
±ÿ¢£¤ÿ£ÿÿÿ££ ¥©ÿ«ÿ¥ÿ¡§ÿÿ¡¦ÿÿÿ£¡©ÿÿÿ«ÿÿ¡
£ ¤ÿ²³£ÿÿ́µ¶ÿ¦©ÿ¡ÿ«°ÿÿ̈¦¤ÿÿ¥ÿ̄¢¡ÿÿ£ÿ¡ÿ­ÿ®ÿ·ÿ
ÿÿ¡ÿ̧ ¡ÿ·©ÿÿ¬ÿÿ©ÿ¬ÿ£ ÿÿÿ¡ÿ£ ¤ÿª¦ÿ§ÿÿ¥ÿ¡ÿ§ÿ
¬ÿ¦£ÿª¯
ÿ¡¹°¥ÿÿÿ®ÿ̈ÿ¡ÿÿ°ÿ«ª¥ÿ¡ÿ¦©ÿ¬¡¡ÿ¡ÿºÿÿ¦¥ÿÿ¦£ÿÿ¡
«ÿÿ¬ÿÿ́µÿ¬¡ÿ¡ÿ£ÿÿÿÿ§¬©ÿÿÿ¡ÿÿªÿ£¡ÿÿ¦¯
¢¡ÿ°¥ÿ¥§ÿ¬¦ÿÿ¡ÿÿÿ́¦ÿÿÿÿ¡ÿ¦¯
®ÿ¡ÿ²³£ÿÿ́µ¶ÿÿ¬ÿÿÿ¦ÿÿ»¼½¾©ÿ£ÿ¡ÿ¿¾©¼¼¼ÿ¦£ÿªÿ¡§ÿ«ÿÿ«ªÿ«¦
£ÿ¡ÿÿ́µÿ«ÿ©ÿ¬¡ÿª¥ÿÿ§ÿ¡§ÿ¥ÿ̄Àÿ¡ÿÿ́µÿ
ÿÿ§©ÿ£¦ÿÿ¡ÿ£ ¥ÿÿ§¥ÿÿ§ÿÿ££ÿµÿÿ¡ÿ£ÿ̄±¬ÿ́µÿ¥
ÿ¡§ÿ£§ÿÿÿµÿ¡£¯
²Á¤ÿÿ¥ÿ°©¶ÿÂ¦ÿ³«§Ãÿÿ¡ÿ£ÿ·§ÿÄ«ÿ­©ÿ¬¡ÿ¬ÿ¡ÿÿ¬¦ÿ¥ÿ¡
©ÿÿÿ¡ÿ¤ÿ¥ÿÿ̈¦ÿ̄®¡ÿ©ÿ²¢¡ÿ¦ÿÿÿ¥©ÿ¤ÿ¥©ÿ¤ÿ£¦ÿ«©ÿÿ
ÿÿ¯¶
·¡ÿÅ©ÿ¥ÿ¦ÿÿ¡£ÿ¦©ÿÿ­¯®ÿ̄«ÿÿ¡§ÿÿÿÿ£ÿ¦£ÿ£
ÿÿÿÿ§ÿ£¯
²®¡ÿ¡ÿ¥ÿ©ÿ¡ÿ¦ÿÿ¦ÿÿÿ«ÿ££©ÿÿ¡ÿÿ¥ÿ«¦ÿÿ
ª©¶ÿ¡ÿÿÿÿ£¯
²¢¡ÿ¬ÿ°ÿÿ¥§ÿÿª©ÿ¬ÿ¡ÿ¬ÿÿ«¦ÿ·¥ÿÿ£ ÿ¡ÿ­¯®ÿ̄·©¶ÿ¡
¯
Ä¬¦ÿ¬¡ÿ«¥¡ÿ¡ÿ¡¥ÿÿÿ¥ÿÿ½½ÿ¦£ÿªÿ¬¡ÿ¡ÿ«ÿÿÿ́µÿÿ§ÿ¥
§¦ÿ¥Ãÿ̄¢¡ÿÿ¬ÿÿ¬ÿ°©ÿ«ÿ«ÿÿ¡¥¡ÿÿ¦ÿ¡ÿ¥©ÿ¡ÿ¦ÿ¡
ÿÿµÿÆÿ£ÿ¦ÿª¥ÿÿÿ̧¥©ÿÃ¯©ÿÿÇ£«¯




                                                                                                             Haiti AR_001285
822(((+%+$ 2414121424,22 &$& && #$& &-$+                                                     02.
01232445ÿ7849ÿ Case 6:23-cv-00007
                            ÿÿDocument
                                      ÿ ÿÿ93-5
                                                     ÿ Filed
                                                             ÿon
                                                                     ÿ03/24/23
                                                                         ÿ !ÿ" ÿÿ #$Page
                                                                                       in TXSD         !ÿ $%181
                                                                                                              ÿ&ÿÿ'
                                                                                                                     of(ÿ) *ÿ
                                                                                                                        199




                                 TF969ÿC3E1:196ÿC0<EÿQ<?2=036ÿF9302ÿ0=E<06ÿ>F3>ÿ89<8:9ÿ1?ÿ>F9ÿk9E31?ÿ1?ÿI9O1;<
                                 ]0<@03EÿE1@F>ÿB9ÿ3::<D92ÿ1?><ÿ>F9ÿX?1>92ÿY>3>96ÿ3?2ÿD9?>ÿ><ÿ>F9ÿB012@9ÿ><ÿC1?2
                                 <=>HV9?@1Rÿl30ÿC<0ÿTF9ÿ^9Dÿl<0KÿT1E96

/0123456ÿ38893:6ÿ;<=0>ÿ0=:1?@AÿB9C<09ÿ1>ÿD36ÿ6>3492Aÿ80<E8>92ÿD129680932ÿ;9:9B03>1<?ÿ3E<?@ÿ>F<69ÿDF<ÿF32ÿB99?ÿC1@F>1?@ÿ>F9ÿ8<:1;4A
C<::<D92ÿB4ÿF<=06ÿ<Cÿ;<?C=61<?ÿ<G90ÿDF9?ÿ3?2ÿF<Dÿ1>ÿE1@F>ÿ@<ÿ1?><ÿ9CC9;>HÿI0HÿJ<:Cÿ6312ÿF16ÿ29830>E9?>ÿD36ÿD<0K1?@ÿD1>Fÿ>F9ÿL=6>1;9
M9830>E9?>ÿN><ÿ9O8921>1<=6:4ÿ38893:ÿ>F16ÿ1?9O8:1;3B:9ÿ29;161<?HPÿQ=E3?ÿ01@F>6ÿ<0@3?1R906ÿ1?ÿ>F9ÿI9O1;3?ÿB<0290ÿ;1>196ÿDF909
364:=Eÿ699K906ÿ309ÿ;:=6>9092ÿSÿ1?;:=21?@ÿT1U=3?3AÿV1=232ÿL=W09Rÿ3?2ÿI3>3E<0<6ÿSÿ6;03EB:92ÿ><ÿ3?3:4R9ÿ>F9ÿ<81?1<?AÿDF1:9ÿ3:6<
>041?@ÿ><ÿE31?>31?ÿ;3:Eÿ3E<?@ÿ>F9ÿ>F<=63?26ÿ<CÿE1@03?>6ÿ?<DÿF9:2ÿ=8ÿ1?ÿ>F<69ÿ;1>196ÿ><ÿ809G9?>ÿ3ÿ83?1;K92ÿ0=6Fÿ><D302ÿ>F9ÿX?1>92
Y>3>96H
I1@03?>6ÿF9:2ÿ1?ÿI9O1;<ÿ=?290ÿ>F9ÿ8<:1;4ÿB9@3?ÿ@3>F901?@ÿ3>ÿ69G903:ÿ1?>90?3>1<?3:ÿB012@96HÿZB<=>ÿ[\ÿ;<::9;>92ÿ/01234ÿ9G9?1?@ÿ3>ÿ>F9
]36<ÿM9:ÿ^<0>9ÿB012@9ÿ1?ÿV1=232ÿL=W09RAÿF<81?@ÿ><ÿ;0<66ÿ1?><ÿ_:ÿ]36<AÿB=>ÿI9O1;3?ÿ3=>F<01>196ÿ;:<692ÿ>F9ÿB012@9ÿ><ÿ3::ÿ>03CC1;H
Zÿ̀ab4930b<:2ÿE3?ÿC0<EÿV=B3AÿDF<ÿD36ÿ3E<?@ÿ>F<69ÿ>041?@ÿ><ÿ;0<66Aÿ6312ÿF9ÿD<=:2ÿD31>ÿC<0ÿ3?ÿ<88<0>=?1>4HÿNcCÿd<2ÿD3?>6ÿ=6ÿ><AÿD9
D1::ÿ;0<66APÿ6312ÿ>F9ÿE3?AÿDF<ÿ212ÿ?<>ÿD3?>ÿF16ÿ?3E9ÿ8=B:16F92ÿC<0ÿC930ÿ<CÿU9<83021R1?@ÿF16ÿ364:=Eÿ;369HÿNc5Eÿ@<1?@ÿ><ÿD31>ÿF909HP
e3>9ÿ/01234Aÿ>F9ÿV=6><E6ÿ3?2ÿf<0290ÿ]0<>9;>1<?ÿ3@9?;4ÿ6312ÿ1>ÿF32ÿF3:>92ÿ80<;9661?@ÿ<Cÿ?9Dÿ;3696ÿ=?290ÿ>F9ÿ80<@03EAÿB=>ÿ>F3>ÿD36
B9C<09ÿ>F9ÿ6>34HÿNJ9ÿ309ÿ;<?>1?=1?@ÿ><ÿ=>1:1R9ÿ9G904ÿ><<:ÿ3>ÿVHfH]H56ÿ2168<63:ÿ><ÿ9?6=09ÿ>F9ÿ1?>9@01>4ÿ<Cÿ<=0ÿ1EE1@03>1<?ÿ646>9Eÿ3?2
80<;9661?@ÿ80<@03E6APÿ>F9ÿ3@9?;4ÿ6312ÿ1?ÿ3ÿ6>3>9E9?>H
TF9ÿ8<:1;4ÿ3>ÿ166=9ÿ16ÿK?<D?ÿC<0E3::4ÿ36ÿNE1@03?>ÿ80<>9;>1<?ÿ80<><;<:6PÿSÿ>F<=@Fÿ>F9ÿ:3D4906ÿDF<ÿ;F3::9?@92ÿ1>ÿ30@=92ÿ>F3>ÿ1>ÿ212
U=6>ÿ>F9ÿ<88<61>9ÿB4ÿ8:3;1?@ÿG=:?903B:9ÿ89<8:9ÿ1?ÿF30E56ÿD34Hÿc?6>932ÿ<Cÿ63C9@=3021?@ÿ89<8:9ÿC:991?@ÿ89069;=>1<?ÿ3B0<32Aÿ36ÿ16
09g=1092ÿ=?290ÿC92903:ÿ:3DAÿ>F9ÿ8<:1;4ÿB3?16F92ÿ>F9Eÿ><ÿ8901:<=6ÿ;<?21>1<?6ÿ1?ÿ3ÿ21CC909?>ÿ8:3;9Aÿ>F9ÿ:3D4906ÿ6312H
d<G90?E9?>ÿ:3D4906ÿ29C9?292ÿ>F9ÿ8<:1;4ÿB3692ÿ<?ÿ3ÿ:1>>:9bK?<D?ÿ80<G161<?ÿ<Cÿ>F9ÿhiijÿC92903:ÿ1EE1@03>1<?ÿ:3Dÿ3::<D1?@ÿ>F9
ZE901;3?ÿ@<G90?E9?>ÿ><ÿ09>=0?ÿ6<E9ÿE1@03?>6ÿ><ÿ;<?>1@=<=6ÿ;<=?>0196ÿDF1:9ÿ>F910ÿ;3696ÿC<0ÿ9?>04ÿ1?><ÿ>F9ÿX?1>92ÿY>3>96ÿ309ÿB91?@
80<;96692H
TF94ÿ30@=92ÿ>F3>ÿ>F9ÿ80<G161<?ÿ;<=:2ÿB9ÿ388:192ÿ><ÿ364:=Eÿ699K906Aÿ3?2ÿ>F3>ÿ>F9ÿX?1>92ÿY>3>96ÿF32ÿC=:C1::92ÿ1>6ÿ:9@3:ÿ2=>4ÿ><ÿ80<>9;>
89<8:9ÿC:991?@ÿ89069;=>1<?ÿB4ÿ;<?2=;>1?@ÿ3ÿ6;099?1?@ÿ><ÿ129?>1C4ÿ8<661B:9ÿC9306ÿB9C<09ÿ1>ÿ69?26ÿ89<8:9ÿB3;Kÿ><ÿI9O1;<H
f=>ÿ>F<69ÿ;F3::9?@1?@ÿ>F9ÿ8<:1;4ÿ;<=?>9092ÿ>F3>ÿ364:=Eÿ699K906ÿ309ÿ9O9E8>ÿC0<Eÿ>F9ÿ:9@3:ÿ80<G161<?Aÿ3?2ÿ6312ÿ>F9ÿ@<G90?E9?>56
80<G161<?6ÿC<0ÿ6;099?1?@ÿ><ÿ29>90E1?9ÿDF9>F90ÿE1@03?>6ÿF32ÿ3ÿ;0921B:9ÿC930ÿ<Cÿ89069;=>1<?ÿD36ÿ1?6=CC1;19?>HÿTF94ÿ8<1?>92ÿ><ÿ;3696ÿ<C
89<8:9ÿDF<ÿF32ÿB99?ÿK12?38892ÿ<0ÿ03892ÿDF1:9ÿ>F94ÿD909ÿD31>1?@ÿ1?ÿI9O1;<ÿ3?2ÿD909ÿ><:2ÿ3C>90D302ÿB4ÿZE901;3?ÿ3=>F<01>196ÿ>F3>
>F910ÿC930ÿ<Cÿ096121?@ÿ1?ÿI9O1;<ÿD36ÿ?<>ÿ;0921B:9H
c?ÿ3ÿ̀b><bhÿ<81?1<?ÿ<?ÿ/01234Aÿ>F9ÿ38893:6ÿ;<=0>ÿU=2@96ÿ6312ÿ>F9ÿ8<:1;4ÿG1<:3>92ÿ>F9ÿC92903:ÿ@<G90?E9?>56ÿ<B:1@3>1<?ÿ><ÿ3G<12ÿ09>=0?1?@
E1@03?>6ÿ><ÿ23?@90<=6ÿ8:3;96Aÿ3?2ÿ>F94ÿ;<?;:=292ÿ>F3>ÿ>F9ÿ:9@3:ÿ80<G161<?ÿ1?G<K92ÿB4ÿ>F9ÿ@<G90?E9?>ÿ1?ÿ;093>1?@ÿ>F9ÿ8<:1;4ÿD36
?9G90ÿE93?>ÿ><ÿB9ÿ388:192ÿ><ÿ364:=Eÿ699K906H
TF94ÿC<=?2ÿ>F3>ÿ>F9ÿ8<:1;4ÿD36ÿN1?G3:12ÿ1?ÿ1>6ÿ9?>109>4Pÿ3?2ÿ;<?;:=292ÿ>F3>ÿ3ÿ:<D90b;<=0>ÿ0=:1?@ÿ>F3>ÿ1?1>13::4ÿ9?U<1?92ÿ1>6
1E8:9E9?>3>1<?ÿD36ÿN?<>ÿ3?ÿ3B=69ÿ<Cÿ216;09>1<?HPÿTF9ÿ6>34ÿ166=92ÿ/01234ÿ?1@F>Aÿ>F9ÿ;<=0>ÿ6312AÿD<=:2ÿ09E31?ÿ1?ÿ9CC9;>ÿ89?21?@
09G19Dÿ<Cÿ>F9ÿ@<G90?E9?>56ÿ89>1>1<?ÿC<0ÿ3?ÿ1EE9213>9ÿ38893:H                                                   Haiti AR_001286
822(((+%+$ 2414121424,22 &$& && #$& &-$+                                                  42.
01232445ÿ7849ÿ Case 6:23-cv-00007
                            ÿÿDocument
                                      ÿ ÿÿ93-5
                                                     ÿ Filed
                                                             ÿon
                                                                     ÿ03/24/23
                                                                         ÿ !ÿ" ÿÿ #$Page
                                                                                       in TXSD         !ÿ $%182
                                                                                                              ÿ&ÿÿ'
                                                                                                                     of(ÿ) *ÿ
                                                                                                                        199
/0123ÿ5677689ÿ:;ÿ<73=>?3@Aÿ8Bÿ8CCD6B=33ÿDEÿF@3G613B=ÿH677ÿI76B=DBAÿJ@D=3ÿ=?3ÿDC6B6DBAÿKD6B31ÿLMÿ/0123ÿN6>?8@1ÿ:;ÿF83OAÿ87GDÿ8ÿI76B=DB
8CCD6B=33;ÿ/0123ÿ<3@16B8B1ÿ<;ÿ<3@B8B13OAÿBD96B8=31ÿ=Dÿ=?3ÿ>D0@=ÿLMÿF@3G613B=ÿP3D@23ÿH0G?Aÿ16GG3B=31;
QBÿ8ÿG3C8@8=3ÿ@076B2ÿDBÿ<@618MAÿ=?3ÿG893ÿC8B37ÿDEÿ8CC387Gÿ>D0@=ÿK0123Gÿ@3K3>=31ÿ8BD=?3@ÿDEÿ=?3ÿR@09Cÿ8196B6G=@8=6DBSGÿ8==39C=Gÿ=D
@3G=@6>=ÿ8GM709;ÿQBÿ=?8=ÿ>8G3Aÿ=?3ÿK0123Gÿ@3T63J31ÿ8ÿCD76>Mÿ=?8=ÿL7D>UGÿ8BMDB3ÿJ?Dÿ3B=3@31ÿ=?3ÿVB6=31ÿW=8=3Gÿ67732877MÿXÿ8GÿDCCDG31
=DÿC@3G3B=6B2ÿ=?39G37T3Gÿ8=ÿ8ÿ73287ÿCD@=ÿDEÿ3B=@MÿXÿE@D9ÿ8CC7M6B2ÿED@ÿ8GM709;
R?3ÿ>D0@=ÿED0B1ÿ0B8B69D0G7Mÿ=?8=ÿ=?3ÿCD76>Mÿ@0BGÿ>D0B=3@ÿ=Dÿ8GM709ÿ78JAÿJ?6>?ÿG=8=3Gÿ=?8=ÿC3DC73ÿ>8Bÿ8CC7MÿED@ÿ=?3ÿG=8=0G
@328@173GGÿDEÿJ?3@3ÿ=?3Mÿ3B=3@ÿ=?3ÿ>D0B=@M;ÿR?8=ÿCD76>Mÿ?81ÿL33Bÿ3BKD6B31ÿLMÿ8ÿ16G=@6>=ÿ>D0@=ÿK0123ÿG?D@=7Mÿ8E=3@ÿ6=ÿJ8Gÿ8BBD0B>31A
8B1ÿ=?3ÿ8CC387Gÿ>D0@=ÿDBÿ<@618Mÿ@38EE6@931ÿ=?3ÿ6BK0B>=6DB;
Y5?8=SGÿ3GC3>6877MÿG62B6E6>8B=ÿ6Gÿ=?8=Aÿ6BÿLD=?ÿ>8G3GAÿ=?3ÿ>D0@=ÿED0B1ÿ=?8=ÿ=?3ÿ8196B6G=@8=6DBÿ62BD@31ÿIDB2@3GGAZÿG861ÿ[33ÿP373@B=A
13C0=Mÿ16@3>=D@ÿDEÿ=?3ÿ:93@6>8BÿI6T67ÿ[6L3@=63GÿVB6DBSGÿQ9962@8B=GSÿN62?=GÿF@DK3>=AÿJ?Dÿ8@2031ÿ=?3ÿ>8G3;
R?3ÿ8196B6G=@8=6DBÿ=DDUÿ8116=6DB87ÿG=3CGÿ78G=ÿM38@ÿ=Dÿ98U3ÿ6=ÿ?8@13@ÿ=Dÿ8CC7MÿED@ÿ8GM709AÿG62B6B2ÿ8ÿ1387ÿJ6=?ÿP08=39878ÿ=Dÿ@3G3==73
8GM709ÿG33U3@Gÿ=?3@3Aÿ6BG=381ÿDEÿ6Bÿ=?3ÿVB6=31ÿW=8=3G;ÿQ=ÿ87GDÿ81DC=31ÿ8ÿCD76>Mÿ@3\06@6B2ÿ9DG=ÿ8CC76>8B=GÿE@D9ÿI3B=@87ÿ:93@6>8ÿ=D
E6@G=ÿG33Uÿ8GM709ÿ6Bÿ8BD=?3@ÿ>D0B=@Mÿ87DB2ÿ=?36@ÿ@D0=3ÿDEÿ=@8T37;
R?8=ÿCD76>Mÿ6Gÿ87GDÿL36B2ÿ>?8773B231ÿ6BÿE313@87ÿ>D0@=;
R?3ÿCD76>63Gÿ8@3ÿC8@=ÿDEÿ8ÿ>DBG=3778=6DBÿDEÿ938G0@3Gÿ0B13@=8U3BÿLMÿ=?3ÿR@09Cÿ8196B6G=@8=6DBÿ=Dÿ?37CÿG=39ÿ=?3ÿ@3>D@1ÿB09L3@ÿDE
962@8B=ÿE896763GAÿ986B7MÿE@D9ÿI3B=@87ÿ:93@6>8AÿJ?DÿL328Bÿ>@DGG6B2ÿ=?3ÿLD@13@ÿ6Bÿ=?3ÿE877ÿDEÿ]^_`;
R?3ÿ6BE70aÿ731ÿ=DÿDT3@>@DJ131ÿ13=3B=6DBÿE8>676=63Gÿ8B1ÿDT3@J?37931ÿ69962@8=6DBÿ>D0@=GAÿC@D9C=6B2ÿF@3G613B=ÿR@09Cÿ=Dÿ1D0L73
1DJBÿDBÿ?6GÿC73123Gÿ=DÿL0671ÿ8ÿJ877ÿ8B1ÿ>789Cÿ1DJBÿDBÿ69962@8=6DBÿ8>@DGGÿ=?3ÿGD0=?J3G=3@BÿLD@13@;




                                 R?3ÿg62@8=6DBÿF@D=3>=6DBÿF@D=D>D7GÿQ9962@8=6DBÿk38@6B2ÿ<8>676=Mÿ6Bÿ[8@31DAÿR3a8G;R896@
                                 l876E8ÿED@ÿR?3ÿm3JÿnD@UÿR693G

R8U3Bÿ=D23=?3@Aÿ=?3ÿCD76>63Gÿ?8T3ÿ3EE3>=6T37MÿG?@0BUÿ=?3ÿ:93@6>8Bÿ8GM709ÿGMG=39ÿ=Dÿ8ÿE@8>=6DBÿDEÿJ?8=ÿ6=ÿDB>3ÿJ8G;ÿHMÿ=?3ÿ3B1ÿDEÿ=?3
]^_bÿE6G>87ÿM38@Aÿ6Bÿc>=DL3@AÿDT3@877ÿLD@13@ÿ8CC@3?3BG6DBGÿ?81ÿG?@0BUÿ=Dÿd^Ae`_AÿE@D9ÿ8ÿ?62?ÿDEÿ_ffA__dÿ6Bÿg8M;
R?3ÿB3JGÿ=?8=ÿ=?3ÿYN3986Bÿ6Bÿg3a6>DZÿCD76>Mÿ962?=ÿL3ÿ6BT87618=31ÿGC8@U31ÿ>?8DGÿ6BÿGD93ÿ8@38GÿDEÿ=?3ÿLD@13@AÿJ?3@3ÿGD93ÿ962@8B=G
?8T3ÿL33Bÿ76T6B2ÿED@ÿ9DB=?Gÿ6BÿE67=?Mÿ8B1ÿ>@693h@6113Bÿ8@38GAÿJ6=?ÿ76==73ÿ?DC3ÿDEÿ3B=3@6B2ÿ=?3ÿVB6=31ÿW=8=3G;ÿi998ÿcL8B1DAÿf]Aÿ?81
L33Bÿ>DDU6B2ÿC78B=86BGÿED@ÿ?3@ÿ=JDÿGDBGÿ6Bÿ=?3ÿg8=89D@DGÿ=3B=ÿ3B>89C93B=ÿDBÿ<@618MÿJ?3Bÿ8ÿ>@M6B2ÿJD98Bÿ@8Bÿ=DJ8@1ÿ?3@AÿM3776B2
=Dÿ3T3@MDB3ÿG?3ÿC8GG31AÿY53ÿG?D071ÿ2DjÿJ3ÿG?D071ÿ>@DGGÿ@62?=ÿBDJÿL3>80G3ÿ=?3Mÿ?8T3ÿ0B1DB3ÿ=?3ÿ78JÿDEÿg;F;F;Z
gG;ÿcL8B1Dÿ?8GÿL33Bÿ76T6B2ÿ6Bÿg8=89D@DGÿJ6=?ÿ?3@ÿehÿ8B1ÿ_^hM38@hD71ÿGDBGAÿ=?3ÿ3713@ÿDEÿJ?D9ÿ?8Gÿ80=6G9AÿG6B>3ÿW3C=39L3@Aÿ8E=3@
?8T6B2ÿE731ÿ=?36@ÿ?D93ÿ6BÿkDB10@8G;ÿW?3ÿG861ÿ98BMÿ962@8B=GÿE7D>U31ÿ=Dÿ=?3ÿLD@13@ÿ8E=3@ÿ?38@6B2ÿB3JGÿDEÿ=?3ÿ>D0@=ÿ@076B2ÿDBÿ<@618MA
L0=ÿGDDBÿ8E=3@AÿD@28B6O3@Gÿ>87731ÿ=?39ÿDEEAÿ6BG=381ÿ81T6G6B2ÿC3DC73ÿBD=ÿ=DÿY98U3ÿ8ÿL62ÿE0GGZÿM3=Aÿ8B1ÿ=DÿC@3C8@3ÿ=?36@ÿ2DT3@B93B=
1D>093B=Gÿ6BG=381;
iT3B=0877MAÿgG;ÿcL8B1DÿG861Aÿ=?3ÿ9DD1ÿ>87931;ÿW?3ÿ13>6131ÿ=Dÿ=@Mÿ>@DGG6B2ÿ6B=Dÿ=?3ÿVB6=31ÿW=8=3GÿJ6=?ÿ?3@ÿGDBGÿDBÿW8=0@18M;
                                                                                                                          Haiti AR_001287
822(((+%+$ 2414121424,22 &$& && #$& &-$+                                                         32.
01232445ÿ7849ÿ Case 6:23-cv-00007
                            ÿÿDocument
                                      ÿ ÿÿ93-5
                                                     ÿ Filed
                                                             ÿon
                                                                     ÿ03/24/23
                                                                         ÿ !ÿ" ÿÿ #$Page
                                                                                       in TXSD         !ÿ $%183
                                                                                                              ÿ&ÿÿ'
                                                                                                                     of(ÿ) *ÿ
                                                                                                                        199
/012345ÿ78823249:ÿ45;ÿ32<23ÿ904;0=:ÿ>0=0ÿ49:7ÿ?=@25Aÿ?7ÿB4C0ÿ:05:0ÿ78ÿD7>ÿ?D0ÿ=E925AÿB2AD?ÿ2BF43?ÿ?D02=ÿ37BBE52?20:G
HID0=0ÿ4=0ÿ<4=27E:ÿE5C57>5:Jÿ<4=27E:ÿKE0:?275:JLÿ:42;ÿM2=<25ÿNE2:ÿO4=3P4ÿOE?2Q==0RJÿ?D0ÿD04;ÿ78ÿ?D0ÿB2A=4?275ÿF=7A=4Bÿ87=ÿ?D0
F7FE94?275ÿ4A053@ÿ25ÿ?D0ÿ:?4?0ÿ78ÿSD2DE4DE4G
T0ÿ:42;ÿ?D4?ÿS2E;4;ÿUEV=0RJÿ>D0=0ÿB7=0ÿ?D45ÿWXJYZZÿB2A=45?:ÿD4<0ÿ[005ÿ=0?E=50;ÿE5;0=ÿ?D0ÿF=7A=4BJÿ>4:ÿ3E==05?9@ÿ:EFF7=?25Aÿ4
?=45:205?ÿF7FE94?275ÿ78ÿ[0?>005ÿW\JZZZÿ45;ÿW]JZZZÿB2A=45?:Jÿ2539E;25AÿB2A=45?:ÿ=0?E=50;ÿE5;0=ÿ?D0ÿF=7A=4Bÿ4:ÿ>099ÿ4:ÿ?D7:0ÿ>D7
4=0ÿ:?299ÿ>42?25Aÿ?7ÿ3=7::ÿ25?7ÿ?D0ÿ^52?0;ÿ_?4?0:ÿ?7ÿ4FF9@ÿ87=ÿ4:@9EBG
`5ÿ45ÿ2BB2A=4?275ÿ37E=?ÿ25ÿ;7>5?7>5ÿ_45ÿM20A7ÿ75ÿa=2;4@ÿB7=525AJÿB7=0ÿ?D45ÿ4ÿ;7R05ÿB2A=45?:ÿ>D7ÿD4;ÿ[005ÿ:E[b03?0;ÿ?7
Hc0B425ÿ25ÿ/01237Lÿ>0=0ÿ25ÿ37E=?ÿ87=ÿ?D02=ÿ4:@9EBÿD04=25A:ÿ>D05ÿ?D0ÿ4FF049:ÿ37E=?d:ÿ7F25275ÿ>4:ÿ=0904:0;Gÿ/7:?ÿ>0=0ÿ57?
=0F=0:05?0;ÿ[@ÿ94>@0=:ÿ45;ÿD4;ÿ92??90ÿAE2;4530ÿ75ÿD7>ÿ?7ÿF=7300;G
eD05ÿ?D0ÿHc0B425ÿ25ÿ/01237LÿF=7A=4Bÿ>4:ÿ252?2499@ÿ05b7250;ÿ[@ÿ4ÿ80;0=49ÿbE;A0ÿ25ÿS49287=524ÿ25ÿfF=29ÿ78ÿ94:?ÿ@04=JÿB2A=45?:ÿ>D7ÿD4;
[005ÿ25ÿ37E=?ÿ75ÿ?D4?ÿ;4@ÿ05;0;ÿEFÿ:F05;25AÿB7=0ÿ?D45ÿ?>7ÿ>00C:ÿ25ÿA7<0=5B05?ÿD79;25Aÿ3099:ÿ>D290ÿ78823249:ÿ;032;0;ÿD7>ÿ?7
F=7300;GÿeD05ÿ?D0ÿ25bE53?275ÿ>4:ÿ:?4@0;Jÿ?D0ÿB2A=45?:ÿ>0=0ÿ=0?E=50;ÿ?7ÿ/01237Jÿ4997>0;ÿ?7ÿ05?0=ÿ?D0ÿ^52?0;ÿ_?4?0:ÿ759@ÿ87=ÿ?D02=
37E=?ÿD04=25A:G
O7<0=5B05?ÿ78823249:ÿB7<0;ÿKE23C9@ÿ?7ÿ=0<0=:0ÿ?D0ÿ;032:275Gÿ̀?ÿ4FF04=0;ÿ3904=ÿ?D4?Jÿ>D4?0<0=ÿ?D0ÿ2BB0;24?0ÿ7E?37B0Jÿ?D0ÿ2::E0
>7E9;ÿE9?2B4?09@ÿ[0ÿ;032;0;ÿ[@ÿ?D0ÿ^52?0;ÿ_?4?0:ÿ_EF=0B0ÿS7E=?G
TE5;=0;:ÿ78ÿ4:@9EBÿ:00C0=:ÿ>D7ÿD4<0ÿ[005ÿ=0?E=50;ÿ?7ÿ/01237ÿD4<0ÿ:2530ÿA2<05ÿEFÿ?D02=ÿ3942B:Jÿ4330F?25Aÿ8=00ÿ?=45:F7=?4?275
F=7<2;0;ÿ[@ÿ?D0ÿfB0=2345ÿA7<0=5B05?ÿ45;ÿ?D0ÿ^52?0;ÿg4?275:ÿ[43Cÿ?7ÿ?D02=ÿD7B0:ÿ25ÿS05?=49ÿfB0=234GÿhE?ÿ7?D0=:ÿD4<0ÿ<7>0;ÿ?7
375?25E0ÿ>2?Dÿ?D02=ÿ34:0:G
i790@;2ÿO75R490RÿU2B050RJÿjkJÿ4==2<0;ÿ8=7BÿSE[4ÿ>2?DÿD0=ÿDE:[45;ÿ25ÿ?D0ÿ/012345ÿ32?@ÿ78ÿ/4?4B7=7:ÿ25ÿ_0F?0B[0=ÿ45;ÿD4:ÿ[005
92<25Aÿ25ÿ4ÿ?05?ÿ0534BFB05?ÿ4?ÿ?D0ÿ05;ÿ78ÿ45ÿ25?0=54?27549ÿ[=2;A0ÿ25?7ÿ?D0ÿ^52?0;ÿ_?4?0:ÿ0<0=ÿ:2530Gÿe2?Dÿ92??90ÿ4330::ÿ?7ÿFE[923
[4?D=77B:Jÿ?D0ÿ34BFÿ:B099:ÿ78ÿDEB45ÿ>4:?0G
/:GÿO75R490RÿU2B050Rÿ>04=:ÿ:73C:ÿ>2?DÿD0=ÿ892Fl897F:ÿ?7ÿC00Fÿ>4=BGÿfÿ;754?0;ÿ42=ÿB4??=0::ÿ37<0=0;ÿ>2?DÿF25Cÿ45;ÿFE=F90ÿ:D00?:
8299:ÿ?D0ÿ?05?ÿ?D4?ÿD4:ÿ[037B0ÿ?D0ÿ37EF90d:ÿD7B0GÿID02=ÿ80>ÿF7::0::275:ÿ4=0ÿ:?43C0;ÿ75ÿ?7Fÿ45;ÿ[037B0ÿ:74C0;ÿ>2?Dÿ>4?0=ÿ?D4?ÿ:00F:
25:2;0ÿ>D05ÿ2?ÿ=425:G
H`ÿ345d?ÿA2<0ÿEFÿ48?0=ÿ499ÿ?D0ÿ?2B0ÿ̀d<0ÿ[005ÿ>42?25AÿD0=0Jÿ0<05ÿ?D7EADÿ̀ÿ8009ÿ92C0ÿ̀dBÿA725Aÿ?7ÿ;20JLÿ:D0ÿ:42;ÿ48?0=ÿ4ÿ37E=?ÿD04=25Aÿ25
M030B[0=GÿT0=ÿ501?ÿD04=25Aÿ>4:ÿ:3D0;E90;ÿ25ÿh=7>5:<2990JÿI014:Gÿ^5?29ÿ?D05Jÿ:D0ÿ>4:ÿ?79;Jÿ:D0ÿ>7E9;ÿD4<0ÿ?7ÿA7ÿ[43Cÿ?7ÿ/01237G
mnopqrstuÿwxyÿzptrqs{|rn}ÿ{~ÿxÿmsstx}nqÿxtt~ÿnqtxt}nÿpxtÿxttpp|tuyÿxt}ÿsqÿnon




                                                                                                           Haiti AR_001288
822(((+%+$ 2414121424,22 &$& && #$& &-$+                                                  .2.
Case 6:23-cv-00007 Document 93-5 Filed on 03/24/23 in TXSD Page 184 of 199




                                                               Haiti AR_001289
Case 6:23-cv-00007 Document 93-5 Filed on 03/24/23 in TXSD Page 185 of 199




                                                               Haiti AR_001290
Case 6:23-cv-00007 Document 93-5 Filed on 03/24/23 in TXSD Page 186 of 199




                                                               Haiti AR_001291
Case 6:23-cv-00007 Document 93-5 Filed on 03/24/23 in TXSD Page 187 of 199




                                                               Haiti AR_001292
Case 6:23-cv-00007 Document 93-5 Filed on 03/24/23 in TXSD Page 188 of 199




                                                               Haiti AR_001293
Case 6:23-cv-00007 Document 93-5 Filed on 03/24/23 in TXSD Page 189 of 199




                                                               Haiti AR_001294
Case 6:23-cv-00007 Document 93-5 Filed on 03/24/23 in TXSD Page 190 of 199




                                                               Haiti AR_001295
Case 6:23-cv-00007 Document 93-5 Filed on 03/24/23 in TXSD Page 191 of 199




                                                               Haiti AR_001296
Case 6:23-cv-00007 Document 93-5 Filed on 03/24/23 in TXSD Page 192 of 199




                                                               Haiti AR_001297
Case 6:23-cv-00007 Document 93-5 Filed on 03/24/23 in TXSD Page 193 of 199




                                                               Haiti AR_001298
Case 6:23-cv-00007 Document 93-5 Filed on 03/24/23 in TXSD Page 194 of 199




                                                               Haiti AR_001299
Case 6:23-cv-00007 Document 93-5 Filed on 03/24/23 in TXSD Page 195 of 199




                                                               Haiti AR_001300
Case 6:23-cv-00007 Document 93-5 Filed on 03/24/23 in TXSD Page 196 of 199




                                                               Haiti AR_001301
Case 6:23-cv-00007 Document 93-5 Filed on 03/24/23 in TXSD Page 197 of 199




                                                               Haiti AR_001302
Case 6:23-cv-00007 Document 93-5 Filed on 03/24/23 in TXSD Page 198 of 199




                                                               Haiti AR_001303
Case 6:23-cv-00007 Document 93-5 Filed on 03/24/23 in TXSD Page 199 of 199




                                                               Haiti AR_001304
